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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION
USOR SITE PRP GROUP,                          §
                                              §
       Plaintiff,                             §
                                              §
                v.                            §       CIVIL ACTION NO. 4:14-cv-02441
                                              §
A-1 CLEANING SEPTIC                           §
SERVICE, LLC; et.al.                          §
                                              §
       Defendants.                            §


                             AFFIDAVIT OF KIRK W. BROWN

1. My name is Kirk W. Brown and I reside at 12684 Hunters Creek Road in College Station,
   Brazos County, Texas. I certify that I am over 21 years of age and am competent to make this
   affidavit.
Background and Qualifications
2. From 1970 through 2001, I was a member of the faculty at Texas A&M University and currently
   serve as Professor Emeritus in the Soil and Crop Sciences Department, Texas A&M University,
   College Station, Texas. In 1990, I received a joint appointment to the faculty in Toxicology
   where I supervised the research of master’s degree and doctoral candidates in the field of
   toxicology as well. My educational background includes a Bachelor of Science degree in
   Agronomy from Delaware Valley College (1962), Masters of Science degree in
   Agronomy/Plant Physiology from Cornell University (1964), and a Doctor of Philosophy
   degree from University of Nebraska (1969). My resume is attached as Appendix 1. It includes
   my complete list of publications.
3. From 1987 through 2001, I taught a graduate level course entitled “Land Disposal of Wastes”.
   This course addressed the theoretical and practical aspects of land treatment and landfilling of
   a wide range of municipal, industrial, and hazardous wastes with a special emphasis on the fate
   and mobility of waste constituents in both soil and surface waters, including the influence of
   soil physical and chemical properties on the constituent fate. As part of the work for this course,
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   I taught a section on basic risk assessment and the impacts of risk under the Comprehensive
   Environmental Response, Compensation, and Liability Act (“CERCLA”).
4. During my tenure at Texas A&M, I conducted extensive research including numerous research
   projects for the U.S. Environmental Protection Agency (“USEPA”) and the National Institute
   of Health (“NIH”) on the fate and transport of contaminants, including pathways of exposure
   and toxicity of hazardous substances to receptors in the environment. As a result of these
   research efforts, I have authored or co-authored over 190 peer-reviewed, scientific publications,
   twenty-five of which deal with risk assessment or toxicity of hazardous substances in the
   environment.
5. I have served on Technical advisory panels to the USEPA, committees of the Office of
   Technical Assessment and the National Academy of Science. Significant reports resulting from
   these committee assignments include, Groundwater and Soil Cleanup, Improving Management
   of Persistent Contaminants (1999); Ranking Hazardous Waste Sites (1994); Coming Clean,
   Superfund Problems Can Be Solved (1989); and Superfund Strategy (1985).
6. In 1981, I was appointed to the USEPA Land Treatment Task Force where I served from 1981
   through 1985. As part of my assignment with the Task Force, I evaluated the alternatives for
   land disposal of wastes and the risk associated the disposal alternatives. While a member of
   this Task Force, I testified before the U.S. House of Representatives – Science and Technology
   Committee in November 1982 on the adequacy of USEPA’s liquid management system to
   protect groundwater at hazardous waste landfills, which lead to the passage of the Hazardous
   and Solid Wastes Amendments of 1984 under the Resource Conservation and Recovery Act
   (“RCRA”).
7. In 1983 and 1984, I was a member of the Advisory Panel to the U.S. Congressional Office of
   Technology Assessment. This panel was tasked with determining the effectiveness of current
   USEPA programs to clean up uncontrolled hazardous waste sites. As part of my assignment
   with this committee, I reviewed and evaluated the toxicity and imposed risk to receptors due to
   hazardous substances and provided recommendations for improving the efficiency of the
   USEPA programs to mitigate risk at uncontrolled hazardous waste sites.
8. In 1984, I was a member of the Office of Water Regulations and Standards Committee on
   Municipal Sludge Landfilling, which was formed to advise USEPA on the pollutants which
   should be regulated for disposal and the methods or procedures to be used for regulating such
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   pollutants. As part of my work for this committee, I assessed the hazards and risks associated
   with the hazardous substance contained in municipal sewage sludge and provided
   recommendations for regulations of metals in sewage sludge based on the degree of risk
   presented by exposure to these constituents.
9. From 1987 through 1995, I was a member of the Advisory Panel to U.S. Congressional Office
   of Technology Assessment which was tasked with assessing the effectiveness of the USEPA in
   identifying, prioritizing, and cleaning up hazardous waste sites. As part of my work for this
   committee, I evaluated the impacts of exposure from different media and the effectiveness of
   available technologies to mitigate exposure and risk from hazardous waste sites.
10. From 1991 through 1994, I served on the National Academy of Sciences, Committee on
   Remedial Action Priorities for Hazardous Waste Sites, where I evaluated the role of risk
   assessment and mitigation of risk in the decision process for remedial action.
11. From 1995 through 1998, I served on the National Academy of Sciences, National Research
   Council Committee on Environmental Technologies, Subcommittee on Landfills. As part of
   my assignment to this committee, I evaluated the risk due to contaminants in soil and
   groundwater and recommended strategies for the managements and control of recalcitrant
   wastes for the reduction of risk due to these persistent contaminants.
12. In addition, I have served on numerous USEPA review panels addressing toxicity and risk
   including the following, among others:
       a. USEPA Panel to Review the Acceptability of Landfill Disposal of Sewage Sludge
          (1984);
       b. USEPA Panel to Write a Protocol for Mutagenicity Sample Preparation (1984);
       c. USEPA Hazardous Waste Center Review Panel (1988); and
       d. USEPA Review for Risk Assessment for Petroleum Industry Hazardous Waste Listing
          Determination (1995).
13. I was the primary author of a 1982 Publication for the USEPA’s Municipal Environmental
   Research Laboratory entitled, Characteristics of Hazardous Waste Streams. This publication
   addressed the specific industrial sources of waste and the hazardous substances they contain as
   related to the standard industrial classification (SIC) codes of the industrial generator.
14. I was the primary author of a 1983 publication for the USEPA entitled, Hazardous Waste Land
   Treatment. This publication specifically addressed the treatment of hazardous waste from
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   industrial waste streams to mitigate risk and eliminate risk to potential receptors upon
   completion of land treatment.
15. Additionally, I provided technical review as a member of peer review panels for the United
   States Department of Health and Human Services, Public Health Services for review of
   toxicological profiles for the Agency for Toxic Substances and Disease Registry (“ATSDR”)
   from 1990 through 2000.
16. I have been a consultant in the field of environmental science and engineering for the past 36
   years. I founded K. W. Brown and Associates, Inc., and served as President from 1980 until
   1991. I was employed as a Principal Consultant with K. W. Brown Environmental Services
   from 1991 until 1999 and with SI Group, LP from 2000 through 2008. In March 2009, I joined
   the firm of ThermoTech Intl. (TTI) and was employed as a Principal Consultant through April
   2011. Since that time, I have been employed as an independent consultant.
17. As a consultant, I have studied and am familiar with industrial, commercial, and residential
   waste, and the disposal facilities that eventually contain such waste. I have extensive expertise
   regarding the fate and transport of hazardous substances which were contained in these wastes
   when released to the environment in general, and to the soils in particular. I have researched
   the risks associated with leachate from landfills containing these wastes. I have also investigated
   the fate and behavior of organic compounds and metals found in leachate from landfills and the
   resulting impacts on the underlying groundwater. I have reviewed numerous remedial plans and
   proposed remedies pertaining to landfills containing industrial, commercial, and residential
   wastes.
18. Through these years of consulting, numerous private and public clients have employed me. My
   expertise has been utilized for site assessments, data review and interpretation, waste
   management activities, the study of fate and transport of contaminants in the environment, the
   movement of contaminants in groundwater and surface water, the design and implementation
   of remedial actions for recalcitrant organic compounds, and other related environmental
   matters. I have also reviewed and interpreted a large quantity of analytical data for soils and
   groundwater, as well as borings logs, field logs, technical reports, and other information related
   to the environmental conditions of a site.
19. As a consultant, I have evaluated or analyzed numerous waste disposal and landfill sites
   including the following: Laurel Park Landfill, Beacon Heights Landfill, Lone Pine Landfill, Ft.
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   Bend County Landfill, Oak Grove Landfill, East Bethel Landfill, Dickson County Landfill, and
   Sinton Landfill, among others. In addition, I have also worked on the following Superfund sites:
   Hardage Criner, Love Canal Landfill, Lowrey Landfill, Montana Pole, National Gypsum, Riley
   Tar, Sharon Steel, Helen Kramer Landfill, Sikes’ Pits, Metal Bank of America, Tar Creek, and
   the West Dallas Lead Site.
20. I am personally familiar with the definition of “hazardous substance” as defined in § 101(14)
   of the Comprehensive Environmental Response, Compensation, and Liability Act and under
   the statutes and regulations incorporated by reference into that section. A hazardous substance
   under CERCLA is defined in 42 U.S.C. § 9601 (14), invoking the EPA designations under 42
   U.S.C. § 3001 and 9602, among other statutes. Included in the definition of a CERCLA
   hazardous substance are certain hazardous wastes which are either listed in 40 C.F.R § 261,
   Subpart D or have certain identified characteristics as described in 40 C.F.R. § 261, Subpart C.
   Likewise, I am familiar with the regulations defined in the Texas Solid Waste Disposal Act
   (H&S Code § 361) and the requirements specified for the disposal of solid wastes contained in
   that chapter.
21. I have qualified and given testimony as an expert witness in civil cases in federal and state
   courts, regulatory hearings, and enforcement actions pertaining to hazardous wastes, organic
   chemical contamination, and the fate and transport of organic chemicals, metals, and other
   contaminants in environmental media, as well as exposure and risk, among other issues. I have
   offered opinions related to these topics at several Superfund sites. A complete list of cases in
   which I have rendered opinions is presented in Attachment 2.
22. As a result of these activities, I am intimately familiar with the hazardous substances contained
   in the wastes received by the USOR site and am well aware of the risk associated with the
   exposure to these hazardous substances when released to the environment.
Data and Other Information Considered
23. I was retained by counsel for the U.S. Oil Recovery Site PRP Group in connection with the
   above-captioned lawsuit. One of the subjects I was asked to consider was whether waste
   streams of certain Defendant companies, which I understand had been disposed of at the USOR
   site in Harris County, Texas, contained “hazardous” substances, giving “hazardous” the same
   meaning it has in Federal and state environmental law.
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24. At the request of counsel for the Plaintiffs, I have prepared this affidavit in response to recent
   Motions to Dismiss and/or Motions to Exclude by members of the Defendants. I have reviewed
   the site information and discovery responses provided by counsel as well as information
   gathered independently and offer my professional opinions in this report. The opinions I have
   formed in this matter are based on my education and experience as well as the information cited
   for this report in Attachment 3.
AAR Incorporated
25. I have reviewed the discovery records concerning the operations of AAR Incorporated (“AAR”)
   which were provided by counsel.
26. In the Defendants’ Motion to Dismiss, AAR requests “the USOR Group be ordered to provide
   a more definite statement of the facts supporting the USOR Group’s allegations that AAR
   arranged for disposal or treatment or transport for disposal or treatment of hazardous substances
   owned or possessed by AAR”. In my opinion, the wastes generated by AAR contained
   hazardous substances.
27. In the Texas Commission on Environmental Quality (“TCEQ”) Central Registry, AAR is
   affiliated with a stormwater permit for wrecking and demolition work (SIC Code 1795) at a site
   located at the intersection of FM 1098 and Anne Preston Rd. in Waller County, Texas (31, 32).
28. Stormwater runoff generated from an industrial construction site would, more likely than not,
   have contacted the following construction related materials: Waste paints, varnish, solvents,
   sealers, thinners, resins, roofing cement, waste adhesives, machinery lubricants, used caulking,
   treated wood, lead-based paint, lead flashing and/or solder (16, 22).
29. In my opinion, based on the AAR discovery records that I reviewed, my knowledge and
   experience with construction and demolition waste processes carried out by companies like
   AAR during the time period in question, and references provided by EPA and other sources,
   the materials listed above contained one or more of the following substances, all of which are
   hazardous substances under CERCLA: acetone, benzene, toluene, xylene, methyl ethyl ketone,
   lead, and zinc (16, 30).
30. As a result of the direct contact with construction and demolition debris, the stormwater
   generated at the AAR construction site would have contained some, if not all, of the hazardous
   substances contained in the construction and demolition debris (16).
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31. Further, I understand that the waste streams of AAR, which other evidence shows were disposed
   of at the USOR site, would have contributed to the wastes that were present at the USOR site.
32. Emergency response actions by USEPA and the TCEQ in July, 2010, November 2010, and
   January 2011, identified the following substances, among others, as contaminants of concern
   for the site: acetone, benzene, toluene, xylene, and methyl ethyl ketone. (85, 86)
33. A health consultation by the ATSDR of the neighboring Vince Bayou in August 2009, identified
   lead and zinc, among other metals as contaminants of concern (83).
Angelica Textile Services, Inc.
34. I have reviewed the discovery records concerning the operations of Angelica Textile Services,
   Inc. (“Angelica”) which were provided by counsel.
35. In the Defendants’ Motion to Dismiss, Angelica states, “Despite its allegations regarding the
   “release of hazardous substances” and “contaminated liquids” at the USOR Site, (Id. at ¶¶22 and
   39), Plaintiff offers no facts about Defendants or how they allegedly contributed to the
   contamination of the USOR Site. Plaintiff alleges that Angelica “by contract, agreement, or
   otherwise arranged for disposal or treatment, and/or arranged with a transporter for transport
   for disposal or treatment, at least 3,000 gallons of waste containing hazardous substances
   owned or possessed by Angelica, at the USOR Site.” (but didn’t specify how) (Id. at ¶176).
   Plaintiff further alleges that the “waste generated” by Angelica is a “lint trap” that contained
   some    or all      of   the following   hazardous   substances:    perchloroethylene,    toluene,
   trichloroethane and/or xylenes. (Id. at ¶177). Plaintiff fails to describe how it came up with
   this conclusion.”
36. According to the TCEQ Central Registry, Angelica Textile Services, Inc. is registered as an
   organization whose primary business is laundry service that also maintained a fleet refueling
   operation at its Houston area location (33).
37. Commercial laundry operations routinely consume the following materials through the regular
   course of their business: cleaning products, brush cleaners, degreasers, deodorizers,
   disinfectants, drain openers, drain cleaners, fabric dyes, lubricants and oils, polishes and waxes,
   solvents, spot/stain removers, as well as tar and wax removers (25).
38. Based on my review of the Angelica discovery records, my knowledge and experience with
   commercial laundry and dry cleaning processes carried out by companies like Angelica during
   the time period in question, and references provided by USEPA and other sources, the materials
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   listed above would have contained one or more of the following substances, all of which are
   hazardous substances under CERCLA: acetone, benzene, toluene, xylene, methyl ethyl ketone,
   perchloroethylene, trichloroethylene, trichloroethane, lead, and zinc (22, 30).
39. As a result of the cleaning and maintenance activities conducted by Angelica, the lint trap waste
   generated at Angelica’s place of business would have included residuals from the cleaning
   operations such as spent solvents and cleaning products, in addition to grease, oil and dirt from
   the laundered articles. In my opinion, the lint trap wastes would have contained some, if not
   all, of the hazardous substances found in the cleaning products listed above (23, 25).
40. Further, I understand that the waste streams generated by Angelica, which other evidence shows
   were disposed of at the USOR site, would have contributed to the wastes that were present at
   the USOR site.
41. Emergency response actions by USEPA and the TCEQ in July, 2010, November 2010, and
   January 2011, identified the following substances, among others, as contaminants of concern
   for the site: acetone, benzene, toluene, xylene, and methyl ethyl ketone. (85, 86)
42. A health consultation by the ATSDR of the neighboring Vince Bayou in August 2009, identified
   lead and zinc, among other metals as contaminants of concern. (83)
Bolivar Barge Cleaning Service, LLC
43. I have reviewed the discovery records concerning the operations of Bolivar Barge Cleaning
   Service, LLC (“Bolivar Barge”) which were provided by counsel.
44. In the Defendants’ Motion to Dismiss, Bolivar Barge stated that “ Plaintiff has failed to state
   a claim against Bolivar Barge under both CERCLA and the TSWDA. Specifically, Plaintiff
   has failed to plead sufficient facts that show the purported substance that Bolivar Barge
   arranged for disposal or treatment and/or arranged with a transporter for transport for disposal
   or treatment is hazardous. Indeed, the only apparent bases for Plaintiff s allegations against
   Bolivar Barge are found in the manifests and invoices that Plaintiff itself provided, which
   expressly state that the alleged substances are non-hazardous”. Contrary to the statement
   from the Defendant, the wastes generated by Bolivar Barge, in my opinion, contained
   hazardous substances.
45. In the TCEQ Central Registry, Bolivar Barge is registered as a generator of industrial waste at
   the facility located at 1415 Quarles Ave, Port Bolivar in Galveston County, Texas. The
   applicable NAICS codes for Bolivar Barge include 336611 and 562119
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46. In their Notice of Registration with the State, Bolivar Barge identified waste streams including
   1) oily water, oil water emulsions, or mixtures containing oil, and 2) plant trash as wastes
   generated by the facility and collected for off-site disposal (34).
47. In my opinion, based on the Bolivar Barge discovery records that I reviewed, my knowledge
   and experience with ship repairing processes carried out by companies like Bolivar Barge
   during the time period in question, the repair processes conducted by Bolivar Barge would have
   included machining and metal working, cleaning and degreasing, surface preparation, and
   painting, among others (13, 14).
48. The processes, listed above, would have generated one or more of the following substances as
   wastes: acetone, benzene, toluene, xylene, methyl ethyl ketone, methylene chloride,
   dichloroethylene, trichloroethylene, perchloroethylene, trichloroethane, chromium, copper,
   lead, and zinc; all of which are hazardous substances under CERCLA. (EPA, 1990; 30; EPA,
   1997).
49. As a result of repair processes conducted by Bolivar Barge and the washing operations of tanks,
   holds, and bilge facilities on the vessels, the wash water generated by Bolivar Barge would have
   contained some, if not all, of the hazardous substances listed above. (USEPA 1990).
50. Further, I understand that the waste streams of Bolivar Barge, which other evidence shows were
   disposed of at the USOR site, would have contributed to the wastes that were present at the
   USOR site.
51. Emergency response actions by USEPA and the TCEQ in July, 2010, November 2010, and
   January 2011, identified the following substances, among others, as contaminants of concern
   for the site: acetone, benzene, toluene, xylene, and methyl ethyl ketone, methylene chloride,
   dichloroethylene, trichloroethylene, perchloroethylene, trichloroethane. (85, 86)
52. A health consultation by the ATSDR of the neighboring Vince Bayou in August 2009, identified
   chromium, copper, lead and zinc, among other metals as contaminants of concern (83).
Boxer Property Management Corporation
53. I have reviewed the discovery records concerning the operations of Boxer Property
   Management Corporation (“Boxer”) which were provided by counsel.
54. In the Defendants’ Motion to Dismiss, Boxer stated “The USOR Site Group’s Third Amended
   Complaint fails to properly state a claim against Boxer because Plaintiff has wholly failed to
   allege any facts supporting the claim that Boxer arranged for disposal or treatment or
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   transportation for disposal or treatment of hazardous substances. Boxer’s arrangement for
   disposal of hazardous waste is a necessary element of the USOR Site Group’s CERCLA and
   TSWDA arranger claims.         Plaintiff further cannot meet its burden in pleading factual
   allegations that demonstrate Boxer generated hazardous substances.”
55. In the Texas Commission on Environmental Quality (“TCEQ”) Central Registry, Boxer is not
   registered as a regulated entity. Further, no information has been produced by the Defendant as
   to the location or specific details on the process that generated the waste.
56. Without further information, I am unable to form an opinion with respect to this waste stream
   at this time.
Cedarwood Development Inc.
57. I have reviewed the discovery records concerning the operations of Cedarwood Development
   Incorporated (“Cedarwood”) which were provided by counsel.
58. In the Defendants’ Motion to Strike Portions of the Plaintiffs Third Amended Complaint,
   Cedarwood requests “that the Court strike the addition of “. . . anthracene, antimony, aroclor
   1260 . . .barium . . . beryllium . . . dichloroethane . . . ethylbenzene, ethylene dibromide,
   fluoranthene . . . indeno(1,2,3-cd)pyrene . . . mercury . . . methyl tert-butyl ether . . .
   naphthalene . . . polychlorinated biphenyls, selenium . . . [and] xylenes” from paragraph
   465 of the Third Amended Complaint. While Cedarwood argues that none of these substances
   were present in their wash water, in my opinion, the wastes generated by Cedarwood contained
   some, if not all, of these hazardous substances.
59. In the TCEQ Central Registry, Cedarwood is listed as the regulated entity for a property located
   at 605 Highway 96 S in Silsbee, Hardin County, Texas.
60. In March 2005, a leaking underground petroleum storage tank was remediated by removing the
   leaking tank and ancillary piping from the ground (35). Storm water runoff and wash water
   was collected in the excavated tankhold, where the water contacted contaminated soils and
   liquids that had leaked from the tank.
61. In my opinion, based on the Cedarwood discovery records that I reviewed, my knowledge and
   experience with leaking underground petroleum storage tank remediation operations, carried
   out by companies like Cedarwood during the time period in question, and references provided
   by EPA and other sources, the petroleum products that leaked from the removed tank contained
   one or more of the following substances, all of which are hazardous substances under CERCLA:
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   benzene, cadmium, chromium, copper, dichloroethylene, ethylbenzene, ethylene dibromide,
   lead, methyl tert-butyl ether, nickel, toluene, xylenes, and zinc (22, 23, 29). With respect to
   these hazardous substances, benzene, ethylbenzene, toluene, and xylene are principal
   components of gasoline. Dichloroethylene, ethylene dibromide, lead (in the form of tetraethyl
   lead), and methyl tert-butyl ether were once used as gasoline additives. Metals, such as,
   cadmium, chromium, copper, lead, nickel, and zinc, occur as trace components in gasoline.
62. As a result of the direct contact between the wash water and the contaminated soils of the
   tankhold, the wash water generated at the Cedarwood site would have contained some, if not
   all, of the hazardous substances contained in the petroleum products released from the tank (23,
   29).
63. Further, I understand that the waste streams of Cedarwood, which other evidence shows were
   disposed of at the USOR site, would have contributed to the wastes that were present at the
   USOR site.
64. Emergency response actions by USEPA and the TCEQ in July, 2010, November 2010, and
   January 2011, identified the following substances, among others, as contaminants of concern
   for the site: benzene, ethylbenzene, toluene, xylene, and dichloroethylene. (85, 86)
65. A health consultation by the ATSDR of the neighboring Vince Bayou in August 2009, identified
   chromium, copper, lead, nickel, and zinc, among other metals as contaminants of concern (83).
Cole Chemical & Distributing, Incorporated
66. I have reviewed the discovery records concerning the operations of Cole Chemical &
   Distributing Incorporated (“Cole Chemical”) which were provided by counsel.
67. In the Defendants’ Motion to Dismiss, Cole Chemical states that “Plaintiff has not pleaded facts
   that show that Defendant arranged for disposal and/or treatment and/or arranged with a
   transporter for transport for disposal or treatment of hazardous materials”. In my opinion, the
   wastes generated by Cole Chemical contained hazardous substances.
68. In the Texas Commission on Environmental Quality (“TCEQ”) Central Registry, Cole
   Chemical and Distributing Inc. is registered as the regulated entity for the facility operating at
   14935 Jacintoport Blvd, in Houston, Harris County, Texas. Cole Chemical operated a
   warehouse with blending and packaging processes at the facility through 2004 (5, 8). Cole
   Chemical is affiliated with SIC codes 4266 and 5169 including the distribution and storage of
   chemicals and related products (36).
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69. As part of its operation, Cole Chemical maintained a concrete enclosure for containment of
   spills and accidental releases associated with the blending and packaging processes. Through
   these processes, residual chemicals, such as acids, alcohols, alkalis, aliphatic naphthas, amines,
   aromatic hydrocarbon compounds, chlorinated solvents, glycols, glycol ethers and/or ketones
   would have collected within the concrete enclosure (37).
70. In my opinion, based on the Cole Chemical discovery records that I reviewed, my knowledge
   and experience with fuel blending operations carried out by companies like Cole Chemical
   during the time period in question, and references provided by EPA and other sources, the
   materials listed above contained one or more of the following substances, all of which are
   hazardous substances under CERCLA: acetone, benzene, toluene, xylene, methyl ethyl ketone,
   dichloroethylene, methylene chloride, trichloroethane, trichloroethylene, perchloroethylene,
   lead, and zinc (5, 8, 22).
71. Over time, rainwater collected within the concrete enclosure. As a result of the direct contact
   with residual chemicals and additives, the rainwater generated at the Cole Chemical site would
   have contained some, if not all, of the hazardous substances released inside the concrete
   enclosure (11).
72. Further, I understand that the waste streams of Cole Chemical, which other evidence shows
   were disposed of at the USOR site, would have contributed to the wastes that were present at
   the USOR site.
73. Emergency response actions by USEPA and the TCEQ in July, 2010, November 2010, and
   January 2011, identified the following substances, among others, as contaminants of concern
   for the site: acetone, benzene, toluene, xylene, methyl ethyl ketone, dichloroethylene,
   methylene chloride, trichloroethane, trichloroethylene, and perchloroethylene (85, 86)
74. A health consultation by the ATSDR of the neighboring Vince Bayou in August 2009, identified
   lead and zinc, among other metals as contaminants of concern (83).
Danny Herman Trucking, Inc.
75. I have reviewed the discovery records concerning the operations of Danny Herman Trucking,
   Inc. (“Danny Herman Trucking”) which were provided by counsel.
76. In Danny Herman Trucking Inc.’s Responses to Plaintiff’s First Discovery Requests, Danny
   Herman Trucking stated, “As previously disclosed to Plaintiff on multiple occasions related to
   this litigation, DHT (Danny Herman Trucking) has no record related to the Invoice, and no
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   records that any of its trucks were serviced in the Houston/Pasadena, Texas area during the
   relevant period of the Invoice (i.e., March 2005). Therefore, DHT does not have anyone to
   disclose that has any knowledge of any purported waste consignment, shipment, transportation
   or other delivery under the Invoice to the Site.”
77. In the Defendants’ Motion to Dismiss, Danny Herman Trucking states “Plaintiff's amended
   contention that the ‘oily’ substance referenced in the Invoice contains such contaminates is
   nothing more than a conclusory guess by Plaintiff. Accordingly, Plaintiff has not sufficiently
   pled facts that show that the purported substance referenced in the Invoice is a hazardous
   substance under federal or state statutes or regulations, including but not limited to CERCIA
   and TSWDA”.
78. In the TCEQ Central Registry, Danny Herman Trucking is registered as a general freight
   hauling company with facility locations in El Paso and Brownsville, Texas. In the TCEQ
   database, Danny Herman Trucking is the regulated entity affiliated with emergency response
   events located at the intersection of Loop 322 and Interstate 20 in Abilene, Texas and at the
   intersection of Interstate 10-W and Simmons Road in Orange County, Texas.
79. While the aforementioned emergency response events occurred after the period of time in
   question, it is probable that a vehicular accident or emergency response situation, such as those
   documented by the TCEQ, could have occurred.
80. Based on the information contained in the discovery records from Danny Herman Trucking, I
   do not have access to the specific details or location associated with the waste attributed to
   Danny Herman Trucking. I am therefore, unable to form an opinion at this time, as to the nature
   of the waste generated or the hazardous substances contained therein.
81. In my opinion, based on the Danny Herman Trucking discovery records that I reviewed, my
   knowledge and experience with clean-up of fuel spills and emergency response actions during
   the time period in question, such as those documented in the TCEQ database for Danny Herman
   Trucking, and references provided by EPA and other sources, the spilled fuel and other
   materials resulting from vehicular accidents contained one or more of the following substances,
   all of which are hazardous substances under CERCLA: benzene, ethyl benzene, toluene, xylene,
   methyl ethyl ketone, methyl tert-butyl ether, lead, and zinc (22, 30).
Empire Truck Lines, Inc.
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82. I have reviewed the discovery records concerning the operations of Empire Truck Lines
   Incorporated (“Empire Truck”) which were provided by counsel.
83. In Defendant Empire Truck Lines. Inc.’s Answer and Affirmative Defenses, Empire Truck
   declares “Plaintiff fails to allege facts sufficient to state a claim against ETL (Empire Truck)
   upon which relief may be granted; moreover, Plaintiff fails to meet the pleading standard of
   Bell Atlantic Corp. v. Twombly, 550 U.S. 544 (2007) and Ashcroft v. Iqbal, 556 U.S. 662 (2009).
   Pursuant to Fed. R. Civ. P. 12(b)(6), Plaintiff’s claims should be dismissed in their entirety.”
84. In my opinion, the wastes generated by Empire Truck contained hazardous substances.
85. In EPA’s Facility Registry Service, Empire Truck is registered as a hazardous waste generator
   with a facility location at 10043 Wallisville Rd, Houston, Texas (40). The registration for
   Empire Truck identifies the facility as a truck trailer manufacturing company (NAICS code
   336212) and a used oil handler (SIC code 3402).
86. In the RCRAInfo database, Empire Truck is identified as a hazardous waste generator with the
   waste codes D001, D018, D027, D039, and F001. The hazardous substances contained in these
   waste codes include benzene, 1,4-dichlorobenzene, tetrachloroethylene, and a mixture of spent
   halogenated solvents including tetrachloroethylene, methylene chloride, 1,1,1-trichloroethane,
   carbon tetrachloride, and chlorinated fluorocarbon compounds.
87. Operations conducted by Empire Truck at their Houston facility would also have included truck
   maintenance, mechanical repair, metal working, painting, and used oil handling (13, 14, 20, 23,
   28).
88. In my opinion, based on the Empire Truck discovery records that I reviewed, my knowledge
   and experience with metal-working and manufacturing operations carried out by companies like
   Empire Truck during the time period in question, and references provided by EPA and other
   sources, the wastes produced by the processes listed above contained one or more of the
   following substances, all of which are hazardous substances under CERCLA: acetone, benzene,
   toluene, xylene, methyl ethyl ketone, dichloroethylene, methylene chloride, perchloroethylene,
   trichloroethylene, trichloroethane, chromium, copper, lead, and zinc (4, 14, 20).
89. Used oil produced as a result of these processes at the Empire Truck facility would have
   contained some, if not all, of the hazardous substances listed above. (22, 27).
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90. Further, I understand that the waste streams of Empire Truck, which other evidence shows were
   disposed of at the USOR site, would have contributed to the wastes that were present at the
   USOR site.
91. Emergency response actions by USEPA and the TCEQ in July, 2010, November 2010, and
   January 2011, identified the following substances, among others, as contaminants of concern
   for the site: acetone, benzene, toluene, xylene, methyl ethyl ketone, dichloroethylene,
   methylene chloride, perchloroethylene, trichloroethylene, and trichloroethane. (85, 86)
92. A health consultation by the ATSDR of the neighboring Vince Bayou in August 2009, identified
   chromium, copper, lead, and zinc, among other metals as contaminants of concern (83).
Estes Express Lines
93. I have reviewed the discovery records concerning the operations of Estes Express Lines (“Estes
   Express”) which were provided by counsel.
94. In the Defendants’ Motion to Dismiss, Estes Express states “Estes Express is entitled to
   dismissal of Plaintiff’s claims against it because Plaintiff’s Complaint fails to state claims under
   CERCLA and the TSWDA. The Complaint fails plead facts which would demonstrate that Estes
   Express by contract, agreement, or otherwise arranged for disposal or treatment and/or arranged
   with a transporter for transport for disposal or treatment of at least 3,000 gallons of waste
   containing “hazardous substances.” Plaintiff’s attempt to establish liability for Estes Express
   rests on vague, unclear, and, insufficient facts.”
95. In the Texas Commission on Environmental Quality (“TCEQ”) Central Registry, Estes Express
   is registered as a trucking company with an SIC Code of 4213 (41).
96. On August 2, 2005, Estes Express hauled liquid chemicals to Cybershield of Texas, an
   electroplating facility. Prior to the transfer of the materials to Cybershield, one of the plastic
   totes containing liquids ruptured and leaked into a nearby drainage ditch.
97. According to the Contact Report and Incident Summary Report filed by Action Environmental,
   the spilled liquids and wash water were cleaned-up by Eagle Construction and Environmental
   Services (“Eagle”) with the wastes taken to USOR for disposal.
98. In the Contact Report, provided through Discovery, Estes Express, on August 3, 2005, sent a
   copy of the material safety data sheet (“MSDS”) for the spilled liquids to Eagle prior to the
   clean-up. Communications noted for later day indicated that Eagle collected soil and wash
   water samples for analysis.
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99. Unfortunately, the MSDS and results of the analytical sampling were not provided through
   Discovery. As a result, I am unable to make any determination as to the nature of the substances
   released due to the spill and the hazardous nature of the materials disposed of at USOR.
Flex Oil Service, LLC
100. I have reviewed the discovery records concerning the operations of Flex Oil Service, LLC
     (“Flex Oil”) which were provided by counsel.
101. In the Defendants’ Motion to Dismiss, Flex Oil states “Flex is entitled to dismissal of the
     Plaintiffs Complaint because Plaintiff has failed to state a claim under CERCLA and the
     TSWDA. Plaintiff has not pleaded facts that show Flex disposed of any substances nor
     arranged for disposal or treatment and/or arranged with a transporter for transport for disposal
     or treatment of a hazardous material.” In my opinion, the wastes generated by Flex Oil
     contained hazardous substances.
102. In the TCEQ Central Registry, Flex Oil is registered as a petroleum storage and terminal
     storage facility (NAICS Code 324191 and 424710). Flex Oil was also registered as a used oil
     handler at their facility located at 16514 De Zavalla Road, Suite A, in Channelview, Harris
     County, Texas (42). Additionally, the facility was granted a Stormwater Permit through the
     TCEQ under the name of Flex Tank Systems, LLC.
103. From January 2004 through at least, February 2009, Flex Oil generated used fuel oil, oily
     water, oily pads, oily filters, floor dry, grease drums and drums of axle grease along with
     stormwater runoff through their operations at the Channelview facility (23, 29).
104. In my opinion, based on the Flex Oil discovery records that I reviewed, my knowledge and
     experience with oil recovery processes carried out by companies like Flex Oil during the time
     period in question, and references provided by EPA and other sources, the waste streams
     generated by Flex Oil listed above contained one or more of the following substances, all of
     which are hazardous substances under CERCLA: acetone, benzene, ethyl benzene, toluene,
     xylene, methyl ethyl ketone, chromium, lead, and zinc (23, 26, 28).
105. Stormwater runoff coming in contact with these waste streams would have contained oil and
     the hazardous substances therein, yielding stormwater with unacceptable levels of hazardous
     substances to be discharged under the stormwater permit for the facility.
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106. Further, I understand that the waste streams of Flex Oil, which other evidence shows were
     disposed of at the USOR site, would have contributed to the wastes that were present at the
     USOR site.
107. Emergency response actions by USEPA and the TCEQ in July, 2010, November 2010, and
     January 2011, identified the following substances, among others, as contaminants of concern
     for the site: acetone, benzene, toluene, xylene, and methyl ethyl ketone. (85, 86)
108. A health consultation by the ATSDR of the neighboring Vince Bayou in August 2009,
     identified chromium, lead and zinc, among other metals as contaminants of concern (83).
Ho Ho Ho Express Incorporated
109. I have reviewed the discovery records concerning the operations of Ho Ho Ho Express
     Incorporated (“Ho Ho Ho Express”) which were provided by counsel.
110. In the Defendants’ Motion to Dismiss, Ho Ho Ho Express stated “Plaintiff fails to allege facts
     sufficient to make a reasonable inference that Ho Ho Ho Express generated or arranged for
     transport of a ‘hazardous substance’ contained at the site.”
111. In its Response to Plaintiff’s First Discovery Request, Ho Ho Ho Express responded, “After
     inquiry, Ho Ho Ho Express has found no information or documentation to indicate that it
     transported or generated any waste or materials of any sort that went to the Site” and “If its
     Rule 12(b)(6) motion to dismiss is denied, Ho Ho Ho Express will provide information
     concerning any waste disposal practices which is relevant to Plaintiff’s complaint
     allegations”.
112. In the TCEQ Central Registry, Ho Ho Ho Express is a regulated entity that conducts fleet
     refueling at its facility located at 6188 Lawford Lane, Houston, Harris County, Texas. The
     facility maintains a petroleum storage tank registered to Ho Ho Ho Express Shop (43) .
113. In my experience with refueling operations, leaks and spills are commonplace, releasing
     liquids containing hazardous substances to the environment. Clean-up of these releases would
     produce “oily water” containing hazardous substances. However, I am unable to form an
     opinion as to the content of the waste streams produced by Ho Ho Ho Express due to the
     failure of the Defendant to provide relevant information related to the wastes generated.
Houston Independent School District
114. I have reviewed the discovery records concerning the operations of Houston Independent
     School District (“Houston ISD”) which were provided by counsel.
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115. In the Defendants’ Answer and Affirmative Defenses to Plaintiff’s Second Amended
     Complaint, Houston ISD stated “HISD is not liable for any costs that result from the
     cleanup of materials or constituents that are not ‘hazardous substances’ as defined in Section
     101(14) of CERCLA, 42 U.S.C. § 9601(14), or that are excluded petroleum products not
     within the purview of CERCLA.” Further Houston ISD stated, “HISD is not liable under the
     TSWDA for any costs that result from the cleanup of a facility that is not a ‘solid waste
     facility’ or that result from the cleanup of materials or constituents that are not ‘hazardous
     substance[s],’ ‘hazardous waste,’ or ‘solid waste’ as defined by the TSWDA. TEX. HEALTH
     & SAFETY CODE ANN. § 361.003”. In my opinion, the waste streams generated by Houston
     ISD were mixtures of wastes, which contained hazardous substances.
116. In the TCEQ Central Registry, Houston ISD is registered as the regulated entity for 120
     facilities in and around the greater Houston area (44).
117. Between 2004 and 2010, ten of the Houston ISD facilities were affiliated with stormwater
     permits for new construction (SIC Code 1542). Addresses for the sites of new construction
     included the following locations, all in Houston, Harris County, Texas:
                 8302 Braes River Drive,
                 8100 Elrod Street,
                 510 Jensen Drive,
                 8200 Carvel Lane,
                 515 E Rittenhouse Street,
                 413 E 13th Street,
                 4900 Market Street,
                 6350 Pinemont Drive,
                 1401 W 43rd Street, and
                 5302 Allendale Road.
118. Stormwater runoff generated from an industrial construction site would, more likely than not,
     have contacted the following construction related materials: waste paints, varnish, solvents,
     sealers, thinners, resins, roofing cement, waste adhesives, machinery lubricants, used
     caulking, treated wood, lead-based paint, lead flashing and/or solder (16).
119. Houston ISD conducted fleet refueling operations at thirteen facilities with the following
     locations in Houston, Harris County Texas:
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                  Barnett Facility, 6700 Winfree Drive,
                  Butler Facility, 6690 Carved Rock Drive,
                  Butler Stadium, 13755 Main Street,
                  Central Facility, 7700 Wallisville Road,
                  Food Services Facility, 2000 Lyons Avenue,
                  Formerly Squaw Transit Facility, 4534 Wilmington Street,
                  Future Elementary School Facility, 5927 Waltrip Street,
                  Jefferson Davis High School, 1101 Quitman Street,
                  North Main Texaco, 2224 N Main Street,
                  HISD Transportation Facility, 228 McCarty Street,
                  Northwest Bus Operations Center, 6350 Pinemont Drive,
                  North Forest Facility, 10729 Mesa Drive, and
                  North Maintenance Facility, 9229 Bauman Road.
120. As a result of leaks and spills associated with refueling operations, wash water and stormwater
     runoff from these fleet refueling locations would more likely than not, have contacted the
     residual fuels, if not, dissolving the residual fuels entirely.
121. The former Houston ISD refueling location at 3311 Beauchamp Street in Houston, Harris
     County, Texas was found to have a leaking underground storage tank at the end of January
     2004. The leaking underground petroleum storage tank was remediated by removing the
     leaking tank and ancillary piping from the ground. Storm water runoff and wash water was
     collected in the excavated tankhold, where the water contacted contaminated soils and liquids
     that had leaked from the tank.
122. The following five facilities, all in Houston, Harris County, Texas and operated by Houston
     ISD, were registered with the TCEQ in the Industrial and Hazardous Waste, Solid Waste
     Registration program.
           a. Houston ISD Transportation Department, 6700 Winfree Drive,
           b. HISD Butler Facility, 6690 Carved Rock Drive,
           c. Houston ISD Transportation, 228 McCarty Street,
           d. North Forest Facility, 10729 Mesa Drive, and
           e. North Maintenance Facility, 9229 Bauman Road.
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123. The waste streams registered with the Industrial and Hazardous Waste, Solid Waste
     Registration program as hazardous wastes included spent solvents, immersion cleaners, paint
     waste, used paint booth filters, outdated and off-specification paint, waste mineral spirits and
     waste paint related materials (16).
124. In my opinion, based on the Houston ISD discovery records that I reviewed, my knowledge
     and experience with leaking underground petroleum storage tank remediation operations,
     carried out by companies like Houston ISD during the time period in question, and references
     provided by EPA and other sources, the petroleum products that leaked from the removed
     tank contained one or more of the following substances, all of which are hazardous substances
     under CERCLA: benzene, cadmium, chromium, copper, dichloroethylene, ethylbenzene,
     ethylene dibromide, lead, methyl tert-butyl ether, nickel, toluene, xylenes, and zinc (23, 29).
125. As a result of the direct contact between the wash water and the contaminated soils of the
     tankhold, it is my opinion that the wash water generated at the 3311 Beauchamp Street site
     would have contained some, if not all, of the hazardous substances contained in the petroleum
     products released from the tank.
126. Further, based on my knowledge and experience with construction operations carried out by
     companies like Houston ISD and their contractors, the stormwater generated at the Houston
     ISD construction sites would have contacted some, if not all, of the waste streams containing
     hazardous substances produced as construction debris. (16) Therefore, it is my opinions that
     stormwater runoff from the Houston ISD constructions sites, more likely than not, would have
     contained one or more of the following substances, all of which are hazardous substances
     under CERCLA: acetone, benzene, toluene, xylene, methyl ethyl ketone, lead, and zinc (16,
     30).
127. Furthermore, based on my knowledge and experience with maintenance and repair operations
     carried out by companies like Houston ISD at their building and transportation maintenance
     facilities, the waste streams registered with the TCEQ for these facilities would, more likely
     than not, have contained one or more of the following substances, all of which are hazardous
     substances under CERCLA: acetone, benzene, toluene, xylene, methyl ethyl ketone,
     dichloroethylene, methylene chloride, perchloroethylene, trichloroethylene, trichloroethane,
     chromium, copper, lead, and zinc (13, 20, 23, 29, 30).
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128. I understand that the waste streams of Houston ISD, which other evidence shows were
     disposed of at the USOR site, would have contributed to the wastes that were present at the
     USOR site.
129. Emergency response actions by USEPA and the TCEQ in July, 2010, November 2010, and
     January 2011, identified the following substances, among others, as contaminants of concern
     for the site: acetone, benzene, toluene, xylene, methyl ethyl ketone, dichloroethylene,
     methylene chloride, perchloroethylene, trichloroethylene, and trichloroethane. (85, 86)
130. A health consultation by the ATSDR of the neighboring Vince Bayou in August 2009,
     identified chromium, copper, lead, and zinc, among other metals as contaminants of concern
     (83).
Humble Elevator Service, Inc.
131. I have reviewed the discovery records concerning the operations of Humble Elevator Service,
     Incorporated (“Humble Elevator”) which were provided by counsel.
132. In the Defendants’ Motion to Dismiss, Humble Elevator argues “HES [Humble Elevator] is
     entitled to dismissal of the Plaintiff’s Complaint because Plaintiff has failed to state a claim
     under CERCLA and the TSWDA. Plaintiff has not pleaded facts that show HES disposed of
     any substance nor arranged for disposal or treatment and/or arranged with a transporter for
     transport or treatment of a hazardous material. In fact, the only apparent basis for Plaintiff’s
     allegation against HES are found in a invoice and manifest for Specialized Maintenance a
     company hired by HES.”
133. In the Defendant’s Responses to Plaintiff’s First Set of Interrogatories, Humble Elevator
     stated, “Humble Elevator Service, Inc. does not generate waste material, nor do we treat, store,
     or dispose of waste”. Further, Humble Elevator stated, “Humble Elevator Service, Inc. does
     not generate or handle waste. We were hired by Amtech Elevator to do a cylinder replacement
     for 9888 Bissonnet.” Finally, Humble Elevator confirmed, “We do not generate a waste
     stream. We do cylinder replacements on elevators, in the process, sometimes the well hole
     (which is under the building) is filled with sand, waste and oil. The property owner, and/or
     property management needs this removed for us to complete the work.                We contact
     Specialized Maintenance to remove this from the job site. Specialized Maintenance removes,
     transports, and disposes of the sludge that is removed from the well hole under the building
     for the owner of the building.”
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134. I strongly disagree with these statements. When Humble Elevator changes out an elevator
     cylinder, the spent or broken cylinder becomes waste from the process. Additionally, any
     spent fluids such as hydraulic oils, solvents, degreasing compounds, and/or metal fragments
     from cutting, grinding, or polishing operations would be generated as wastes. These latter
     wastes, if not collected separately, would accumulate in the well hole, along with oil, water
     and sand.
135. Humble Elevator is not listed in the TCEQ customer database. Information regarding their
     operations and waste streams is not regulated and is unavailable for me to evaluate. When
     combined with the Humble Elevator’s unwillingness to disclose information regarding their
     maintenance and repair processes, I am unable to form an opinion regarding the hazardous
     nature of the wastes attributed to Humble Elevator at this time.
IBEX Chemicals, Inc.
136. I have reviewed the discovery records concerning the operations of IBEX Chemicals,
     Incorporated (“IBEX”) which were provided by counsel.
137. In IBEX’s Responses to Plaintiff’s First Set of Interrogatories, IBEX replied “IBEX is not a
     generator of hazardous waste. Defendant was not the entity that selected the USOR site
     facility for the disposal of waste. The selection of the disposal site was made by Gator
     Environmental & Rentals, the ‘Arranger’”. Further, IBEX admits that it generated “2,700
     gallons of soybean oil on or about March 27, 2007” and “3,000 gallons of Recycle/non-waste
     (2% Oil, 98% Water) on or about February 23, 2011”.
138. In the TCEQ Central Registry, IBEX is the regulated entity for the facility located at 12950
     Emmitt Road in Houston, Harris County, Texas. Operations conducted by IBEX at the site
     were classified as miscellaneous chemical product manufacturing (NAICS Code 325998).
     IBEX is affiliated with Weatherford Enterra, Inc., an oil field services and manufacturing
     company (45). The facility was assigned an Industrial and Hazardous Waste Solid Waste
     Registration with waste streams including spent solvents, paint waste, waste oil, used filters,
     scrap metal, and general plant trash (23).
139. Weatherford Enterra, with the same facility address as IBEX, is listed in EPA’s RCRAInfo
     database as a generator of hazardous waste (46). Waste codes assigned to Weatherford’s
     operations include D001, D006, D007, D008, D018, D039, F003 and F005.
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140. Based on the IBEX discovery records that I reviewed, IBEX failed to disclose its processes
     for refining and blending of the soybean oils and the additives that were incorporated into the
     off-spec oils that were disposed of at the USOR site. Therefore, it is not possible for me to
     form an opinion at this time, as to the hazardous nature of the waste materials, from IBEX,
     disposed of at the USOR site.
Larry’s Bar-B-Q
141. I have reviewed the discovery records concerning the operations of Larry’s Bar-B-Q (“Larry’s
     BBQ”) which were provided by counsel.
142. In the Defendants’ Original Answer and Affirmative Defenses to Plaintiff’s Second Amended
     Complaint, Larry’s BBQ stated, “In response to paragraph 1869, Larry’s Bar-B-Que denies
     that it generated waste streams disposed at the USOR Site, nor did waste allegedly generated
     by Larry’s Bar-B-Que disposed at the USOR site, if any, contain any of the hazardous
     substances as described”. Further, Larry’s BBQ stated, “Plaintiff’s CERCLA claims against
     Larry’s Bar-B-Que in Counts I, II, and III should be barred because none of the alleged Larry’s
     Bar-B-Que materials were ‘hazardous substances’ as that term is defined in CERCLA, §
     101(14), 42 U.S.C. §§ 9601(14). If Larry’s Bar-B-Que contributed any material to the USOR
     Site (specifically, 400 N. Richey Street), which Larry’s Bar-B-Que denies, the material was
     not a hazardous substance, was biodegradable, would have already biodegraded, and therefore
     would not be present such as to require the incurrence of response costs.”
143. In the Texas Alcohol and Beverage Commission database, Larry’s Bar-B-Q Hwy 290 Inc. is
     the regulated entity for the facility located at 14191 Northwest Freeway in Houston, Harris
     County, Texas. The facility is described as a restaurant with food and alcohol service.
144. Waste streams generated by the facility included food wastes, spent grease, and food service
     trash, among others (30).
145. In my opinion, based on the Larry’s BBQ discovery records that I reviewed, my knowledge
     and experience with grease trap and grease disposal operations carried out by companies like
     Larry’s BBQ during the time period in question, and references provided by EPA and other
     sources, the waste streams listed above contained one or more of the following substances, all
     of which are hazardous substances under CERCLA: chromium, copper, zinc, and polycyclic
     aromatic hydrocarbon (“PAH”) compounds including anthracene, fluorene, fluoranthene,
     naphthalene, phenanthrene, and benzo(a)pyrene, among others. (23, 24).
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146. Further, I understand that the waste streams of Larry’s BBQ, which other evidence shows
     were disposed of at the USOR site, would have contributed to the wastes that were present at
     the USOR site.
147. A health consultation by the ATSDR of the neighboring Vince Bayou in August 2009,
     identified chromium, copper, lead and zinc, among other metals as contaminants of concern.
     Soil and sediment sampling in the areas of Vince Bayou adjacent to the USOR site indicated
     the presence of anthracene, fluorene, fluoranthene, naphthalene, phenanthrene, and
     benzo(a)pyrene, among others PAH compounds as contaminant of concern. (83).
Massey Industries, Inc.
148. I have reviewed the discovery records concerning the operations of Massey Industries,
     Incorporated (“Massey Industries”) which were provided by counsel.
149. In the Defendants’ Answers to Plaintiff’s First Set of Interrogatories, Massey Industries
     admitted that “Massey had a miniscule amount of product disposed at the site, specifically
     2,400 gallons and it was non-hazardous.” Further, Massey Industries admitted that “Massey
     did not directly dispose of any materials on the site” (USOR site) and “actually hired AXYS
     Industrial Solutions, LLC ("AXYS") to handle the disposal of the material in question”. In
     my opinion, the wastes generated by Massey Industries contained hazardous substances.
150. In the TCEQ Central Registry, Massey Industries is the regulated entity for the facility located
     at 7320 Avenue B in Houston, Harris County, Texas. The primary business for the facility is
     listed as an industrial chemical manufacturing plant, however machine tool manufacturing
     (NAICS Code 333512) is also listed as one of the facility operations. Massey Industries is
     registered under the Industrial and Hazardous Waste, Solid Waste Registration as a both a
     generator and transported of hazardous waste.         The waste streams associated with its
     operations include dry solid grinding wastes, plant trash, office and shop maintenance wastes,
     uncontaminated construction debris, and used machine oil and coolant associated with
     grinding activities and machine maintenance oils (47).
151. In the discovery records provided by council (Bates No. 00009 – 00014), Massey Industries
     entered into an agreement with AYXS to provide disposal and other services of non-hazardous
     and hazardous wastes produced at the Massey Industries facility on January 5, 2004.
152. An analytical report of a composite sample of the grinding sludge from the Massey Industries
     facility was attached with the AXYS agreement.               The analytical report indicated
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     concentrations of the following metals at levels greater than the method detection limits of
     the laboratory instrumentation: antimony, arsenic, barium, cadmium, chromium, lead, and
     nickel (3, 14).
153. Further, metal cutting and grinding operations such as the processes conducted at the Massey
     Industries facility would have generated cutting oils, coolants, degreasers, and solvents as
     waste streams (22, 30).
154. In my opinion, based on the Massey Industries discovery records that I reviewed, my
     knowledge and experience with machining and metal fabrication processes carried out by
     companies like Massey Industries during the time period in question, and references provided
     by EPA and other sources, the waste streams generated by Massey Industries listed above
     contained one or more of the following substances, all of which are hazardous substances
     under CERCLA: acetone, benzene, dichloroethylene, methyl ethyl ketone, methylene
     chloride, perchloroethylene, toluene, trichloroethane, trichloroethylene, xylene, arsenic,
     barium, cadmium, chromium, lead, and nickel (22, 23, 28).
155. In addition, I understand that the waste streams of Massey Industries, which other evidence
     shows were disposed of at the USOR site, would have contributed to the wastes that were
     present at the USOR site.
156. Emergency response actions by USEPA and the TCEQ in July, 2010, November 2010, and
     January 2011, identified the following substances, among others, as contaminants of concern
     for the site: acetone, benzene, dichloroethylene, methyl ethyl ketone, methylene chloride,
     perchloroethylene, toluene, trichloroethane, trichloroethylene, and xylene. (85, 86)
157. A health consultation by the ATSDR of the neighboring Vince Bayou in August 2009,
     identified arsenic, chromium, lead and nickel, among other metals as contaminants of concern
     (83).
Mexico Lindo Market
158. I have reviewed the discovery records concerning the operations of the Mexico Lindo Market
     (“Mexico Lindo”) which were provided by counsel.
159. In Mexico Lindo Market’s Answer to Plaintiff’s Second Amended Complaint, Mexico
     Lindo stated, “MEXICO LINDO MARKET denies the allegations in Paragraph 2155.
     MEXICO LINDO MARKET denies it ever by contract, agreement, or otherwise arranged
     for disposal or treatment at the USOR Site of any waste containing hazardous substance
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     owned or possessed by MEXICO LINDO MARKET. MEXICO LINDO MARKET denies it
     ever by contract, agreement or otherwise arranged for transport for disposal or treatment at
     the USOR Site of any waste containing hazardous substance owned or possessed by
     MEXICO LINDO MARKET.”
160. Mexico Lindo operates a food market, butcher shop, and taqueria facility located at the 1508
     Houston Blvd., Houston, Harris County, Texas. Waste streams generated by the facility
     included food wastes, spent grease, warehouse trash, and food service trash, among others
     (30).
161. In my opinion, based on the Mexico Lindo discovery records that I reviewed, my knowledge
     and experience with grease trap and grease disposal operations carried out by companies like
     Mexico Lindo during the time period in question, and references provided by EPA and other
     sources, the waste streams listed above contained one or more of the following substances, all
     of which are hazardous substances under CERCLA: chromium, copper, zinc, and polycyclic
     aromatic hydrocarbon (“PAH”) compounds including anthracene, fluorene, fluoranthene,
     naphthalene, phenanthrene, and benzo(a)pyrene, among others. (23, 24).
162. Further, I understand that the waste streams of Mexico Lindo, which other evidence shows
     were disposed of at the USOR site, would have contributed to the wastes that were present at
     the USOR site.
163. A health consultation by the ATSDR of the neighboring Vince Bayou in August 2009,
     identified chromium, copper, lead and zinc, among other metals as contaminants of concern.
     Soil and sediment sampling in the areas of Vince Bayou adjacent to the USOR site indicated
     the presence of anthracene, fluorene, fluoranthene, naphthalene, phenanthrene, and
     benzo(a)pyrene, among other PAH compounds, as contaminants of concern. (83).
Monument Inn, Inc.
164. I have reviewed the discovery records concerning the operations of Monument Inn
     Incorporated (“Monument Inn”) which were provided by counsel.
165. In the Defendants’ Motion to Dismiss, Monument Inn stated, “Defendant Monument Inn, Inc.
     cannot be held liable under CERCLA or TSWDA because the existence of a hazardous
     substance was not established by Plaintiff and Plaintiff has not plead sufficient facts to
     establish Monument Inn caused Plaintiff to incur response costs. Plaintiff has not established
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     Monument Inn is a responsible person as provided by these Acts and therefore, Plaintiff’s
     claims against Monument Inn should be dismissed.”
166. In the TCEQ Central Registry, Monument Inn is registered as a full-service restaurant that
     operates a sewage treatment facility (NAICS Code 722110 and 22132). Monument Inn is
     associated with a wastewater permit for its facility located at 4406 Independence Parkway
     South, in LaPorte, Harris County, Texas (48).
167. On or about January 15, 2006, Monument Inn received notice of violations related to its
     wastewater discharge permit from the TCEQ. In the Notice of Violations, Monument Inn was
     alleged to have failed to comply with permitted effluent limitations, in violation of TEX.
     WATER CODE § 26.121(a), 30 TEX. ADMIN. CODE § 305.125(1), and Texas Pollutant
     Discharge Elimination System ("TPDES") Permit No. 13666001, Effluent Limitations
     and Monitoring Requirements. The enforcement action was resolved through an Agreed
     Order dated May 31, 2006, between the TCEQ and Monument Inn (49).
168. Shortly thereafter on February 28, 2006, Monument Inn allegedly by contract, agreement, or
     otherwise arranged with Earth America for disposal of at least 3,850 gallons of waste,
     described as “grease”, at the USOR site. In their Answer and Affirmative Defenses to
     Plaintiff’s Second Amended Compliant, Monument Inn repeatedly denied that the wastes
     contained hazardous substances.
169. As a full-service restaurant, the waste streams generated by the facility included food wastes,
     spent grease, packaging trash, and food service trash, among others (30). More likely than
     not, the waste streams would have also included cleaning compounds, disinfectant products,
     drain cleaners and solvents as well (30).
170. In my opinion, based on the Monument Inn discovery records that I reviewed, my knowledge
     and experience with grease trap and grease disposal operations carried out by companies like
     Monument Inn during the time period in question, and references provided by EPA and other
     sources, the waste streams listed above contained one or more of the following substances, all
     of which are hazardous substances under CERCLA: acetone, benzene, dichloroethylene,
     methyl ethyl ketone, methylene chloride, perchloroethylene, toluene, trichloroethane,
     trichloroethylene, vinyl chloride, xylene, chromium, copper, lead, zinc, and PAH compounds
     including    anthracene,    fluorene,   fluoranthene,    naphthalene,    phenanthrene,     and
     benzo(a)pyrene, among others. (23,,24).
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171. Further, it is my opinion that Monument Inn knew that their waste streams contained
     hazardous substances. If the waste streams were truly non-hazardous as Monument Inn has
     claimed, then why would Monument Inn pay the additional costs associated with offsite
     treatment and disposal when the waste streams could have been discharged to the Houston
     Ship Channel under their wastewater discharge permit.
172. I understand that the waste streams of Monument Inn, which other evidence shows were
     disposed of at the USOR site, would have contributed to the wastes that were present at the
     USOR site.
173. Emergency response actions by USEPA and the TCEQ in July, 2010, November 2010, and
     January 2011, identified the following substances, among others, as contaminants of concern
     for the site: acetone, benzene, toluene, xylene, dichloroethylene, methyl ethyl ketone,
     methylene chloride, perchloroethylene, trichloroethane, trichloroethylene, and vinyl chloride.
     (85, 86)
174. A health consultation by the ATSDR of the neighboring Vince Bayou in August 2009,
     identified chromium, copper, lead and zinc, among other metals as contaminants of concern.
     Soil and sediment sampling in the areas of Vince Bayou adjacent to the USOR site indicated
     the presence of anthracene, fluorene, fluoranthene, naphthalene, phenanthrene, and
     benzo(a)pyrene, among other PAH compounds, as contaminants of concern. (83).
Pearland Independent School District
175. I have reviewed the discovery records concerning the operations of Pearland Independent
     School District (“Pearland ISD”) which were provided by counsel.
176. In the Defendants’ Answer and Affirmative Defenses to Plaintiff’s Second Amended
     Complaint, Pearland ISD stated “PISD is not liable for any costs that result from the
     cleanup of materials or constituents that are not ‘hazardous substances’ as defined in Section
     101(14) of CERCLA, 42 U.S.C. § 9601(14), or that are excluded petroleum products not
     within the purview of CERCLA.” Further Pearland ISD stated, “PISD is not liable under the
     TSWDA for any costs that result from the cleanup of a facility that is not a ‘solid waste
     facility’ or that result from the cleanup of materials or constituents that are not ‘hazardous
     substance[s],’ ‘hazardous waste,’ or ‘solid waste’ as defined by the TSWDA. TEX. HEALTH
     & SAFETY CODE ANN. § 361.003”. In my opinion, the waste streams generated by Pearland
     ISD were mixtures of wastes, which contained hazardous substances.
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177. According to the Pearland ISD website, the Pearland ISD Food Service Department serves
     breakfast and lunch at all 17 campuses within the district with greater than 12,500 meals
     served daily by food service personnel.
178. In the Pearland ISD discovery records, Pearland ISD, is alleged, by contract, agreement, or
     otherwise, to have arranged with A-Affordable Vacuum Services for disposal of at least
     78,600 gallons of waste, described as “grease”, at the USOR site.
179. As a full-service cafeteria, (NAICS Code 722310) the waste streams generated by the
     Pearland ISD facilities included food wastes, spent grease, packaging trash, and food service
     trash, among others (30). More likely than not, the waste streams would have also included
     cleaning compounds, disinfectant products, drain cleaners and solvents as well (30).
180. In my opinion, based on the Pearland ISD discovery records that I reviewed, my knowledge
     and experience with grease trap and grease disposal operations carried out by organizations
     like Pearland ISD during the time period in question, and references provided by EPA and
     other sources, the waste streams listed above contained one or more of the following
     substances, all of which are hazardous substances under CERCLA: acetone, benzene,
     dichloroethylene, methyl ethyl ketone, methylene chloride, perchloroethylene, toluene,
     trichloroethane, trichloroethylene, vinyl chloride, xylene, chromium, copper, lead, zinc, and
     PAH compounds including anthracene, fluorene, fluoranthene, naphthalene, phenanthrene,
     and benzo(a)pyrene, among others. (23, 24).
181. Further, I understand that the waste streams of Pearland ISD, which other evidence shows
     were disposed of at the USOR site, would have contributed to the wastes that were present at
     the USOR site.
182. Emergency response actions by USEPA and the TCEQ in July, 2010, November 2010, and
     January 2011, identified the following substances, among others, as contaminants of concern
     for the site: acetone, benzene, toluene, xylene, dichloroethylene, methyl ethyl ketone,
     methylene chloride, perchloroethylene, trichloroethane, trichloroethylene, and vinyl chloride.
     (85, 86)
183. A health consultation by the ATSDR of the neighboring Vince Bayou in August 2009,
     identified chromium, copper, lead and zinc, among other metals as contaminants of concern.
     Soil and sediment sampling in the areas of Vince Bayou adjacent to the USOR site indicated
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     the presence of anthracene, fluorene, fluoranthene, naphthalene, phenanthrene, and
     benzo(a)pyrene, among other PAH compounds, as contaminants of concern. (83).
RectorSeal Corporation
184. I have reviewed the discovery records concerning the operations of RectorSeal Corporation
     (“RectorSeal”) which were provided by counsel.
185. In the Defendants’ Objections and Responses to Plaintiff’s First Set of Discovery Requests,
     RectorSeal stated “RectorSeal sent wastewater to the USOR Site that it generated from
     cleaning mixing tanks that it used to manufacture non-hazardous latex based compounds.
     RectorSeal will produce MSDS associated with the materials that were mixed that later
     needed to be rinsed from the mixing tanks. The primary component of RectorSeal’s mixture
     and therefore the wastewater stream (besides water) is a latex polymer emulsion manufactured
     by Air Products Polymers, L.P. known as AIRFLEX 600BP Emulsion, as well as Kaolinitic
     Clay and Iron Oxide, which are fillers”.
186. In the TCEQ Central Registry, RectorSeal is the regulated entity for the facility located at
     2601 Spenwick Drive in Houston, Harris County, Texas (52). Operations conducted at the
     facility are classified as chemical manufacturing with an NAICS Code of 325520. The
     RectorSeal facility is affiliated with a stormwater permit with No Exposure Certification,
     which became effective on September 24, 2009.
187. RectorSeal’s Spenwick facility is registered as a small quantity generator of hazardous wastes
     under the Industrial and Hazardous Waste, Solid Waste Registration Program. Under this
     program, waste streams listed with the TCEQ include waste solvent cement, waste solvents,
     oily sludge, water and hydraulic fluid wastes, and plant trash among other outdated waste
     streams.
188. In the Solid Waste Registration for the facility, Texas Waste Code 00041132 was assigned to
     the waste stream described as waste water generated from equipment clean out.             The
     Guideline for the Classification and Coding of Industrial and Hazardous Wastes, published
     by the I&HW Permits Section of the Texas Commission of Environmental Quality, lists this
     waste stream as Class 2 Industrial Waste composed of aqueous waste with high dissolved
     solids content. (84)
189. My review of the MSDS sheet for AIRFLEX 600BP, which was included with the documents
     produced by RectorSeal to the Plaintiffs, indicated that the polymer material used in the
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     mixing tanks contained trace levels of vinyl acetate monomer (0.3%) and a copolymer (40 to
     60%) with a formulation that was undisclosed. The MSDS provided by RectorSeal stated that
     vinyl acetate monomer is listed as a probable human carcinogen by the International Agency
     for Research on Cancer (IARC).
190. Even without knowing the composition of the copolymer used in the emulsion, the latex
     polymer produced by RectorSeal in its mixing tanks contained hazardous substances
     including vinyl acetate monomer.
191. Based on the RectorSeal discovery records that I reviewed, my knowledge and experience
     with chemical manufacturing operations carried out by companies like RectorSeal during the
     time period in question, and the waste stream information provided by TCEQ, it is my opinion,
     more likely than not, that the mixing tanks, used for the latex emulsion described by
     RectorSeal, were also used for mixing other chemical formulations associated with hazardous
     substances such as waste solvent cement, waste solvents, and oily sludge, as well as water and
     hydraulic fluid wastes.
192. Wash water coming in contact with the waste streams listed above would have contained one
     or more of the following substances, all of which are hazardous substances under CERCLA:
     acetone,   benzene,    toluene,   xylene,   methyl    ethyl   ketone,   methylene    chloride,
     perchloroethylene, trichloroethylene, trichloroethane, and vinyl acetate monomer. (5, 22, 30).
193. Further, I understand that the waste streams of RectorSeal, which other evidence shows were
     disposed of at the USOR site, would have contributed to the wastes that were present at the
     USOR site.
194. Emergency response actions by USEPA and the TCEQ in July, 2010, November 2010, and
     January 2011, identified the following substances, among others, as contaminants of concern
     for the site: acetone, benzene, toluene, xylene, and methyl ethyl ketone. (85, 86)
REM Research Group Inc.
195. I have reviewed the discovery records concerning the operations of REM Research Group
     Incorporated (“REM Research”) which were provided by counsel.
196. In the Defendants’ First Amended Answer to Plaintiff’s Second Amended Complaint, REM
     Research stated “Any substances for which REM is allegedly responsible were not hazardous
     substances, were excluded petroleum products and/or are not otherwise substances within the
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     purview of CERCLA or TSWDA.” In my opinion, the wastes generated by REM Research
     contained hazardous substances.
197. In the TCEQ Central Registry, REM research is the regulated entity for a chemical product
     manufacturing facility (NAICS Code 325998) located at 2107 Longwood Drive in Brenham,
     Washington County, Texas (54). The facility is registered with the Industrial and Hazardous
     Waste, Solid Waste Registration Program as an industrial waste generator with waste streams
     including empty containers, empty drums, used absorbent materials, wastewater generated by
     the vibratory finishing process, lab pack wastes, floor sweepings, and plant trash.
198. The Brenham facility is also registered with the EPA as an Industrial and Hazardous Waste
     Generator (55). A query of EPA’s RCRAInfo database indicated the following waste codes
     were assigned to the REM Research facility: D001, D002, D003, D005, D006, D007, D018,
     and U219.
199. A laboratory analysis for a sample of the wastewater generated by REM Research’s vibratory
     finishing process was provided with REM Research’s Responses and Objections to Plaintiff’s
     First Set of Discovery Requests. From the laboratory analysis, chromium and nickel were
     detected in the wastewater sample.
200. In my opinion, based on the REM Research discovery records that I reviewed, my knowledge
     and experience with chemical manufacturing operations carried out by companies like REM
     Research during the time period in question, and references provided by EPA and other
     sources, the wastes generated by the facility contained one or more of the following
     substances, all of which are hazardous substances under CERCLA: barium, benzene,
     cadmium, chromium, and nickel (2, 5, 22, 30).
201. Further, I understand that the waste streams of REM Research, which other evidence shows
     were disposed of at the USOR site, would have contributed to the wastes that were present at
     the USOR site.
202. Emergency response actions by USEPA and the TCEQ in July, 2010, November 2010, and
     January 2011, identified the following substances, among others, as contaminants of concern
     for the site: acetone, benzene, toluene, xylene, and methyl ethyl ketone. (85, 86)
203. A health consultation by the ATSDR of the neighboring Vince Bayou in August 2009,
     identified cadmium, chromium, and nickel, among other metals as contaminants of concern
     (83).
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Shelton Services Inc.
204. I have reviewed the discovery records concerning the operations of Shelton Services
     Incorporated (“Shelton Services”) which were provided by counsel.
205. In the Defendants’ Motion to Dismiss, Shelton Services states “Without any documentation
     besides the two invoices attached as Exhibit A, Plaintiff simply concludes that it meets the
     elements for a cause of action under CERCLA without stating facts sufficient to support these
     conclusions. Accordingly, the Court should dismiss Plaintiff’s claims under CERCLA against
     Shelton Services for failure to state a claim upon which relief can be granted.”
206. According to their website, Shelton Services provides construction services for environmental
     projects and is licensed to operate in all 50 states.        Shelton Services specializes in
     environmental response actions such as oil spill response, tank cleaning, remediation, and
     hydroblasting (10, 14, 22).
207. However, Shelton Services is not listed with any professional organizations.
208. In the TCEQ Central Registry, Shelton Services is not registered as a regulated entity.
209. A query of EPA’s Facility Registry Service does not identify a company or facility affiliated
     with the name of Shelton Services.
210. In my experience, operations and processes such as the services offered by Shelton Services
     on their website, generate waste streams, many of which contain hazardous substances (16,
     22).
211. Unfortunately, no additional information has been produced by the Defendant as to the
     location or specific details on the process that generated the waste.          Without further
     information, I am unable to form an opinion with respect to this waste stream at this time.
Silverado Senior Living Inc.
212. I have reviewed the discovery records concerning the operations of the Silverado Senior
     Living Incorporated (“Silverado”) which were provided by counsel.
213. In Silverado’s Motion for Summary Judgement, Silverado stated, “Even in the light most
     favorable to Plaintiff, there is no evidence that the entity listed in this record is “Silverado
     Senior Living, Inc.”, or that the grease contained any hazardous substances under CERLCA
     or the TSWDA.”
214. According to the Texas Department of Aging and Disability Services, Assisted Living Facility
     Directory, Silverado operates a senior and assisted-living facility located at the 22955 Eastex
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     Freeway in Kingwood, Montgomery County, Texas (56). Waste streams generated by food
     services operations at the facility included food wastes, spent grease, packaging wastes, and
     food service trash, among others (30). Health care operations at the facility, more likely than
     not, would have generated waste streams including cleaning compounds, disinfectant
     products, drain cleaners and solvents, among others as well (30).
215. In my opinion, based on the Silverado discovery records that I reviewed, my knowledge and
     experience with grease trap and grease disposal operations carried out by companies like
     Silverado during the time period in question, and references provided by EPA and other
     sources, the waste streams listed above contained one or more of the following substances, all
     of which are hazardous substances under CERCLA: chromium, copper, zinc, and polycyclic
     aromatic hydrocarbon (“PAH”) compounds including anthracene, fluorene, fluoranthene,
     naphthalene, phenanthrene, and benzo(a)pyrene, among others. (23, 24).
216. Further, I understand that the waste streams of Silverado, which other evidence shows were
     disposed of at the USOR site, would have contributed to the wastes that were present at the
     USOR site.
217. A health consultation by the ATSDR of the neighboring Vince Bayou in August 2009,
     identified chromium, copper, lead and zinc, among other metals as contaminants of concern.
     Soil and sediment sampling in the areas of Vince Bayou adjacent to the USOR site indicated
     the presence of anthracene, fluorene, fluoranthene, naphthalene, phenanthrene, and
     benzo(a)pyrene, among other PAH compounds, as contaminants of concern. (83).
Southern Core Supply, Inc.
218. I have reviewed the discovery records concerning the operations of Southern Core Supply
     Incorporated (“Southern Core Supply”) which were provided by counsel.
219. In the Defendants’ Motion to Dismiss, Southern Core Supply stated, “In order to plead that
     Southern Core was an arranger, Plaintiff must also plead facts that support that the materials,
     which were the subject of the alleged disposal, treatment, or transportation, were ‘hazardous
     substances’ within the meaning in CERCLA. In its Second Amended Complaint, Plaintiff
     baldly points to 62,600 gallons of ‘oily water’ and ‘oily waste water’ containing ‘hazardous
     substances’, which Plaintiff claims Southern Core arranged to be disposed of, treated at, or
     transported to the USOR Site”.
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220. Further, in Southern Core Supply, Inc.’s Objections and Responses to Plaintiff’s First Set of
     Interrogatories, Request for Production and Request for Admissions, Southern Core Supply
     stated, “SCS's facility is an industrial classification. SCS is a recycling facility, which
     involves dismantling motors and transmissions. The nonhazardous oily water that sometimes
     results from the dismantling was collected in a tank and removed from SCS's facility
     through the use of certified waste transportation companies”. In my opinion, the wastes
     generated by Southern Core Supply contained hazardous substances.
221. In the TCEQ Central Registry, Southern Core Supply is listed as the regulated entity for a
     facility located at 7911 Fallbrook Dr. in Houston, Harris County, Texas (58). The facility is
     classified under SIC Codes 5015 and 5093 as a used motor vehicle parts distributor and a
     scrap and waste materials handler. Southern Core is affiliated with a stormwater discharge
     permit for its facility (57).
222. Waste streams generated as a part of the auto salvaging operations conducted by Southern
     Core Supply would have included waste oil, transmission fluids, engine coolants, solvents,
     degreasers, cleaning products, sludges, and used batteries (3, 4, 7).
223. In my opinion, based on the Southern Core Supply discovery records that I reviewed, my
     knowledge and experience with auto salvaging operations carried out by companies like
     Southern Core Supply during the time period in question, and references provided by EPA
     and other sources, the waste steams listed above contained one or more of the following
     substances, all of which are hazardous substances under CERCLA: acetone, benzene, toluene,
     xylene, methyl ethyl ketone, dichloroethylene, methylene chloride, perchloroethylene,
     trichloroethylene, trichloroethane, copper, chromium, lead, and zinc (4, 7, 30,).
224. As indicated in Southern Core Supply’s responses to the Plaintiff’s interrogatories, spent
     automobile fluids were collected in a tank for off-site disposal. Waste oil, spent automobile
     fluids, and any stormwater coming in contact with the waste streams from Southern Core
     Supply’s operations, would have contained some, if not all, of the hazardous substances
     contained in the waste streams identified above. (4, 7, 23).
225. Further, it is my opinion that Southern Core Supply knew that its “nonhazardous oily water”
     contained hazardous substances. If the waste water was truly nonhazardous as Southern Core
     Supply has claimed, then why would Southern Core Supply pay for the additional expense of
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     transport and disposal for waste water that could be discharged under the stormwater
     discharge permit for the facility.
226. I understand that the waste streams of Southern Core Supply, which other evidence shows
     were disposed of at the USOR site, would have contributed to the wastes that were present at
     the USOR site.
227. Emergency response actions by USEPA and the TCEQ in July, 2010, November 2010, and
     January 2011, identified the following substances, among others, as contaminants of concern
     for the site: acetone, benzene, toluene, xylene, methyl ethyl ketone dichloroethylene,
     methylene chloride, perchloroethylene, trichloroethylene, and trichloroethane. (85, 86)
228. A health consultation by the ATSDR of the neighboring Vince Bayou in August 2009,
     identified copper, chromium, lead and zinc, among other metals as contaminants of concern
     (83).
Sunbelt Rentals, Inc.
229. I have reviewed the discovery records concerning the operations of Sunbelt Rentals
     Incorporated (“Sunbelt Rentals”) which were provided by counsel.
230. In the Defendants’ Memorandum in Support of Motion to Dismiss, Sunbelt Rentals stated that
     the Plaintiff “alleges that the ‘waste generated’ by NationsRent are described on USPR Site
     records as ‘grit’ and ‘contained some or all of the following hazardous substances: acetone,
     benzene, chromium, ethyl benzene, manganese, methyl ethyl ketone, nickel, toluene,
     trichloroethane, xylenes and/or zinc.’ (Id. at ¶3039). Plaintiff fails to describe how it came up
     with this conclusion. Plaintiff further alleges NationsRent “arranged” with transporter Earth
     America to transport NationsRent’s ‘waste streams to the USOR Site’ (without explaining
     how). (Id. at ¶3040).” In my opinion, the wastes generated by Sunbelt Rentals contained
     hazardous substances.
231. In the TCEQ Central Registry, Sunbelt Rentals is the regulated entity for a commercial
     equipment rental and leasing facility (NAICS Code 532412) located at 2626 Bayport Blvd in
     Seabrook, Harris County Texas (59). The facility also operates as a maintenance and repair
     shop (NAICS Code 811310) and a fleet refueling center (NAICS Code 424720)
232. Operations conducted by SunBelt Rentals at their Seabrook facility would also have included
     truck maintenance, mechanical repair, metal working, painting, vehicle cleaning, and used oil
     handling. Waste streams generated as a result of the facility operations would have included
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     metal grindings, floor sweepings, waste oil, transmission fluids, engine coolants, solvents,
     degreasers, cleaning products, paint wastes, sludges, grit, and used batteries (10, 13, 20, 28).
233. In my opinion, based on the Sunbelt Rentals discovery records that I reviewed, my knowledge
     and experience with metal-working, vehicle maintenance, repair and refueling operations
     carried out by companies like Sunbelt Rentals during the time period in question, and
     references provided by EPA and other sources, the wastes produced by the processes listed
     above contained one or more of the following substances, all of which are hazardous
     substances under CERCLA: acetone, benzene, toluene, xylene, methyl ethyl ketone,
     dichloroethylene, methylene chloride, perchloroethylene, trichloroethylene, trichloroethane,
     chromium, copper, lead, nickel, and zinc (13, 20, 23, 30).
234. Used oil produced as a result of these processes at the Sunbelt Rentals facility would have
     contained some, if not all, of the hazardous substances listed above. (23, 25, 28).
235. Further, it is my opinion that the hazardous substances in these waste streams, more likely
     than not, would have been washed or would have drained into the sumps and grit traps at the
     facility. The grit trap wastes would have contained some, if not all, of the hazardous
     substances contained in the waste streams listed above (28, 29).
236. I understand that the waste streams of Sunbelt Rentals, which other evidence shows were
     disposed of at the USOR site, would have contributed to the wastes that were present at the
     USOR site.
237. Emergency response actions by USEPA and the TCEQ in July, 2010, November 2010, and
     January 2011, identified the following substances, among others, as contaminants of concern
     for the site: acetone, benzene, toluene, xylene, methyl ethyl ketone, dichloroethylene,
     methylene chloride, perchloroethylene, trichloroethylene, and trichloroethane. (85, 86)
238. A health consultation by the ATSDR of the neighboring Vince Bayou in August 2009,
     identified chromium, copper, lead, nickel, and zinc, among other metals as contaminants of
     concern (83).
Sunbelt Steel Texas Inc.
239. I have reviewed the discovery records concerning the operations of Sunbelt Steel Texas
     Incorporated (“Sunbelt Steel Texas”) which were provided by counsel.
240. In the Defendants’ Memorandum of Law in Support of Motion to Dismiss, Sunbelt Steel
     Texas stated “Despite its allegations regarding the “release of hazardous substances” and
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     “contaminated liquids” at the USOR Site, (Id. at ¶¶22 and 39), Plaintiff offers no facts about
     Defendant or how it allegedly contributed to the contamination of the USOR Site.”
     Additionally, Sunbelt Steel Texas stated, “Plaintiff further alleges that the “waste generated”
     by Sunbelt Steel is “used oil oily water” that contained some or all of the following hazardous
     substances: acetone, benzene, chromium, copper, dichlorobenzene, dichloroethylene, lead,
     methyl ethyl ketone, methylene chloride, nickel, perchloroethylene, toluene, trichloroethane,
     trichloroethylene, xylenes and/or zinc. (Id. at ¶3045). Plaintiff fails to describe how it came
     up with this conclusion.”
241. According to their website, Sunbelt Steel Texas operates from a facility located at 5311
     Clinton Drive in Houston, Harris County, Texas.
242. However, in the TCEQ Central Registry, the address for Sunbelt Steel Texas is registered with
     the Earle M Jorgensen Company (60, 61). The facility at 5311 Clinton Drive operates as metal
     fabrication shop (NAICS Code 331210) and warehousing facility (NAICS Code 493110).
     The facility is registered as a generator of industrial waste under the Industrial and Hazardous
     Waste, Solid Waste Registration Program.
243. As a metal fabrication facility, the processes conducted by Sunbelt Steel Texas would include
     metal cutting, grinding, turning, honing, milling, deep hole drilling, and heat treating, among
     others. The waste streams generated by Sunbelt Steel Texas as a result of these processes
     would include, spent cutting oils, used metalworking fluids, solvents, degreasers, wastewater
     and sludges, among others (3, 6).
244. In the Solid Waste Registration for the facility, only one registered waste stream is listed. The
     waste stream is comprised of the spent fluids and metal shavings in the cleanout of the
     containment area surrounding the hydraulic metal working equipment (3).
245. Further, the facility enrolled in the Voluntary Clean-up Program with the TCEQ in December
     2004. The initial investigation of the contaminated areas identified benzene, methyl tert-butyl
     ether, volatile organic compounds, and petroleum hydrocarbon compounds as contaminants
     of concern.
246. In my opinion, based on the Sunbelt Steel Texas discovery records that I reviewed, my
     knowledge and experience with metal fabrication processes carried out by companies like
     Sunbelt Steel Texas during the time period in question, and references provided by EPA and
     other sources, the waste streams listed above contained one or more of the following
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     substances, all of which are hazardous substances under CERCLA: acetone, benzene,
     dichloroethylene, ethyl benzene, methyl ethyl ketone, methylene chloride, perchloroethylene,
     toluene, trichloroethane, trichloroethylene, xylenes, chromium, copper, lead, nickel, and zinc
     (3, 6, 22, 30).
247. Further, it is also my opinion that wastewater and sludges in contact with these waste streams
     would, more likely than not, contain the same hazardous substances.
248. I understand that the waste streams of Sunbelt Steel Texas, which other evidence shows were
     disposed of at the USOR site, would have contributed to the wastes that were present at the
     USOR site.
249. Emergency response actions by USEPA and the TCEQ in July, 2010, November 2010, and
     January 2011, identified the following substances, among others, as contaminants of concern
     for the site: acetone, benzene, dichloroethylene, methyl ethyl ketone, methylene chloride,
     perchloroethylene, toluene, trichloroethane, trichloroethylene, and xylenes. (85, 86)
250. A health consultation by the ATSDR of the neighboring Vince Bayou in August 2009,
     identified chromium, copper, lead, nickel, and zinc, among other metals as contaminants of
     concern (83).
Syntech Chemicals, Inc.
251. I have reviewed the discovery records concerning the operations of Syntech Chemicals
     Incorporated (“Syntech Chemicals”) which were provided by counsel.
252. In the Defendants’ Motion to Dismiss, Syntech Chemicals stated “While Plaintiff references
     the purported substance as a ‘hazardous substance’, there is no evidence provided by Plaintiff
     that shows it as hazardous. The documents produced by Plaintiff label the waste as non-
     hazardous and no profile sheet which would identify the waste as non-hazardous has been
     produced by Plaintiff. Plaintiff offer no other evidence of facts supporting its allegations that
     the alleged substance meets any of the definitions of a hazardous substance under federal or
     state statutes or regulations, including CERCLA and the TSWDA.”
253. In the TCEQ Central Registry, Syntech Chemicals is registered as the regulated entity for the
     facility located at 14822 Hooper Road in Houston, Harris County, Texas (62). The facility
     operates as a chemical products manufacturing facility (NAICS Code 325988) with a water
     quality permit for stormwater discharge.
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254. The Syntech Chemicals facility is registered as a conditionally exempt small quantity
     generator under the Industrial and Hazardous Waste, Solid Waste Registration Program with
     waste streams registered as contaminated storm water, used oil, spent carbon, wastewater
     containing sodium sulfate, wastewater containing amines/aldehydes, and plant trash (62).
255. Based on the air permits issued to the facility, many of the manufacturing processes conducted
     at the Syntech Chemicals facility involve the production of complex organic molecules
     including organic pigments and fillers, among other products (8, 9).
256. To date, Syntech Chemicals has not disclosed any of the chemical processes conducted at the
     facility nor have they provided any information on the reagents, intermediates, or byproducts
     associated with the individual processes. Without further information on the operations of
     the Defendant, I am unable to form an opinion with respect to hazardous nature of the wastes
     disposed of at the USOR Site at this time.
Taylor Press Products Co.
257. I have reviewed the discovery records concerning the operations of Taylor Press Products
     Company (“Taylor Press”) which were provided by counsel.
258. In the Defendants’ Motion to Dismiss, Taylor Press stated “Plaintiff’s petition fails to allege
     facts sufficient to show that any alleged material sent to the USOR Site by Taylor Press was
     in fact a hazardous substance. As previously mentioned, Plaintiff’s Petition alleges that Taylor
     Press generated and deposited at the USOR Site, waste streams that included ‘non-hazardous
     waste water’ and ‘non regulated material’.”
259. Further, in the Defendant’s Objections and Responses to Plaintiff’s First Set of Discovery
     Requests, Taylor Press included the Declaration of Bradford Werner and Taylor Press’
     Wastewater Discharge Permit to the City of Jarrell, Texas as part of its response to further
     confirm the non-hazardous nature of the waste generated by Taylor Press.
260. According to their website, Taylor Press operates a metal fabrication facility located at 13675
     Interstate 35 in Jarrell, Williamson County, Texas. Services offered at the Taylor Press
     facility include metal stamping, fabrication and welding services, painting and coating, and
     tool building (NAICS Code 336370).
261. In the TCEQ Central Registry, Taylor Press and its facility address are not registered as a
     regulated entity. Likewise, Taylor Press is not registered in EPA’s Facility Registry Service.
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262. As a metal fabrication facility, the processes conducted by Taylor Press would include metal
     cutting, grinding, bending, turning, stamping, surface preparation, and surface coating, among
     others. The waste streams generated by Taylor Press as a result of these processes would
     include, spent cutting oils, used metalworking fluids, solvents, degreasers, waste surface
     coating products, wastewater and sludges, among others.
263. In the Declaration of Bradford Werner, Mr. Werner indicated that Taylor Press uses the
     Aquence/Bonderite system for coating metal parts. Additionally, Mr. Werner stated, “The
     Bonderite process does not emit VOC’s or contain hazardous chemicals.” However, later in
     his declaration, Mr. Werner admitted, “The process is waterborne that depends on chemical
     reactions between a ferrous component to be coated and the coating solution. As can be seen
     from the description of the process, the hydrofluoric acid we purchase is further extremely
     diluted with water as part of the paint process.”
264. Hydrofluoric acid is a hazardous substance under 40 CFR 302.4, which directly contradicts
     Mr. Werner’s declaration that the Bonderite process does not contain hazardous chemicals. In
     addition, hydrofluoric acid is a listed hazardous waste (U-134) under 40 CFR 261.33 due to
     its corrosivity and toxicity.
265. Further, as Mr. Werner indicated, the surface of the ferrous materials is reacted with
     hydrofluoric acid, dissolving the iron and any impurities in the metal, from the surface of the
     component to be treated. The dissolved metal ions and impurities are removed with the
     wastewater from Stages 1 and 2 of the Bonderite process.
266. A review of the Wastewater Discharge Permit for the Taylor Press facility confirms that
     Taylor Press was discharging the wastewater from the coating process to the POTW in the
     City of Jarrell. However, under the Special Conditions of the permit (Part V Section 2(b)),
     the permit clearly stated, “Wastes from Stages 1 and 2 of the Aquence 866 coating process
     may not be discharged in to the POTW.”
267. In my opinion, based on the Taylor Press discovery records that I reviewed, the waste streams
     generated by Taylor Press as a result of these processes would include metal fragments, spent
     cutting oils, used metalworking fluids, solvents, degreasers, wastewater and sludges, among
     others.
268. Further, it is my opinion, based on my knowledge and experience with metal fabrication and
     coating processes carried out by companies like Taylor Press during the time period in
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     question and references provided by EPA and other sources, the waste streams listed above
     contained one or more of the following substances, all of which are hazardous substances
     under CERCLA: acetone, benzene, dichloroethylene, ethyl benzene, methyl ethyl ketone,
     methylene chloride, perchloroethylene, toluene, trichloroethane, trichloroethylene, and
     xylenes. (3, 6, 30).
269. Furthermore, steel is a homogeneous mixture containing other elements such as carbon,
     chromium, copper, lead, manganese, nickel, vanadium, and zinc. As a result of the dissolution
     process associated with Stage 1 of the surface coating process, the wastewater generated by
     Taylor Press would have contained some, if not all, of the following hazardous substances:
     chromium, copper, lead, nickel, and zinc. (3, 6).
270. Further, I understand that the waste streams of Taylor Press, which other evidence shows were
     disposed of at the USOR site, would have contributed to the wastes that were present at the
     USOR site.
271. Emergency response actions by USEPA and the TCEQ in July, 2010, November 2010, and
     January 2011, identified the following substances, among others, as contaminants of concern
     for the site: acetone, benzene, dichloroethylene, methyl ethyl ketone, methylene chloride,
     perchloroethylene, toluene, trichloroethane, trichloroethylene, and xylenes. (85, 86)
272. A health consultation by the ATSDR of the neighboring Vince Bayou in August 2009,
     identified chromium, copper, lead, nickel, and zinc, among other metals as contaminants of
     concern (83).
Texas Couplings, L.P.
273. I have reviewed the discovery records concerning the operations of Texas Couplings, L.P.,
     (“Texas Couplings”) which were provided by counsel.
274. In the TCEQ Central Registry, Texas Couplings is registered as the regulated entity for a
     fabricated metals and coatings facility (NAICS Code 332999) located at 1835 Holzworth
     Road in Spring, Harris County, Texas. The facility is affiliated with an industrial water quality
     permit for stormwater runoff. The Texas Couplings facility is also registered as a small
     quantity generator under the Industrial and Hazardous Waste, Solid Waste Registration
     program (64).
275. Operations conducted at the facility included metalworking, cutting, grinding, turning,
     degreasing, surface preparation, and coating processes, among others. Waste streams listed
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     on the facility’s Notice of Registration included wash water from washing iron parts, filter
     cake and solids, phosphate sludge, neutralized rinse water from rust removal, dry paint debris,
     caustic wash water, and spent solvents (14).
276. In the RCRAInfo database, Texas Couplings is identified as a small quantity hazardous waste
     generator with the waste codes D001, D002, D006, D007, D008, D018, D035, D039, and
     D040 (65). The hazardous substances contained in these waste codes include cadmium,
     chromium, lead, benzene, methyl ethyl ketone, tetrachloroethylene, and trichloroethylene.
277. In my opinion, based on the Texas Couplings discovery records that I reviewed, my
     knowledge and experience with metal fabrication and coating processes carried out by
     companies like Texas Couplings during the time period in question, and references provided
     by EPA and other sources, the waste streams listed above contained one or more of the
     following substances, all of which are hazardous substances under CERCLA: acetone,
     benzene, dichloroethylene, ethyl benzene, methyl ethyl ketone, methylene chloride,
     perchloroethylene, toluene, trichloroethane, trichloroethylene, xylenes, cadmium, chromium,
     copper, lead, nickel, and zinc. (3, 5, 22)
278. The wastewater and sludges produced by the operations of the facility would, more likely than
     not, have contained some, if not all, of the hazardous substances listed above. (3, 5, 11).
279. Further, I understand that the waste streams of Texas Couplings, which other evidence shows
     were disposed of at the USOR site, would have contributed to the wastes that were present at
     the USOR site.
280. Emergency response actions by USEPA and the TCEQ in July, 2010, November 2010, and
     January 2011, identified the following substances, among others, as contaminants of concern
     for the site: acetone, benzene, dichloroethylene, methyl ethyl ketone, methylene chloride,
     perchloroethylene, toluene, trichloroethane, trichloroethylene, and xylenes. (85, 86)
281. A health consultation by the ATSDR of the neighboring Vince Bayou in August 2009,
     identified chromium, copper, lead, nickel, and zinc, among other metals as contaminants of
     concern (83).
Tex-Tube Co.
282. I have reviewed the discovery records concerning the operations of the Tex-Tube Company
     (“Tex-Tube”) which were provided by counsel.
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283. In the Defendants’ Answer to the Plaintiff’s First Amended Complaint, Tex-Tube stated,
     “Defendant would show that it only arranged for the disposal of non-hazardous materials, and
     that, as such, it is not liable to the Plaintiff.” In my opinion, the wastes generated by Tex-
     Tube contained hazardous substances.
284. In the TCEQ Central Registry, Tex-Tube is registered as the regulated entity for a fabricated
     metals and coatings facility (NAICS Code 331210) located at 1503 N. Post Oak Road in
     Houston, Harris County, Texas (66, 67). The facility is registered as a conditionally exempt
     small quantity generator under the Industrial and Hazardous Waste, Solid Waste Registration
     program.
285. As a metal fabrication facility, the processes conducted by Tex-Tube would have included
     metalworking, cutting, grinding, turning, degreasing, surface preparation, and coating
     processes, among others. The waste streams generated by Tex-Tube and listed in the Notice
     of Registration for the facility included non-halogenated, spent, parts washing fluid, mill
     scale, coating resins and absorball mixtures, scrap metal, wastewater from mill scale cleanup,
     used oil filters, lumber and wood debris, oily wastewater, and numerous other inactive or one-
     time use waste streams such as spent solvents, degreasers, wastewater and sludges, among
     others (14).
286. In the RCRAInfo database, Tex-Tube is identified as a small quantity hazardous waste
     generator with the waste codes D001, D002, D004, D005, D006, D007, D008, D009, D010,
     D018, D027, D028, D035, D036, D039, and D040. The hazardous substances contained in
     these waste codes include arsenic, barium, cadmium, chromium, lead, mercury, selenium,
     benzene, 1,4-dichlorobenzene, methylene chloride, methyl ethyl ketone, nitrobenzene,
     tetrachloroethylene, and trichloroethylene.
287. In my opinion, based on the Tex-Tube discovery records that I reviewed, my knowledge and
     experience with metal fabrication and coating processes carried out by companies like Tex-
     Tube during the time period in question, and references provided by EPA and other sources,
     the waste streams listed above contained one or more of the following substances, all of which
     are hazardous substances under CERCLA: acetone, benzene, dichloroethylene, ethyl benzene,
     methyl ethyl ketone, methylene chloride, perchloroethylene, toluene, trichloroethane,
     trichloroethylene, xylenes, arsenic, barium, cadmium, chromium, copper, lead, mercury,
     nickel, selenium, and zinc (3, 6, 22, 30).
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288. Further, it is also my opinion that wastewater and sludges generated by the facility processes
     would, more likely than not, contain some, if not all, of the same hazardous substances.
289. I understand that the waste streams of Tex-Tube, which other evidence shows were disposed
     of at the USOR site, would have contributed to the wastes that were present at the USOR site.
290. Emergency response actions by USEPA and the TCEQ in July, 2010, November 2010, and
     January 2011, identified the following substances, among others, as contaminants of concern
     for the site: acetone, benzene, dichloroethylene, methyl ethyl ketone, methylene chloride,
     perchloroethylene, toluene, trichloroethane, trichloroethylene, and xylenes. (85, 86)
291. A health consultation by the ATSDR of the neighboring Vince Bayou in August 2009,
     identified chromium, copper, lead, nickel, and zinc, among other metals as contaminants of
     concern (83).
URS Corporation
292. I have reviewed the discovery records concerning the operations of URS Corporation (“URS
     Corp.”) which were provided by counsel.
293. In the Defendants’ Motion to Dismiss, URS Corp. stated “Plaintiff has not pleaded facts that
     show the purported substance that URS arranged for disposal or treatment and/or arranged
     with a transporter for transport for disposal or treatment is hazardous. In fact, the only
     apparent bases for Plaintiff’s allegations against URS are found in invoices and manifests
     expressly stating that the alleged substance is non-hazardous.”
294. In the TCEQ Central Registry, URS Corp. is registered as an affiliated entity with numerous
     project locations across the state. However, the address provided by URS Corp. in the
     Defendant’s Objections and Responses to Plaintiff’s First Set of Request for Production is
     associated with a former leaking underground storage tank located at 7026 Lawndale in
     Houston, Harris County, Texas (68).
295. From my understanding of the documents provided by the Defendant, URS Corp. was
     engaged by the TCEQ Remediation Division to install and sample four monitoring wells as
     well as conduct an active pumping test to classify the groundwater resource at the facility.
296. Prior to the generation of waste from field activities, a representative of URS Corp. completed
     a Generator Liquid Profile Sheet with USOR and indicated that laboratory analytical reports
     were available to provide additional information to characterize the waste. Unfortunately, the
     analytical reports were not provided with the Defendant’s discovery response.
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297. In my opinion, based on the URS Corp. discovery records that I reviewed, my knowledge and
     experience with environmental remediation operations carried out by companies like URS
     Corp. during the time period in question, and references provided by EPA and other sources,
     the soil cuttings and wastewater generated at the facility would, more likely than not, have
     contained one or more of the following substances, all of which are hazardous substances
     under CERCLA: benzene, ethyl benzene, toluene, and xylenes (23, 30).
298. Further, I understand that the waste streams of URS Corp., which other evidence shows were
     disposed of at the USOR site, would have contributed to the wastes that were present at the
     USOR site.
299. Emergency response actions by USEPA and the TCEQ in July, 2010, November 2010, and
     January 2011, identified the following substances, among others, as contaminants of concern
     for the site: benzene, toluene, and xylene. (85, 86)
Western Oilfields Supply Co.
300. I have reviewed the discovery records concerning the operations of Western Oilfields Supply
     Company (“Western Oilfields”) which were provided by counsel.
301. In the Defendants’ Motion to Dismiss, Western Oilfields claimed “Plaintiff fails to allege
     facts to support the required elements of its causes of action and provides no evidence to
     demonstrate that the waste allegedly arranged or generated by Western Oilfields contained
     any hazardous substances or qualifies as solid waste, or that waste allegedly transported was
     like that found at the USOR Site.” In my opinion, the wastes generated by Western Oilfields
     contained hazardous substances.
302. In the TCEQ Central Registry, Western Oilfields is registered as the regulated entity for the
     facility located at 2712 Independence Parkway S. in LaPorte, Harris County, Texas (69).
     Western Oilfields, doing business as Rain for Rent, operated as an industrial machinery and
     equipment merchant wholesaler (NAICS Code 423830) and general freight trucking company
     (NAICS Code 484110). Western Oilfields is registered as a generator of hazardous wastes
     under the Industrial and Hazardous Waste, Solid Waste Registration program with one active
     waste stream listed in their Notice of Registration (69).
303. Operations conducted at the Western Oilfields facility included cleaning and repair of
     equipment, painting, parts cleaning, degreasing processes, and general maintenance, among
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     others. Waste streams generated as a result of facility operations would have included spent
     non-halogenated solvents, degreasing compounds, and paint waste, among others( 3, 4, 7, 10).
304. In my opinion, based on the Western Oilfields discovery records that I reviewed, my
     knowledge and experience with oilfield construction equipment processes carried out by
     companies like Western Oilfields during the time period in question, and references provided
     by EPA and other sources, the waste streams listed above contained one or more of the
     following substances, all of which are hazardous substances under CERCLA: acetone,
     benzene, ethyl benzene, toluene, xylene, and methyl ethyl ketone. (10, 16, 30).
305. Wash water coming in contact with the waste streams generated by Western Oilfields would,
     more likely than not, have contained some, if not all, of the hazardous substances listed above
     (23).
306. Further, I understand that the waste streams of Western Oilfields, which other evidence shows
     were disposed of at the USOR site, would have contributed to the wastes that were present at
     the USOR site.
307. Emergency response actions by USEPA and the TCEQ in July, 2010, November 2010, and
     January 2011, identified the following substances, among others, as contaminants of concern
     for the site: acetone, benzene, toluene, xylene, and methyl ethyl ketone. (85, 86)
Berg Environmental Services, Inc.
308. I have reviewed the discovery records concerning the operations of Berg Environmental
     Services, Incorporated (“Berg Environmental”) which were provided by counsel.
309. In the Defendants’ Motion to Dismiss, Berg Environmental stated “To be clear, Berg
     environmental does not dispute that it transported ‘non-regulated material’ and ‘non-regulated
     waste water.’ What it does dispute is that such materials and waste water contained the
     hazardous substances that Plaintiff blindly alleges it did. At most Plaintiff provides evidence
     that some non-regulated material ‘may contain’ some of the chemicals deemed hazardous.”
310. In the TCEQ Central Registry, Berg Environmental (70) is registered as a regulated entity that
     operates as transporter of hazardous and non-hazardous waste (NAICS 484110) and provides
     other miscellaneous waste management services (NAICS Code 562998).
311. Based on the Berg Environmental discovery records that I reviewed, it is my understanding
     that Berg Environmental transported wastewater from the Taylor Press facility to the USOR
     site.
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312. It is my opinion that the wastewater generated by Taylor Press would have contained some,
     if not all, of the following hazardous substances: chromium, copper, lead, nickel, and zinc.
     Further, it is my opinion, more likely than not, that hazardous substances associated with the
     spent cutting oils, used metalworking fluids, solvents, and degreasers would also be contained
     in the wastewater from the Taylor Press facility.
313. Emergency response actions by USEPA and the TCEQ in July, 2010, November 2010, and
     January 2011, identified the following substances, among others, as contaminants of concern
     for the site: acetone, benzene, toluene, xylene, and methyl ethyl ketone. (85, 86)
314. A health consultation by the ATSDR of the neighboring Vince Bayou in August 2009,
     identified chromium, copper, lead, nickel, and zinc, among other metals as contaminants of
     concern (83).
Environmental Earth-Wise, Inc.
315. I have reviewed the discovery records concerning the operations of Environmental Earth-
     Wise, Incorporated (“EEW”) which were provided by counsel.
316. In its Original Answer and Affirmative Defense, EEW stated “EEW admits that it arranged
     for disposal of waste at the USOR site, but EEW is without sufficient information or
     knowledge to admit or deny the specific quantities or companies for whom the waste was
     delivered to the site.” Further, EEW claimed, “EEW denies the allegation in Paragraph 790
     that the waste materials delivered by EEW contained hazardous substances.”
317. In the TCEQ Central Registry, EEW is registered as an environmental consulting firm
     (NAICS Code 541620) that offers hydro-excavation vacuum truck services. EEW is also
     registered as a sludge transporter after August 2005 (71).
318. Based on the EEW discovery records that I reviewed, it is my understanding that EEW
     transported wastewater from the Tex-Tube facility and for Western Oilfields d/b/a Rain for
     Rent, among others, to the USOR site.
319. It is my opinion that the wastewater and sludges generated by the Tex-Tube facility would,
     more likely than not, have contained acetone, benzene, dichloroethylene, ethyl benzene,
     methyl ethyl ketone, methylene chloride, perchloroethylene, toluene, trichloroethane,
     trichloroethylene, xylenes, arsenic, barium, cadmium, chromium, copper, lead, mercury,
     nickel, selenium, and zinc
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320. Further, it is my opinion that wastewater generated by Western Oilfields would, more likely
     than not, have contained one or more of the following substances, all of which are hazardous
     substances under CERCLA: acetone, benzene, ethyl benzene, toluene, xylene, and methyl
     ethyl ketone. (22, 23, 30).
321. Emergency response actions by USEPA and the TCEQ in July, 2010, November 2010, and
     January 2011, identified the following substances, among others, as contaminants of concern
     for the site: acetone, benzene, dichloroethylene, methyl ethyl ketone, methylene chloride,
     perchloroethylene, toluene, trichloroethane, trichloroethylene, and xylenes. (85, 86)
322. A health consultation by the ATSDR of the neighboring Vince Bayou in August 2009,
     identified chromium, copper, lead, nickel, and zinc, among other metals as contaminants of
     concern (83).
E-Transport Carriers
323. I have reviewed the discovery records concerning the operations of E-Transport Carriers (“E-
     Transport”), formerly known as Sunteck Transport Carriers, Inc., which were provided by
     counsel.
324. In the Defendant’s Amended Motion to Dismiss, E-Transport stated “The now Third
     Amended Complaint concedes much of the material allegedly transported to the USOR Site
     by ETC was ‘nonhazardous.’ The USOR Group's failure to plead the amount of hazardous
     materials separately from the nonhazardous material allegedly transported by ETC renders
     the Amended Complaint vague, and ambiguous with respect to the allegations against ETC.”
325. In the Federal Motor Carrier Safety Administration’s SAFER website, E-Transport is listed
     as a carrier/broker for interstate hauling with capabilities for the transport of chemicals (73).
326. Based on the E-Transport discovery records that I reviewed, it is my understanding that E-
     Transport hauled a single load of wastewater from the Sachem facility, located at 821
     Woodward Street in Austin, Travis County, Texas, to the USOR site.
327. In the TCEQ Central Registry, Sachem, Inc. is a regulated entity that operates a specialty
     chemicals manufacturing facility (NAICS Code 325199) and is registered as a large quantity
     generator under the Industrial and Hazardous Waste, Solid Waste Program (8, 72).
328. In its Notice of Registration, the Sachem facility lists an active waste stream (Texas Waste
     Code 02101021) that is composed of an aqueous solution of ethylene glycol with > 50% water
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     (72). The form code (102) within the Texas Waste Code signifies the presence of additional
     toxic organic chemicals at low levels (84).
329. On the waste manifest included with the E-Transport discovery records, the waste code, listed
     in the right hand column adjacent to the waste description, is written as TX ID 02101021, the
     same as the Texas waste code ascribed to the waste stream in Sachem’s Notice of Registration
     (84). Furthermore, the waste description matches the description of the waste stream in
     Sachem’s Notice of Registration.
330. It is my opinion that the wastewater generated by the Sachem facility and transported by E-
     Transport would, more likely than not, have contained metals such as chromium, copper, lead,
     nickel, and zinc in addition to ethylene glycol and other toxic organic compounds.
331. A health consultation by the ATSDR of the neighboring Vince Bayou in August 2009,
     identified chromium, copper, lead, nickel, and zinc, among other metals as contaminants of
     concern (83).
Firebird Bulk Carriers, Inc.
332. I have reviewed the discovery records concerning the operations of Firebird Bulk Carriers,
     Incorporated (“Firebird”) which were provided by counsel.
333. In the Defendant’s Motion to Dismiss, Firebird claimed “To meet the ‘persons covered’
     requirement under CERCLA, 42 U.S.C.§ 9607(a)(3), the Plaintiff must plead facts to support
     the substances is a ‘hazardous substance’. The substance identified in the documents central
     to Plaintiff’s claims, describes the substance as ‘non-hazardous’.” Further, Firebird claimed,
     “Accepting this document as authentic, and considering it in the light most favorable to the
     Plaintiff, The Complaint should be dismissed on its face because its prima facie evidence
     establishes that the substance does not meet the standards outlined in CERCLA.”
334. In the TCEQ Central Registry, Firebird is registered as a general freight trucking firm without
     storage (NAICS Code 484110) since February 1992 (74).
335. Based on the Firebird discovery records that I reviewed, it is my understanding that Firebird
     transported wastewater from the Bredero Price Co. facility, for Contractor Technology
     Industries, LLC, ProWaste Inc., and for Texas International Box Company & Rentals, Inc.,
     among others, to the USOR site.
336. I reviewed twelve waste manifests, included with the Firebird discovery records, for waste
     shipment from the Bredero Price facility at 4501 Knapp Road in Pearland, Harris County,
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     Texas to the USOR site. Each of the manifests was labelled with the waste code number
     00361191, which corresponds with a waste stream with the same number in the Notice of
     Registration for the Bredero Price facility (84). The waste stream description in the Notice of
     Registration identifies the waste stream as T-3 Heat Transfer compound (discarded, outdated
     or offspec product) Inorganic liquid from pipe coating process. Without knowing the
     composition of the heat transfer compound, I am unable to make any determination as to the
     hazardous nature of the waste generated by the Bredero Price facility and transported by
     Firebird to the USOR site at this time.
337. With respect to the former Contractor Technology Industries, LLC, I am unable to access the
     Notice of Registration for the facility (77), though I have reviewed the 68 manifests for waste
     that was transported by Firebird. Most of the waste (60 truckloads) were classified with waste
     code 0045191, which corresponds to other inorganic sludges (84). Two of the waste loads
     were classified as waste code 00041011 and described as dilute aqueous waste with low
     solvent content (84). However, there were six waste loads that were described as “Waste,
     Corrosive Liquids, NOS (sodium hydrosulfide, sodium sulfide) 8, UN 1760 PGII with the
     waste code D002 0001110H.          These waste codes and United States Department of
     Transportation (“USDOT”) labels signify a highly corrosive, caustic material. In my opinion,
     the caustic waste qualifies as a hazardous substance based on its corrosivity alone. The
     sludges, more likely than not, would have contained one or more of the following metals:
     arsenic, cadmium, lead, and zinc, all of which are hazardous substances.
338. In the TCEQ Central Registry, ProWaste, Inc. is affiliated with a recycled materials facility
     (NAICS Code 423930) located at 8010 Needlepoint Road in Baytown, Harris County, Texas.
     The facility is registered with the name of United Environmental Services, LLC as a
     conditionally exempt small quantity generator under the Industrial and Hazardous Wastes,
     Solid Waste Program (75).
339. I have reviewed five waste manifests from ProWaste with the waste code listed as 00032051.
     The same waste code is listed as an active waste stream in the Notice of Registration for the
     Needlepoint Road facility (84). The waste stream description in the Notice of Registration
     identifies the waste as an oil-water emulsion or mixture and cleaning rinsate generated by oil
     recovery and cleaning processes. Unfortunately, without further information about the
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     recovery process or the emulsion mixture, I am unable to form an opinion as to the hazardous
     nature of this waste stream at this time.
340. In the TCEQ Central Registry, Texas International Box Company & Rentals, Inc. is the
     regulated entity for a waste management services facility (NAICS Code 562998) located at
     15335 Market Street in Channelview, Harris County, Texas (76). The facility is registered as
     a large quantity generator under the Industrial and Hazardous Wastes, Solid Waste Program.
     Waste streams generated by the operations of the facility include acidic aqueous wastes,
     caustic aqueous wastes, oil and metals contaminated sludge, rinsewater and wastes from
     cleaning boxes that contained hazardous wastes, spent potassium hydroxide, and oil
     contaminated wastewater (10).
341. For Texas International Box Company & Rentals, Inc., I have reviewed the waste manifests
     associated with the waste disposal of liquids with a waste code that does not correspond with
     the facility Notice of Registration (84). At this time, I do not have sufficient information to
     form an opinion as to the hazardous nature of the wastewater generated by Texas International
     Box Company & Rentals, Inc., and transported by Firebird for disposal at the USOR site.
342. With respect to Firebird, it is my opinion that some of the wastewater and sludges generated
     by Contractor Technology Industries, LLC would, more likely than not, have contained
     caustics and metals such as arsenic, cadmium, lead, and zinc. For the remaining waste streams
     transported by Firebird, I am unable to form an opinion at this time due to lack of necessary
     information.
Metro Grease Services, LLC
343. I have reviewed the discovery records concerning the operations of Metro Grease Services,
     LLC (“Metro Grease”) which were provided by counsel.
344. In the Defendants’ Answer and Affirmative Defenses to the Plaintiff’s Third Amended
     Complaint, Metro Grease stated “Metro Grease admits that it transported the non-hazardous
     grease by-product to the USOR Site on behalf of Allison Enterprises and Grease Recyclers
     Co-op as alleged in Paragraph 1699, but denies the remaining allegations in this paragraph.”
345. In the TCEQ Central Registry, Metro Grease is registered as a sludge transporter (NAICS
     562998) that provides removal and recycling services for used cooking oils.
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346. Based on the Metro Grease discovery records that I reviewed, it is my understanding that
     Metro Grease transported waste oils from Grease Recyclers Coop to the USOR site for
     disposal.
347. It is my opinion based on my knowledge and experience with grease trap and grease disposal
     operations carried out by companies like Grease Recyclers Coop during the time period in
     question, and references provided by EPA and other sources, that the waste oils generated by
     Grease Recyclers Coop would have contained some, if not all, of the following hazardous
     substances: chromium, copper, zinc, and polycyclic aromatic hydrocarbon (“PAH”)
     compounds including anthracene, fluorene, fluoranthene, naphthalene, phenanthrene, and
     benzo(a)pyrene, among others. (23, 24, 28).
348. Emergency response actions by USEPA and the TCEQ in July, 2010, November 2010, and
     January 2011, identified the following substances, among others, as contaminants of concern
     for the site: acetone, benzene, toluene, xylene, and methyl ethyl ketone. (85, 86)
349. A health consultation by the ATSDR of the neighboring Vince Bayou in August 2009,
     identified chromium, copper, lead, nickel, and zinc, among other metals as contaminants of
     concern (83).
T&L Environmental Services, Inc.
350. I have reviewed the discovery records concerning the operations of T&L Environmental
     Services, Incorporated (“T&L Environmental”) which were provided by counsel.
351. In the Defendants’ Motion to Dismiss, T&L Environmental stated “Further and
     independently, the Phase One Discovery evidence, as well as the documents relied upon by
     Plaintiff in its complaint, only show that the waste being deposited at the site in question was
     merely non-volatile, non-hazardous organic waste—here, rainwater from a UTMB collection
     area—that does not fall under the purview of CERCLA or TSWDA.”
352. In the TCEQ Central Registry, T&L Environmental is affiliated with T&L Lease Services
     Inc., which operates a fleet refueling operation at 427 E South Street in Alvin, Brazoria
     County, Texas (78).
353. Based on the T&L Environmental discovery records that I reviewed, it is my understanding
     that T&L Environmental transported organic wastewater at the request of Eagle Construction
     Co. from a location listed as UTMB to the USOR site for disposal.
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354. To date, T&L Environmental has not disclosed any further information regarding the location
     where the waste was generated nor any details as to how the waste was produced. Without
     further information on the waste generation process, I am unable to form an opinion with
     respect to hazardous nature of the wastes disposed of at the USOR Site at this time.
Texas Water Management LLC
355. I have reviewed the discovery records concerning the operations of Texas Water
     Management, LLC (“Texas Water Management”) which were provided by counsel.
356. In the Defendants’ Original Answer and Affirmative Defenses to Plaintiff’s Third Amended
     Complaint, Texas Water Management stated “Defendant denies all allegations regarding
     Texas Water Management in Paragraph 2907, and specifically denies that it is liable as an
     arranger or generator of materials containing hazardous substances or as a transporter of
     hazardous substances.” Further Texas Water Management stated, “Plaintiff’s claims are
     barred because any substances for which Defendant is allegedly responsible were not
     hazardous substances, were excluded substances, were excluded petroleum products, and/or
     or otherwise were not within the purview of CERCLA or the TSWDA. Plaintiff’s CERCLA
     claims against Defendant should be barred because none of the alleged Defendant materials
     were “hazardous substances” as that term is defined in CERCLA, § 101(14), 42 U.S.C. §
     9601(14).
357. In the TCEQ Central Registry, Texas Water Management is registered as a regulated entity
     that operates as general freight trucking organization (NAICS 484110).          Texas Water
     Management is also registered as a sludge transporter (79).
358. Based on the Texas Water Management discovery records that I reviewed, it is my
     understanding that Texas Water Management transported wastes and wastewater for Estes
     Express Lines, from CITGO Petroleum Corp., from the Pick A Part Auto Wrecking, LP
     facility, from the Saw Pipes facility, and for USAg Recycling Inc. to the USOR site.
359. As indicated previously, Estes Express was involved with a spill of liquid chemicals while
     delivering to Cybershield of Texas. The spilled liquids and wash water were cleaned-up by
     Eagle Construction and Environmental Services (“Eagle”) with the wastes taken to USOR for
     disposal by Texas Water Management. Regrettably, the MSDS and results of the analytical
     sampling were not provided through Discovery. As a result, I am unable to make any
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     determination as to the nature of the substances released due to the spill and the hazardous
     nature of the materials disposed of at USOR.
360. In the TCEQ Central Registry, CITGO Petroleum Corp. is registered as a refinery and bulk
     terminals operator, pipeline distributor, petroleum wholesaler, and retailer of refined
     petroleum products. With literally hundreds of operations and locations across the state, the
     facility listed as “former CITGO” in the Texas Water Management discovery documents
     remains unknown. While I would suspect that any waste generated by such a facility would
     contain certain hazardous substances related to refined petroleum products, I am unable at this
     time to form an opinion regarding the nature of the waste attributed to the “former CITGO”
     facility.
361. Pick A Part Auto Wrecking, LP is registered with the TCEQ as a used motor vehicle parts
     merchant wholesaler (NAICS Code 423140) with a facility located at 1100 Northville Street
     in Houston, Harris County, Texas.
362. Waste streams generated as a part of the auto salvaging operations conducted by Pick A Part
     Auto Wrecking, LP would have included waste oil, transmission fluids, engine coolants,
     solvents, degreasers, cleaning products, sludges, and used batteries (7, 10). Based on my
     knowledge and experience with auto salvaging operations carried out by companies like Pick
     A Part during the time period in question, it is more likely than not, that the foregoing waste
     steams would have contained one or more of the following substances, all of which are
     hazardous substances under CERCLA: acetone, benzene, toluene, xylene, methyl ethyl
     ketone, dichloroethylene, methylene chloride, perchloroethylene, trichloroethylene,
     trichloroethane, copper, chromium, lead, and zinc (7, 22, 30).
363. In my opinion, the waste transported from the Pick A Part facility by Texas Water
     Management to the USOR Site for disposal would have contained one or more of the
     hazardous substances above.
364. The Saw Pipes facility, located at 5200 E. McKinney Road in Baytown, Chambers County,
     Texas, is registered under the name of JSW Steel USA Pipe Coating Division with the TCEQ
     Central database (80). The facility operates as a ferroalloy manufacturing facility with
     available iron and steel mills (NAICS Code 331110). The facility is registered under the
     Industrial and Hazardous Waste, Solid Waste Program as a conditionally exempt small
     quantity generator.
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365. As a metal fabrication facility, the processes conducted by Saw Pipes would have included
     metalworking, cutting, grinding, turning, degreasing, surface preparation, and coating
     processes, among others (3, 6). The waste streams generated at the Saw Pipes facility and
     listed in their Notice of Registration included spent acid pickling wastes, spent caustic, acid
     tank sludge, caustic sludge, caustic aqueous wash, scale, floor sweepings, empty drums and
     plant trash (80).
366. In my opinion, based on my knowledge and experience with metal fabrication and coating
     processes carried out by companies like Saw Pipes during the time period in question, and
     references provided by EPA and other sources, the waste streams listed above contained one
     or more of the following substances, all of which are hazardous substances under CERCLA:
     acetone, benzene, dichloroethylene, ethyl benzene, methyl ethyl ketone, methylene chloride,
     perchloroethylene, toluene, trichloroethane, trichloroethylene, xylenes, arsenic, barium,
     cadmium, chromium, copper, lead, mercury, nickel, selenium, and zinc (6, 22, 30).
367. Further, it is also my opinion that wastewater and sludges generated by the facility processes
     would, more likely than not, contain some, if not all, of the same hazardous substances.
368. In the TCEQ Central Registry, USAg Recycling, Inc. is registered as the regulated entity for
     the facility located at 18330 Penick Road in Waller, Harris County, Texas. USAg Recycling
     operates as a wholesale trade agent and broker (NAICS Code 425120) in the business of
     plastics recycling (9). Although the facility has made a request for a one-time shipment of
     wastes on two occasions, no other information about the wastes, is available. As a result, I
     am unable to form an opinion as to the nature of this waste stream at this time.
369. In summary, it is my opinion that certain waste shipments that were hauled by Texas Water
     Management to the USOR Site, would have contained one or more of the hazardous
     substances identified in the preceding paragraphs associated with the waste streams of the
     Saw Pipes and Pick A Part facilities. Lack of necessary information prevents me from
     forming an opinion for the remaining waste streams.
370. Emergency response actions by USEPA and the TCEQ in July, 2010, November 2010, and
     January 2011, identified the following substances, among others, as contaminants of concern
     for the site: acetone, benzene, dichloroethylene, ethyl benzene, methyl ethyl ketone,
     methylene chloride, perchloroethylene, toluene, trichloroethane, trichloroethylene, and
     xylenes. (85, 86)
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371. A health consultation by the ATSDR of the neighboring Vince Bayou in August 2009,
     identified chromium, copper, lead, nickel, and zinc, among other metals as contaminants of
     concern (83).
Tideport Distributing, Inc.
372. I have reviewed the discovery records concerning the operations of Tideport Distributing,
     Incorporated (“Tideport Distributing”) which were provided by counsel.
373. In the Defendants’ Motion to Dismiss, Tideport Distributing stated, “Even if Tideport
     Distributing is found to be the successor to Tideport Petroleum or Hamner, the complaint does
     not contain sufficient factual matter to support the allegations that Tideport Petroleum or
     Hamner transported ‘hazardous waste.’ As discussed in the previous section, one element of
     CERCLA liability is that the defendant must be a responsible person under 42 U.S.C.A. §
     9607(a). An entity may be a responsible person if it ‘accepts or accepted any hazardous
     substances for transport to disposal or treatment facilities, incineration vessels or sites selected
     by such person, from which there is a release, or a threatened release which causes the
     incurrence of response costs, of a hazardous substance….”
374. In the TCEQ Central Registry, Tideport Distributing is registered as a transporter of
     specialized freight (NAICS 484230) with a registration under the Industrial and Hazardous
     Waste, Solid Waste Program (81).
375. Based on the Tideport Distributing discovery records that I reviewed, it is my understanding
     that Tideport Distributing transported mixtures of wastewater and hexane from the Formosa
     Plastics, Point Comfort Plant to the USOR site.
376. Formosa Plastics (NAICS Code 325211) is registered with the TCEQ as a large quantity
     generator of hazardous waste (82). In their Notice of Registration for the facility, Formosa
     Plastics lists an active waste stream, described as hexane and polymer mixture deactivated
     with water contamination (9). The presence of hexane is the mixture causes this waste to be
     an ignitable hazardous waste, D001.
377. It is my opinion that the wastewater generated by Formosa Plastics and transported to the
     USOR Site by Tideport Distributing was a characteristically hazardous waste.
United Environmental Services, LLC
378. I have reviewed the discovery records concerning the operations of United Environmental
     Services, LLC (“United Environmental Services”) which were provided by counsel.
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379. In the Defendants’ Motion to Dismiss, United Environmental Services stated “With respect
     to all of its allegations, Plaintiff does not identify the alleged hazardous substances transported
     by ProWaste or UTS with any particularity whatsoever. Plaintiff includes a laundry list of
     substances (and does not establish that those substances are designated as hazardous under
     CERCLA or the TSWDA) and states that ProWaste and UTS may have transported some or
     all of the substances.”
380. In the TCEQ Central Registry, United Environmental Services is registered as a regulated
     entity that operates as transporter of general freight (NAICS 484110) and was registered as a
     sludge transporter until the end of August 2008 (75).
381. Based on the United Environmental Services discovery records that I reviewed, it is my
     understanding that United Environmental Services was affiliated with companies such as Tex-
     Tube, among others, and transported wastewater and sludges to the USOR site.
382. Tex-Tube is registered as a conditionally exempt small quantity generator and operates a
     fabricated metals and coatings facility (NAICS Code 331210) located at 1503 N. Post Oak
     Road in Houston, Harris County, Texas (66).
383. As discussed previously, the processes conducted by Tex-Tube would have generated waste
     streams containing one or more of the following hazardous substances: arsenic, barium,
     cadmium, chromium, lead, mercury, selenium, benzene, 1,4-dichlorobenzene, methylene
     chloride, methyl ethyl ketone, nitrobenzene, tetrachloroethylene, and trichloroethylene.
384. In my opinion, based on my knowledge and experience with metal fabrication and coating
     processes carried out by companies like Tex-Tube during the time period in question, and
     references provided by EPA and other sources, the wastewater and sludges generated by the
     facility processes would, more likely than not, contain some, if not all, of the same hazardous
     substances.
385. Further, it is also my opinion that the waste streams, transported by United Environmental
     Services from Tex-Tube to the USOR Site, contained some, if not all, of the same hazardous
     substances that were later identified as contaminants of concern at the USOR Site.
386. Emergency response actions by USEPA and the TCEQ in July, 2010, November 2010, and
     January 2011, identified the following substances, among others, as contaminants of concern
     for the site: acetone, benzene, dichloroethylene, methyl ethyl ketone, methylene chloride,
     perchloroethylene, toluene, trichloroethane, trichloroethylene, and xylenes. (85, 86)
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387. A health consultation by the ATSDR of the neighboring Vince Bayou in August 2009,
    identified chromium, copper, lead, nickel, and zinc, among other metals as contaminants of
    concern (83).
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                               APPENDIX 1
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                                           Kirk W. Brown, Ph.D.

Biographical Data
Principal Consultant; KW Brown, Environmental Consultant
Born: July 3, 1940; Bethlehem, PA
Citizenship: U.S.A.
Marital Status: Married           No. of Children: 3

Education
Ph.D., Agronomy, University of Nebraska, 1969
M.S., Agronomy/Plant Physiology, Cornell University, 1964
B.S., Agronomy, Delaware Valley College, 1962

Areas of Expertise

Fate and Movement of Salt, Oil, Metals, Organic Chemicals, Gases, Nutrients, Pesticides and Pathogens in Soil, Air
and Groundwater Environments; Remediation of Metal and Organic Chemical Contaminated Soils and
Groundwater; Leachability and Translocation of Metals and Organic Chemicals in the Soil Profile; Fixation and
Stabilization of Metals in the Environment; Characteristics of Hazardous and Municipal Wastes; Industrial Waste
Stream Identification; Classification and Fingerprinting of Waste Materials; Disposal of Municipal, Industrial, and
Hazardous Waste by Land Treatment and Landfilling; Land Treatment of Sewage Sludge, Industrial Wastewater and
Sludge; Bioremediation of Polluted Soils; Vapor Extraction of Soils; Toxicity and Risk-based Assessment of Soil
Contaminants to Plants and Animals; Flux of Volatile Chemicals in Air; Air Dispersion Modeling; Influence of
Chemicals on the Permeability of Landfill Liners; Sources and Transport of Methane; Composting of Municipal and
Hazardous Waste; Design and Operation of Septic Systems; Nonpoint Source Pollution; Expansive Properties of
Clay Soils; Soil Solution Sampling; Fate of Mutagenic Compounds in Soil; Mold and Fungal Growth; Reclamation
of Drastically Disturbed Lands; Aerial Photo Interpretation; Soil Use and Suitability Classification; Agricultural
Water Use Efficiency; Crop Water Stress; Golf Green and Athletic Field Construction; Use of Windbreaks; Soil
Crusting; Gas Movement in Soil.
Academic
Professor Emeritus, Soil and Crop Sciences, Texas A&M University, 2001-Present.
Professor, Soil and Crop Sciences, Texas A&M University, 1981-2001.
Associate Professor, Soil and Crop Sciences, Texas A&M University, 1973-1981.
Assistant Professor, Soil and Crop Sciences, Texas A&M University, 1970-1973.
Visiting Scientist, Center of Plant Physiological Research, Wageningen, Netherlands, August, 1969-July, 1970.
Research Assistant, University of Nebraska, June, 1965-December, 1969.
Teaching Assistant, Cornell University, September, 1964-June, 1965.


COURSES TAUGHT
Soil Physics (Undergraduate Course No. 445) 1970-2001.
The practical aspects of soil texture, structure, water management, as well as the theoretical aspects of soil water
potentials, and the movement of water, ions, gas, and heat in the soil.
Advanced Soil Physics (Graduate Course No. 617) 1970-1988.
An in-depth study of the physical properties of soil including basic principles which regulate the dynamics of soil,
water and ion movement, soil aeration, and soil thermal relationships. Equations describing these processes are
presented and references to current literature are provided for outside reading.
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Reclamation of Drastically Disturbed Lands (Graduate Course No. 615) 1979-1986.
Concepts influencing the reclamation, revegetation, and establishment of a stable ecological system on lands that
have been drastically disturbed by strip mining, severe erosion, or toxic waste contamination.
Land Disposal of Wastes (Graduate Course No. 616) 1987-2001.
The theoretical and practical aspects of the land treatment and landfilling of a wide range of municipal, industrial,
and hazardous wastes. Emphasis has been placed on the fate and mobility of various waste constituents in the soil
and the influence of soil physical and chemical properties on constituent fate.


Short Courses Taught
Soil Science Institute (One month course) 1984, 1986, 1992, 1993
Land Treatment of Industrial Waste - Chemical Engineering Society, 1982, 1983.
Landfill Liner Design, University of Texas - 1986, 1987.

Society Memberships
American Society of Agronomy, 1970-2001
Soil Science Society of America, 1970-2001
American Chemical Society, 1970-2001
International Society of Soil Science, 1970-2001

Editorial Board
Environmental Engineering Science, formerly Hazardous Waste and Hazardous Materials. 1989-2001.

Reviewed Papers For

Soil Science Society of America Proceeding; Soil Science, Journal of Environmental Quality; Environmental
Engineering Science, formerly Hazardous Waste and Hazardous Materials; ATSDR; American Petroleum Institute;
Water, Air & Soil Pollution; Waste Management & Research, Water Pollution Control Federation; Water Research;
Waste Management; Journal of Hazardous Materials; Archives of Environmental Contamination and Toxicology.

Elected Positions
Chairman, ASA Section A5, 1989-90
General program chairman for ASA meetings, 1973
Chairman, ASA Section A3, 1972

Committee Appointments
National Academy of Sciences, National Research Council Committee on Environmental Technologies
    Subcommittee on Landfills (1995-1998).
EPA Review for Risk Assessment for Petroleum Industry Hazardous Waste Listing Determination (Sept 1995).
Environmental Geosciences Advisory Committee of the American Geological Institute representing the Soil Science
    Society of America (1993-2000).
National Academy of Sciences (NRC) Committee on Remedial Action Priorities for Hazardous Waste Sites
    (1991-1994).
Texas Natural Resource Conservation Commission Committee on rules on Wastewater Treatment Plant Sludge,
    Water Treatment Plant Sludge and Septic Tank Sludge Disposal (1992-1993).
Texas Water Commission Committee to Develop Regulations on the Land Application of Sewage Sludge (1992-93).
Faculty of Toxicology Executive Committee, Texas A&M University (1990-93).
Texas Governor's Infrastructure Committee on Free Trade (1991).
Oklahoma Corporation Commission on Land Application of Oil Field Drilling Waste (1990-1991).
Texas Department of Health Ad Hoc Committee for Revising the Construction Standards for On-Site Sewage
    Facilities (1989-90).
EPA Hazardous Waste Center Review Panel (1988).
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National Science Foundation, Environmental Engineering Div., Review Panel (1987-1995).
Texas Dept. of Health Septic Disposal Regulations Revision Panel (1987).
Advisory Panel to Chicot Aquifer Management Project (Louisiana). McNeese State University, LA (1987-1990).
ASA Editorial Committee "Reaction and Movement of Organic Chemicals in Soils" 1987.
Advisory Panel to U.S. Congressional Office of Technology Assessment (OTA) on An Assessment of the
    Effectiveness of the EPA in Identifying, Prioritizing and Cleaning Up Hazardous Waste Sites (1987-1995).
Organizing Committee for SSSA Workshop on Utilization, Treatment and Disposal of Waste on Land (1985).
Panel to Write Research Needs for Hazardous Wastes Treatment and Disposal for National Science Foundation.
    Drexel University, PA (1986).
EPA Technical Advisory Panel on the Adequacy of Ground Water Monitoring at Hazardous Waste Landfills (1985).
Panel to Write the Mutagenicity Sample Preparation Protocol for EPA (1984).
EPA Panel to Review the Acceptability of Landfill Disposal of Sewage Sludge (1984).
Office of Water Regulations and Standards Committee on Municipal Sludge Landfilling to Advise EPA on the
    Pollutants which should be Regulated for Various Disposal Options and the Methods or Procedures to be Used
    for Regulating such Pollutants (1984).
Advisory Panel to U.S. Congressional Office of Technology Assessment (OTA) to Determine the Effectiveness of
    Current Programs to Clean Up Uncontrolled Hazardous Waste Sites (1983-84).
EPA Science Review Panel for Environmental Engineering Research Grants (1982-1998).
United States Environmental Protection Agency Land Treatment Task Force (1981-1985).

Significant Reports Resulting from Committee Assignments
National Research Council. 1999. “Groundwater & Soil Cleanup, Improving Management of Persistent
    Contaminants”.
National Research Council. 1994. “Ranking Hazardous Waste Sites”.
Office of Technology Assessment, Congress of the United States of America. 1989. “Coming Clean, Superfund
    Problems Can be Solved”.
Office of Technology Assessment, Congress of the United States of America. 1985. “Superfund Strategy”.

University Committees
Texas A&M University Environmental Safety and Health Committee (1987-90).
Council of Principal Investigators, Texas A&M University (1986-1990).
Texas Agricultural Experiment Station 5-Year Planning Board.
Texas A&M University Faculty Forum (1979-82).
Texas Agricultural Experiment Station Grant Support Committee (1976-77).

Awards
Texas A&M University College of Agriculture Award for Excellence in Teaching (1995)
Texas A&M University System Award for Excellence in Graduate Teaching (1988)
ASA Environmental Quality Research Award (1988)
Fellow - Soil Science Society of America (1987)
Fellow - American Society of Agronomy (1986)
Distinguished Alumni Award, Delaware Valley College (1986)
Superior Achievement Award for Research, Soil and Crop Sciences Department, Texas A&M University (1986)
Pollution Engineering Magazine Award of Merit for Outstanding Editorial Contribution "The Case for Aboveground
    Landfills" (1984)

Books Authored
Hazardous Waste Land Treatment. 1983. Butterworth Publishers, 10 Tower Office Park, Woburn, MA 01801.
Reactions and Movement of Organic Chemicals in Soils. 1989. Sawhney, B. L. and K. W. Brown. SSSA/ASA
    Publishers, SSSA Special Publication No. 22, 494 pgs.

Professional Experience Outside the United States
Visiting Scientist at Center of Plant Physiological Research,Wageningen (1969-70).
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Testimony Before Legislative Bodies
Texas House of Representatives - Environmental Affairs Committee, April 1987. Testified on the need for
    legislation to set up a waste management plan for the state.
Texas Governor’s Taskforce on Oil Spills, February 1985. Testified on the fate of oil spill debris and disposal
    technology options.
Texas Governor’s Taskforce on Hazardous Waste, November 1984. Testified on the effectiveness of landfills for
    disposal technology.
Texas Governor’s Taskforce on Hazardous Waste, June 1984. Testified on the impact of organic chemicals on the
    permeability of soils.
U.S. House of Representatives - Science and Technology Committee, November 1982. Testified on the adequacy of
    EPA's liquid management system to protect groundwater at hazardous waste landfills.
Texas House of Representatives - Environmental Affairs Committee, April, 1982. Testified on the impact of organic
    chemicals on the permeability of clay liners.

Consulting
Founder and President of K. W. Brown and Assoc., Inc., (1980- 1991). Chief technical consultant to K. W. Brown
Environmental Services (1991-1999), SI Group, LP (2000-2009), TTI Environmental Consultants (2009–2011),
and as an independent consultant (2011-Present). Past consulting activities have included assignments with
Dupont, Alcoa, General Motors Corporation, Minnesota Mining & Manufacturing, WR Grace, Owens Corning,
Union Pacific Railroad, Chevron, Shell, Exxon, Texaco, Arco, Sunoco, El Paso Products, New York Attorney
General's Office, Illinois Attorney General's Office, Minnesota Attorney General’s Office, Minnesota Pollution
Control Administration, U.S. EPA, U.S. Army Corps of Engineers, and U.S. Dept. of Justice.

Consulting activities have included consultations on the cleanup and disposal of wastes, the impacts of hazardous
waste on the environment, assessment and remediation of exploration and production releases, the design of
hazardous waste landfills and solid waste management units, and the fate and mobility of chemicals in the soil,
groundwater, and air, as well as, providing expert testimony at permit hearings, mediation hearings, civil suits, and
before legislative bodies on these topics. My expertise has been utilized for site assessments, data review and
interpretation, the study of fate and transport of contaminants in the environment, waste management activities,
historical oilfield and landfill operations, and other related environmental matters. I have reviewed and interpreted a
large quantity of analytical data for air, soils and groundwater, as well as boring logs, field logs, technical reports,
and other information related to the environmental conditions of a site. I have prepared and reviewed remedial
action plans for hundreds of sites including sites contaminated with metals, organic chemicals, pesticides, biological
pathogens and petroleum production wastes. I have designed and implemented remedial actions at numerous
hazardous waste sites under the auspices of both state and federal regulatory authorities.

As a consultant, I have evaluated or analyzed hazardous substances in industrial waste streams from numerous
industries including the lumber and paper industries, the printing industry, chemical manufacturing industry,
petroleum exploration, production, processing and refining industries, plastics and rubber products industry, leather
tanning and finishing, metal smelting and finishing, electric utilities, and the electronic components manufacturing
industry, among others. I have conducted extensive research on the hazardous substances contained in municipal and
household waste with a special emphasis on the fate and mobility of these constituents in the environment after
disposal in municipal solid waste landfills. I have provided evaluations and assessments for numerous waste
disposal and landfill sites including the following: Love Canal Landfill, Lowrey Landfill, Helen Kramer Landfill,
Junker Landfill, Lemberger Landfill, Laurel Park Landfill, Beacon Heights Landfill, RCA-Buzby Landfill,
Valleycrest Landfill, Boarhead Farms, Pennsauken Landfill, Lone Pine Landfill, Ft. Bend County Landfill, and
Sinton Landfill, among others. In addition, I have also provided expert testimony for civil actions involving the
following Superfund sites: Hardage Criner, Montana Pole, National Gypsum, Brio/Dixie Oil Processors, Sikes’ Pits,
Turtle Bayou, Metal Bank of America, Tar Creek, and the West Dallas Lead Site.

Guest Lectures
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Land treatment of industrial hazardous wastes. Presented at a Symposium and Workshop on Hazardous Waste
     Management. Louisiana State University, November 16-20, 1981.
Effect of organic chemicals on clay liner permeability. A review of the literature. Presented at the Sixth Annual
     Research Symposium at Philadelphia, PA. 1981.
Land disposal of oily wastes. Brest, France. August, 1982.
Influence of organic liquids on the permeability of clay soils. Harwell, Great Britain. July, 1982.
Use of sewage effluent for irrigation. Adelaide, Australia. June, 1982.
Influence of organic liquids on the integrity of liners to pits, ponds, lagoons and landfills. Waste Water Analysts
     Assoc., Houston, TX. November, 1982
Reclamation of strip mined lands. Sierra Club, Austin, TX. November, 1982.
Waste disposal on range land. Range Science Department, Texas A&M University. College Station, TX. November,
     1982.
The politics of hazardous waste disposal. Political Science Department, Texas A&M University. College Station,
     TX. October, 1982.
The treatment and disposal of hazardous, industrial and toxic waste. American Society of Civil Engineers, Austin,
     TX. September, 1982.
Effect of organic fluids on the permeability of clay soil liners. Presented at the Eighth Annual Research Symposium
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The fate of mutagenic compounds when hazardous wastes are land treated. Presented at the Eighth Annual Research
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The influence of chemicals on the permeability of clay liners. Presented at Hazardous Waste Conference, Chicago,
     Ill. June 28-29, 1983.
Cleanup of chemicals spilled on soils. Presented at the Texas Agricultural Extension Service Conference, Houston,
     Texas. June 23, 1983.
The reclamation of strip mined land. Presented at Texas Environmental Coalition in Austin, Texas Jan. 22, 1983.
The influence of selected organic liquids on the permeability of clay liners. In: D. W. Shultz (ed). Land Disposal,
     Incineration, and Treatment of Hazardous Waste. Proceedings of the 9th Annual Research Symposium at Ft.
     Mitchell, Ky. May 2-4, 1983.
Panel on land treatment of sewage sludge. EPA Workshop on Sewage Disposal, Denver, CO. March 1983.
Land disposal of hazardous liquids. Waste Management Conference, Houston, TX. February 1983.
Alternatives to land disposal of waste. Dept. of Agriculture Seminar, University of Houston. Sept. 10, 1984.
How to write a successful research proposal. Soil Science Graduate Seminar, Soil & Crop Sciences Dept, Texas
     A&M University, Sept. 19, 1984.
The advantages of above ground disposal. Waste Tech Conference, Houston, October 30, 1984.
Potential groundwater implications of surface storage of toxic substances. Groundwater Symposium, Gunter Hotel,
     San Antonio, Texas. October 30, 1984.
Clean up of spills; Alternative disposal methods. Geotechnical Engineering for Waste Disposal Symposium,
     University of Texas, Austin. November 2, 1984.
The properties of soils and containment of waste. Environmental Engineering Seminar, Civil Engineering Dept.,
     Texas A&M University, College Station, 1984.
Carbon dioxide flux at the earth's surface. Texas A&M University, College Station, February 1984.
Above ground landfills in hazardous waste management schemes. National Conference and Exhibition on
     Hazardous Waste and Environmental Emergencies. Houston, Texas, March 1984.
Fate of mutagens applied to soil. Environmental Toxicology and Pharmacology Seminar. Texas A&M University,
     College Station, March, 1984.
Permeability of compacted soils to solvents mixtures and petroleum products. Presented at the Tenth Annual
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The soil scientist as a consultant. Soil Science Graduate Seminar, Panel Discussion. Soil & Crop Sciences Dept,
     Texas A&M University, Sept. 12, 1984.
Land disposal of hazardous waste. Agricultural Engineering Dept. Graduate Seminar, Agricultural Engineering
     Dept., Texas A&M University. Sept. 13, 1984.
Geotechnical engineering for waste disposal projects. University of Austin, Texas, October 1985.
Monitoring the unsaturated zone. Presented at the National Specialty Conference. Land Treatment: A Hazardous
     Waste Management Alternative, April 16-18, 1985, Austin, Texas.
Ability of sorbents to retain liquids in landfills, 10th Annual American Organization of Analytical Chemists' Spring
     Workshop, Dallas, Texas April, 9-11, 1985.
Geotechnical engineering for waste disposal projects. University of Austin, Texas, October 1986.
Potential health effects of hazardous waste contaminants in groundwater. Public Health Grand Rounds, University
     of Pittsburgh Graduate School of Public Health. January 23, 1986.
Geotechnical engineering for waste disposal projects. University of Texas, Austin, October 1986.
Influence of organic liquids on the hydraulic conductivity of soils. University of Cambridge, United Kingdom.
     September 9-11, 1987.
Design and construction of the growth media in golf greens, Montreal, Canada, 1987.
Groundwater pollution problems associated with fertilizers, pesticides, and leaking storage tanks. Pro Show, Dallas,
     November 1987.
Mutagenic testing of hazardous waste sites. Southwest Environmental Mutagenic Society, Houston, November
     1987.
The use of lime for waste disposal and treatment of hazardous waste contaminated sites. National Lime Association,
     Phoenix, AZ, April 1987.
A soil scientist as an expert witness - Presented to the Soil Survey and Land Resource Workshop. February 19,
     1988.
Guest lecture to Rio Brazos Audubon Society - May 2, 1988.
Presentation to the Texas Association of Milk, Food and Environmental Sanitarians, June, 1988.
Guest lecture to Range Science Ecology and Land Use class. Dept. of Range Science, Texas A&M University, Nov.
     18, 1988.
Hazardous Waste: A general overview. Agricultural Engineering, Environmental and Water Resources Engineering
     and Texas Water Resources Institute Seminar, Texas A&M University, College Station, TX. January 1989.
The need for community recycling. Environmental Organization, Civil Engineering Dept., Texas A&M University,
     College Station, TX. February 1989.
Superfund sites: The problems and the solutions. Industrial Hygiene Seminar, Texas A&M University, College
     Station, TX. February 1989.
Hazardous waste disposal on the Gulf Coast Texas. Texas ASA Annual Meeting. Galveston, Galveston County,
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New technologies for liners - Presented at the Conference on Prevention and Treatment of Groundwater and Soil
     Contamination in Petroleum Exploration and Production. Calgary, Alberta, Canada, May 9-12, 1989.
Guest Lecture to Range Science Ecology and Land Use Class: Dept. of Range Science, Texas A&M University,
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Ongoing and future research in the geowaste area. Presented to the Geo Waste Group Meeting, Civil Engineering
     Dept. Texas A&M University, Nov. 1, 1989.
Waste disposal: where do we go from here? Presented to the MSC Great Issues: Environmental Symposia. Texas
     A&M University, College Station. Nov. 7, 1989.
Innovative technologies from the 1990s in environmental matters. Presentation to South Texas College of Law
     Environmental Law Symposium, January 17, 1990.
Waste disposal, past, present, and future. Presented at the seminar entitled "Disposing of Hazardous Materials".
     MSC, Texas A&M University, College Station, TX January 1990.
Panel discussion session at Vertisol Management Workshop: International Collaboration in Research, Training and
     Extension. Texas A&M University, College Station, June 25-29, 1990.
Municipal waste disposal - where do we go from here. Presentation to Texas Environmental Action Coalition, Texas
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Presentation to the Texas Section of American Society of Agricultural Engineers, College Station, TX. October 11,
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    Texas February 3-5, 1991.
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Using plants to reclaim contaminated sites. Crop Science Seminar. Soil & Crop Sciences Dept., Texas A&M
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"Analysis of overburden cores TPPI fuel deposit." 1976. Funded by the Texas Power Pool, Inc. for $24,500. Final
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    Environmental Protection Agency for $294,864. Final Report submitted December, 1977.
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    feasibility of land disposal of the runoff water and sludge." 1979-1980. Funded by Texas Engineering Extension
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    Lignite Mine." 1980. Funded by Texas Municipal Power Agency for $12,500. Final Report submitted April,
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    Resources Institute for $179,435. Work completed June, 1980.
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     and Mineral Research for $12,590. Final Report submitted August, 1981.
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     Environmental Protection Agency for $91,783. Report submitted December, 1981.
"Investigate the influence of organic matter quality and placement on the establishment of grass and the physical
     properties of golf green mixes." 1979-1981. Funded by the U. S. Golf Association, Green Section for $10,177.
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     Mineral Research for $13,100.
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     report submitted in 1981.
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     Institute for $98,530. Final Report published in 1983.
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     Resource Institute for $17,500.
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"Effectiveness of Multiple Liner Systems for Hazardous Waste Containment Facilities". Funded by USEPA,
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"Demonstration of the Degradation of Toxic Organics in Composted Municipal Solid Waste.” Funded by Texas
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     Sponsored by Day & Zimmermann, Inc. 1993. Funds amounted to $18,138.
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   Israel Exchange Program through the Texas Department of agriculture 1995-1996 Funds amount to $27,770.
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                               APPENDIX 2
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25
         TRIAL TESTIMONY                                                                           DATE

25 25    Cause No. 27-CV-08-1912; State of Minnesota, Plaintiff, v. Associated Medical            10/18/10
         Assurance Limited, et al., Defendants in the District Court of Minnesota, Fourth         10/26/10
         Judicial District. Case involved the disposal of hazardous substances with
         industrial waste at the WDE, Oak Grove, and East Bethel Landfills and the
         contamination of groundwater as a result of these disposal practices. Retained by
         the Plaintiff.
24 24    File No. 62-C7-05-012469; State of Minnesota, Plaintiff, v. Evanston Insurance           10/26/09
         Co., et al., Defendants in the District Court of Minnesota, Second Judicial District.
         Case involved the disposal of hazardous substances with industrial waste at the
         WDE Landfill and the contamination of groundwater as a result of these disposal
         practices. Retained by the Plaintiff.
23 23    Civil Action No. 02-CV-3830; Agere Systems, Inc., et al., Plaintiffs, vs. Advanced        7/1/08
         Environmental Technology Corporation, et al., Defendant, in the United States
         District Court for the Eastern District of Pennsylvania. This case involved the
         alleged disposal of hazardous wastes at the Boarhead Farms Superfund Site in
         Bucks County, Pennsylvania. Retained by Handy & Harman Tube Co., Defendant
22 22    Case no. 04-C-296-2; Lenora Perrine, et al., Plaintiffs vs. E.I .DuPont de Nemours       9/19-20/07
         and Company, et al., Defendants, in the Circuit Court of Harrison County, West          10/11-12/07
         Virginia. This case involved the contamination of homes and properties with metal
         dust from the former Meadowbrook Smelter in Spelter, West Virginia. Retained
         by the Plaintiffs.
21 21    Case No. 03-CV-498-CVE-PJC; Jimmy Dale Palmer, et al., Plaintiffs, v. Asarco              7/30/07
         Incorporated, et al., Defendants in the United States District Court for the
         Northern District of Oklahoma. Case involved an evaluation of the Tar Creek
         Superfund site and the subsequent assessment and evaluation of lead
         contamination and lead transport pathways in the communities of Picher and
         Cardin, Oklahoma, including the impacts of lead exposure to the children within
         these communities. Retained by the Plaintiffs.
20 20    Case no. 04-C-296-2; Lenora Perrine, et al., Plaintiffs vs. E.I .DuPont de Nemours        5/1/06
         and Company, et al., Defendants, in the Circuit Court of Harrison County, West
         Virginia. This case involved the contamination of homes and properties with metal
         dust from the former Meadowbrook Smelter in Spelter, West Virginia. Retained
         by the Plaintiffs.
19 19    Civil Action No. 95-CV-6400L, Seneca Meadows, Plaintiff vs. ECI Liquidating, et         6/21/05 to
         al., Defendants in the United States District Court, Western District of New York.       6/23/05
         This case involved claims against defendants concerning the disposal of hazardous
         substances in the Tantalo Landfill, Seneca Falls, New York. Retained by the
         Plaintiff.




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18    Civil Action No. 01:01-CV-890; Lyondell Chemical Company, et al., Plaintiffs v.         4/18/05
      Albemarle Corporation, et al., Defendants in the United States District Court for
      the Eastern District Of Texas, Beaumont Division. This case involved the disposal
      of waste containing hazardous substances and groundwater contamination at the
      Turtle Bayou Superfund in Liberty County, Texas. Retained by ExxonMobil,
      Defendant.
17    Cause No. 03-001121-CV; Joseph Paul Horlen, et al., Plaintiffs, v. Robert S.            6/17/04
      Smith and Robo Investments, Inc., Defendants in the District Court of Brazos
      County, Texas, 361st Judicial District. Case involved the subsurface loss of water
      from a man-made lake within a residential subdivision and the subsequent
      undercutting of riverbank along the Brazos River. Retained by the Plaintiffs.
16    Civil Action No. 98-CV-0838S (F); W.R. Grace & Co.-Conn., Plaintiff, v. Zotos          5/17/04 to
      International, Inc., Defendant in the United States District Court Western District     5/21/04
      of New York. Case involved the disposal of cosmetic waste at the Brewer Road
      Landfill in Waterloo County, and the contamination of groundwater as a result of
      these disposal practices. Retained by the Plaintiff.
15    Civil Action No. 95-2097 Interfaith Community Organization, et al., Plaintiffs v.      1/28/03 to
      Honeywell International, Inc. et al., Defendants. In the United States District         1/29/03
      Court for the District of New Jersey. This case involved claims against the
      defendants concerning disposal of chromium waste at the Roosevelt Drive-In Site
      in Jersey City, New Jersey. Retained by W.R. Grace & Co., W.R. Grace Ltd. and
      ECARG, Inc., Plaintiffs.
14    Case No. 80-1589; United States of America, Plaintiff, vs. City of Philadelphia,      08/29/02 to
      Plaintiff-Intervenor, vs. Union Corporation Metal Bank of America, et al.,             09/05/02
      Defendants, vs. Consolidated Edison Company of New York, et al., Third Party
      Defendants. In the United States District Court for the Eastern District of
      Pennsylvania. This case involved claims against the defendants concerning the
      release of PCBs from the Metal Bank/Cottman Avenue Site to the Delaware River.
      Retained by the Defendants.
13    Civil No. N-87-52 (PCD). The B.F. Goodrich Company, et al., Plaintiffs v. Harold       01/05/98 to
      Murtha, et al., Defendants v. Risdon Corporation et al., Third Party Defendants.      01/09/98 and
      In the United States District Court, District of Connecticut. Case involved            01/12/98 to
      characterization of hazardous substances in waste generated by industries,              01/13/98
      commercial establishments, and municipalities disposed at two landfills in
      Connecticut, Beacon Heights Landfills and Laurel Park Landfill, which were
      classified as Superfund sites. Retained by Plaintiffs Beacon Heights Coalition and
      Laurel Park Coalition.




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12    Docket Nos. CV-96-0564091S and CV-96-0564092S; Oxford Tire Supply, Inc.,                12/18/97
      Plaintiff v. Commissioner of the Department of Revenue Services, Defendant. In
      the Superior Court, Judicial District of Hartford/New Britain at Hartford,
      Connecticut. Case involved tax issues associated with handling of hazardous
      materials as defined by Connecticut tax regulation. Primary area of testimony was
      leaching of hazardous substances from rubber tire waste. Retained by Plaintiffs.
11    Civil Action No. 292CV00674(JBA); The Companies for Fair Allocation Group v.           6/13–14/96
      Axil Corporation, et al. In the United States District Court for the District of
      Connecticut. Case involved question of hazardous waste disposal by the Dynamics
      Corporation of America (Waring Division) at the Barkhamsted-New Hartford
      Landfill Superfund site in Barkhamsted, Connecticut. Retained by the Plaintiffs.
10    Civil Action No. 93-CV-0090-B; KN Energy, Inc., et al., v. Sinclair Oil Corp.,           6/6/95
      d/b/a/ Little America Refining Co. United States District Court, District of
      Wyoming. Case involved study of hydrocarbon and metals groundwater plume,
      which had migrated from the area of a refinery and adjacent terminal to a nearby
      neighborhood in Wyoming. Work involved study of the origin of the plume.
      Retained by the Plaintiff.
9     Cause No. CA-94-CI-05270; John Gibson Trustee v. Exxon Corporation. District             2/17/95
      Court, 225th Judicial District, Bexar County, Texas. Suit involved claim by              2/21/95
      property owners adjacent to an old refinery for damages due to contaminant
      migration onto their property from previous waste disposal operations at the
      closed refinery. Retained by the Defendant.
8     Docket No. N-87-52 (PCD), All Cases; The B.F. Goodrich Company, et al.,                12/15–19/94
      Plaintiffs v. Harold Murtha, et al., Defendants v. Risdon Corporation et al., Third
      Party Defendants. United States District Court for the District of Connecticut. Suit
      concerning the hazardous nature of waste disposed at the Beacon Heights Landfill
      Superfund site. Retained by the Plaintiff.
7     Case No. 390-37213-SAF-11 and Case No. 390-37214-SAF-11, jointly                       5/18–20/92
      administered Chapter 11; In re: National Gypsum Company v. Aancor Holdings,               6/1/92
      Inc. Suit involved groundwater contamination associated with Rolling Knolls              6/24/92
      Landfill. Retained by the U.S.A.
6     Case No. CIV-86-1401-P; The United States of America v. Royal N. Hardage, et            10/27/89
      al., Advance Chemical Company, et al., v. ABCO, et al. United States District
      Court for the Western District of Oklahoma. Enforcement of ROD concerning
      remediation of hazardous waste site. Retained by the Plaintiff.
5     The United States of America, the State of New York, and UDC-Love Canal, Inc.,         3/20–21/89
      v. Occidental Chemical Corp., Occidental Chemical Holding Corp., Occidental
      Petroleum Investment Co., Occidental Petroleum Corp., City of Niagara Falls,
      Niagara County Health Department, and the Board of Education of the City of
      Niagara Falls, Love Canal Landfill Superfund site. United States District Court
      for the Western District of New York. Testimony on the mobility of organic
      pollutants through clay. Retained by the Plaintiff.

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4    Case No. 85-17210-C; James L. Slaughter, et al., v. Farm and Home Savings, et         12/6/89
     al., and Case No. 86-48352; Mike Fenimore, et al., v. Farm and Home Savings.
     151st Judicial District Court of Harris County, Texas. Case involved issues of land
     development and exposure to petrochemical wastes by residents in neighborhoods
     adjacent to the Brio/Dixie Oil Processors Superfund sites (Houston, Texas).
     Retained by the Plaintiffs.
3    Barbara Lips v. Jacobs Oil Company. Federal District Court in Corpus Christi,          1985
     Texas. Testimony on the damages and reclamation results from oilfield drilling
     mud wastes. Retained by the Plaintiff.
2    Blaire v. Palmer Oil. Texas District Court. Suit over the destruction of land
     resulting from oil exploration activities. Retained by the Plaintiff.
1    Jarvis L. Smoak v. Arkansas Louisiana Gas Company. In the Texas District Court
     of Marshall, Texas. Contamination of soil and loss of trees due to oil spill.
     Retained by the Defendant.




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25
           DEPOSITION TESTIMONY

     86    Cause No. 22052-10563, consolidated with Cause No. 22052-09367 and Cause                4/23/14
           No. 22052-09366; Corby Baker, et al., Plaintiffs, v. Fluor Corporation, et al.,
           Defendants in the Missouri Circuit Court, Twenty-Second Judicial Court, State of
           Missouri. Case involved personal injury claims related to exposure to lead mining
           wastes. Retained by the Plaintiffs.
     85    Case No. 1:09-CV-0228, DNH-DRH, consolidated with Case No. 1:11-CV-006;                 4/16/14
           Village of Stillwater, et al., Plaintiffs, v. General Electric Co., Defendants in the
           United States District Court, Northern District of New York. Case involved
           contamination of the Hudson River with polychlorinated biphenyls. Retained by
           the Plaintiffs.
     84    Cause No. 052-09605; Charles A. Burnia, et al., Plaintiffs, v. Fluor Corporation,       8/19/13
           et al., Defendants in the Circuit Court of St. Louis, Twenty-Second Judicial
           Circuit, State of Missouri. Case involved personal injury claims related to
           exposure to lead mining wastes. Retained by the Plaintiffs.
83 83      Cause No. 3:08-CV-00229; Natural Resource Defense Council, et al., Plaintiffs, v.       9/22/10
           County of Dickson, Tennessee, et al., Defendants in the United States District
           Court for the Middle District of Tennessee. Case involved the contamination of
           groundwater by contaminants disposed of in the Dickson County Landfill.
82 82      Cause No. 08-CV-0161; Mary Ellen Hall, et al., Plaintiffs, v. Radiator Specialty        12/15/09
           Co., et al., Defendants in the District Court of Galveston County, Texas, 212th
           Judicial District. Case involved the exposure to benzene from historical emissions
           from the Union Carbide Chemical Co. facility in Texas City, Texas. Retained by
           the Plaintiffs.
81 81      Cause No. 27-CV-08-1912; State of Minnesota, Plaintiff, v. Associated Medical           10/28/09
           Assurance Limited, et al., Defendants in the District Court of Minnesota, Fourth
           Judicial District. Case involved the disposal of hazardous substances with
           industrial waste at the WDE, Oak Grove, and East Bethel Landfills and the
           contamination of groundwater as a result of these disposal practices. Retained by
           the Plaintiff.
80 80      Cause No. E-178,440; Darla J. Lemaire, Individually and as the Independent              9/17/09
           Executrix of the Estate of Michael Lemaire, Deceased; and Logan Lemaire,
           Plaintiffs, vs. Berryman Products, Inc, et al., Defendants. In the District Court of
           Jefferson County, Texas 172nd Judicial District. Retained by the Plaintiffs.
79 79      Cause No. GN-401028; Sotero Carrillo, Jose Carmen Carrillo, Miguel Cruz, and            2/21/08
           Greg Fuller Plaintiffs v. Reichold, Inc., Defendents, Zurich American Insurance
           Co., Intervenor. In the District Court of Travis County, Texas 98th Judicial
           District. Retained by the Plaintiffs.




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78 78    File No. 62-C7-05-012469; State of Minnesota, Plaintiff, v. Evanston Insurance           11/7/07
         Co., et al., Defendants in the District Court of Minnesota, Second Judicial District.
         Case involved the disposal of hazardous substances with industrial waste at the
         WDE Landfill and the contamination of groundwater as a result of these disposal
         practices. Retained by the Plaintiff.
77 77    Case no. 04-C-296-2; Lenora Perrine, et al., Plaintiffs vs. E.I .DuPont de Nemours      4/30-5/1/07
         and Company, et al., Defendants, in the Circuit Court of Harrison County, West
         Virginia. This case involved the contamination of homes and properties with metal
         dust from the former Meadowbrook Smelter in Spelter, West Virginia. Retained
         by the Plaintiffs.
76 76    Civil Action No. 02-CV-3830; Agere Systems, Inc., et al., Plaintiffs, vs. Advanced      12/1/06 and
         Environmental Technology Corporation, et al., Defendant, in the United States             1/29/07
         District Court for the Eastern District of Pennsylvania. This case involved the
         alleged disposal of hazardous wastes at the Boarhead Farms Superfund Site in
         Bucks County, Pennsylvania. Retained by Handy & Harman Tube Co., Defendant
75 75    Case no. 04-C-296-2; Lenora Perrine, et al., Plaintiffs vs. E.I .DuPont de Nemours      1/25-26/06
         and Company, et al., Defendants, in the Circuit Court of Harrison County, West             and
         Virginia. This case involved the contamination of homes and properties with metal        2/10/06
         dust from the former Meadowbrook Smelter in Spelter, West Virginia. Retained
         by the Plaintiffs.
74 74    Cause No. 02-4162 JPG; Chevron Environmental Management Company,                          8/3/05
         Chevron Environmental Services Company, and Texaco Inc., Plaintiffs, v. Indian
         Refining I Limited Partnership (f/k/a Indian Refining Limited Partnership), et al,
         Defendants in the United States District Court for the Southern District of Illinois.
         Case involved remediation and allocation of costs for the former Indian refinery in
         Lawrenceville, IL. Retained by the Plaintiff.
73 73    Cause No. 02-4162 JPG; Chevron Environmental Management Company,                          6/2/05
         Chevron Environmental Services Company, and Texaco Inc., Plaintiffs, v. Indian
         Refining I Limited Partnership (f/k/a Indian Refining Limited Partnership), et al,
         Defendants in the United States District Court for the Southern District of Illinois.
         Case involved remediation and allocation of costs for the former Indian refinery in
         Lawrenceville, IL. Retained by the Plaintiff.
72 72    Civil Action No. 95-CV-6400L, Seneca Meadows, Plaintiff vs. ECI Liquidating, et          5/27/05
         al., Defendants in the United States District Court, Western District of New York.
         This case involved claims against defendants concerning the disposal of hazardous
         substances in the Tantalo Landfill, Seneca Falls, New York. Retained by the
         Plaintiff.
71 71    File No. C7-0310992; State of Minnesota, Plaintiff, v. American Hardware Mutual          4/21/05
         Insurance Company, Defendants in the District Court of Minnesota, Tenth Judicial
         District. Case involved the disposal of hazardous substances with industrial waste
         at Oak Grove and East Bethel Landfills and the contamination of groundwater as a
         result of these disposal practices. Retained by the Plaintiff.

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70 70    Case No. 03-CV-327 (H) M; Betty Jean Cole, et al., Plaintiffs, v. Asarco               12/7/04
         Incorporated, et al., Defendants in the United States District Court for the
         Northern District of Oklahoma. Case involved an evaluation of the Tar Creek
         Superfund site and the subsequent assessment and evaluation of lead
         contamination and lead transport pathways in the communities of Picher and
         Cardin, Oklahoma, including the impacts of lead exposure to the children within
         these communities. Retained by the Plaintiffs.
69 69    Case No. 03-CV-327 (H) M; Betty Jean Cole, et al., Plaintiffs, v. Asarco               10/22/04
         Incorporated, et al., Defendants in the United States District Court for the
         Northern District of Oklahoma. Case involved an evaluation of the Tar Creek
         Superfund site and the subsequent assessment and evaluation of lead
         contamination and lead transport pathways in the communities of Picher and
         Cardin, Oklahoma, including the impacts of lead exposure to the children within
         these communities. Retained by the Plaintiffs.
68 68    Civil Action No. 01:01-CV-890; Lyondell Chemical Company, et al., Plaintiffs v.         7/8/04
         Albemarle Corporation, et al., Defendants in the United States District Court for
         the Eastern District Of Texas, Beaumont Division. This case involved the disposal
         of waste containing hazardous substances and groundwater contamination at the
         Turtle Bayou Superfund in Liberty County, Texas. Retained by ExxonMobil,
         Defendant.
67 67    Court File No. CT 02-016741; State of Minnesota, by its Attorney General, Mike         2/24/04
         Hatch, Plaintiff, v. American Hardware Mutual Insurance Co., et al., Defendants
         in the District Court of Minnesota, Fourth Judicial District. Case involved the
         disposal of hazardous substances with industrial waste at the WDE and St.
         Augusta Landfills and the contamination of groundwater as a result of these
         disposal practices. Retained by the Plaintiff.
66 66    Civil Action No. 98-CV-0838S (F); W.R. Grace & Co.-Conn., Plaintiff, V. Zotos          2/12/04
         International, Inc., Defendant in the United States District Court Western District
         Of New York. Case involved the disposal of cosmetic waste at the Brewer Road
         Landfill in Waterloo County, and the contamination of groundwater as a result of
         these disposal practices. Retained by the Plaintiff.
65 65    Case No. 00-01917 MRP (MANx); Shell Chemical Co., et al., Plaintiffs, vs. The           3/7/03
         County of Los Angeles, et al., Defendants in the United States District Court for
         the Central District of California; Case No. 00-1938 MRP (MANx); Phillips
         Petroleum Co., et al., Plaintiffs, vs. The County of Los Angeles, et al., Defendants
         in the United States District Court for the Central District of California; and Case
         No. 00-6420 MRP (MANx); Atlantic Richfield Co., et al., Plaintiffs, vs. BKK
         Corporation, et al., Defendants in the United States District Court for the Central
         District of California. These combined cases involved hazardous substances
         associated with municipal solid waste being deposited at Cal Compact Landfill.
         Retained by the Plaintiffs.



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64 64    Court File No. MC00-001819; State of Minnesota, by its Attorney General, Mike             12/17/02
         Hatch, Plaintiff, v. Employers Insurance of Wausau, A Mutual Company, et al.,
         Defendants in the District Court of Minnesota, Fourth Judicial District. Case
         involved the disposal of hazardous substances with industrial waste at the Oak
         Grove Landfill and East Bethel Landfill in Anoka County, and the contamination
         of groundwater as a result of these disposal practices. For the Plaintiff.
63 63    Case No. 80-1589; United States of America, Plaintiff, vs. City of Philadelphia,           5/28/02
         Plaintiff-Intervenor, vs. Union Corporation Metal Bank of America, et al.,
         Defendants, vs. Consolidated Edison Company of New York, et al., Third Party
         Defendants in the United States District Court for the Eastern District of
         Pennsylvania. This case involved claims against the defendants concerning the
         release of PCBs from the Metal Bank/Cottman Avenue Site to the Delaware River.
         Retained by the Defendants.
62 62    Civil Action No. H-98-0408 United States of America, et al. vs. Atlantic Richfield        6/26//01 -
         Company, et al vs. Ashland, Inc., et al., in the United States District Court              6/27/01
         Southern District of Texas Houston Division. This case involved claims against
         defendants concerning waste disposal at Sikes Pit. Retained by ExxonMobil,
         Defendant.
61 61    Civil Action No. 95-2097 Interfaith Community Organization, et al. v. Honeywell            6/20/01
         International, Inc. et al., in the United States District Court for the District of New
         Jersey. This case involved claims against the defendants concerning disposal of
         chromium waste at the Roosevelt Drive-In Site in Jersey City, New Jersey.
         Retained by W.R. Grace & Co., W.R. Grace Ltd. and ECARG, Inc., Defendants.
60 60    Civil Action No. 5:97CV00894; United States of America v. Chrysler Corp. et al.,          06/07/01
         in the in the United States District Court for the Northern District of Ohio. This
         case involved claims against the defendants concerning disposal of hazardous
         substances in the Krejci Dump Site. Retained by Minnesota Mining &
         Manufacturing Company, Defendant.
59 59    Civil Action No. G-96-493; Janie Rivas, et al., vs. Monsanto Company, et al., in          03/16/01
         the United States District Court for the Southern district of Texas Galveston
         Division. This case involves modeling of emissions and air dispersion of
         hazardous substances emanating from petrochemical wastes processed and
         disposed of at the Brio/Dixie Oil Processors Superfund Sites in Houston, Texas
         and related exposures to children in adjacent neighborhoods. Retained by the
         Plaintiffs.
58 58    Case No. CIV-91-2067-PHX-PGR Maurice McIntire, et al. vs. Motorola, Inc., in              5/31/00 -
         the United States District Court in and for the District of Arizona. This case             6/2/00
         involved a lawsuit by certain Phoenix residents concerning the VOC groundwater
         and ambient air plumes perpetrated by Motorola and the subsequent exposure of
         the litigants to the hazardous substances. This deposition involved waste
         management and waste handling.



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57 57    Case No. 98-CV0726 Connie Lolley Klostermann, et al vs. Ultramar Diamond               5/26/00
         Shamrock Corporation, et al., in the 212th Judicial District Court, Galveston
         County, Texas. This case involved a lawsuit by the landowner concerning property
         damage resulting from leaking storage tank contamination. Retained by Diamond
         Shamrock, Defendant.
56 56    Case No. 97-6222 MRP (MANx) Commercial Realty Projects, Inc., and L.A.                  3/6/00
         Metromall LLC, vs. Atlantic Richfield Company, et al., in the United States
         District Court in for the Central District of California. This case involved
         hazardous substances associated with municipal solid waste being deposited at Cal
         Compact Landfill. Retained by the Defendants.
55 55    Case No. 93-055257 Ralph L. Nichols, Jr., et al. vs. Monsanto Company, et al., in      1/28/00
         the 125th Judicial District Court of Harris County, Texas. This case involved
         contaminant migration via air, surface water, and groundwater media from the
         Dixie Oil Processors Superfund Site to adjacent athletic field. Retained by the
         Plaintiffs.
54 54    Case No. CIV-91-2067-PHX-PGR Maurice McIntire, et al. vs. Motorola, Inc., in           12/6/99 -
         the United States District Court in and for the District of Arizona. This case          12/8/99
         involved a lawsuit by certain Phoenix residents concerning the VOC groundwater
         and ambient air plumes perpetrated by Motorola and the subsequent exposure of
         the litigants to the hazardous substances.
53 53    Case No. 89-4340 (JBS) United States vs. Helen Kramer et al., In the United            10/6/99
         States District Court for the District of New Jersey. This case involved hazardous
         substance deposition into Kramer Landfill (Superfund Site) by defendants.
         Retained by lawyers for the plaintiff.
52 52    Case No. 92-034865; James E. Barnet, Sr., et al., vs. Monsanto Company, et al. In      4/28/99
         the District Court of Harris County, Texas, 80th District Court. This case involved
         former workers’ claims concerning exposure to hazardous chemicals. Retained by
         the Plaintiffs.
51 51    Case No. 95C-1065; Lemberger Sites Remediation Group, Plaintiff, v. A.M.               3/12/99
         Richter & Sons Co., et al., and White Consolidated Industries, Inc., Defendants; In
         the United States District Court Eastern District of Wisconsin. This case involved
         hazardous constituents in waste going to Lemberger Landfill (Superfund Site).
         Retained by the Plaintiff.
50 50    Case No. 98-459-A; Lewie Byers; vs. Texaco Exploration and Production Inc. and         1/22/99
         Texaco Inc. In the District Court of Smith County, Texas 7th Judicial District. This
         case involves claims of contamination due to releases of crude oil and fluids from
         oil field production activities. Retained by the Defendant.




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49 49    C.A. No. G-96-493; Janie Rivas, et al., vs. Monsanto Company, et al.; Defendant.         12/30/98
         In the United States District Court for the Southern district of Texas Galveston
         Division. This case involves modeling of emissions and air dispersion of
         hazardous substances emanating from petrochemical wastes processed and
         disposed of at the Brio/Dixie Oil Processors Superfund Sites in Houston, Texas
         and related exposures to children in adjacent neighborhoods. Retained by the
         Plaintiffs.
48 48    Cause No. 95-044151; Rebecca Johnson, et al., and On Behalf of All Those                 7/24/98
         Similarly Situated, Plaintiffs, vs. Exxon Company, U.S.A., et al., Defendant. In the
         61st Judicial District Court, Harris County, Texas. Case involved claims of
         contamination to a neighborhood near Carver Elementary school that was built
         over covered pits where oil began to surface in 1995. Retained by the Defendant.
47 47    Case 75524; Clarice Friloux, et al., Plaintiffs, vs. Campbell Wells Corporation, et      5/21/98
         al., Defendants. In the 17th Judicial District Court, Parish of Lafourche, Louisiana.
         Case involved claims of offsite air migration of hazardous substances purportedly
         associated with a non-hazardous oilfield waste disposal facility. Retained by the
         Defendants.
46 46    Case No. 93-004644; Mike Adalis, et. al., Plaintiffs, vs. Neighborhood                  2/13/98 and
         Development Corporation, et al, Defendants. In the District Court of Harris                7/8/98
         County, Texas, 269th Judicial District. Case involved claims of groundwater and
         related drinking water well contamination attributable to 50 year old oil well
         blowout. Retained by the defendant Exxon.
45 45    Civil Action No. 95-514875-CE; Grand Trunk Western Railroad, Incorporated               5/22/97 and
         and Star Oil Company, Inc., Plaintiffs vs. Union Oil Company of California,              6/2/97 to
         Wynkoop Oil Company, Clement Wynkoop, Secory Oil Company and Lewis                         6/3/97
         Secory, Defendants and Union Oil Company and Clement Wynkoop, Counter-
         Plaintiffs/Cross-Plaintiffs vs. Secory Oil Company and Lewis Secory. Case
         involved modeling of the transport and fate of hydrocarbon fuels, which leaked
         from storage, tanks at a terminal and allegedly migrated onto adjoining properties
         of plaintiffs. Retained by the Defendants.
44 44    Case No. 93-03044, James W. Allen, III and Victoria Ann Allen, et al. Monsanto           5/13/97
         Company, et. al., and Case No. 93-14478, Christopher Irwin and Jon H. Moore, et
         al., in the District Court of Harris County, Texas, 113th Judicial District. Case
         involved contaminant migration via air, surface water and groundwater media
         from the Dixie Oil Processors Superfund Site to adjacent children’s athletic field.
         Retained by the Plaintiffs.
43 43    Civil Action 96C19S; Junker Landfill v. United Waste. In the U.S. District Court,        2/28/97
         Western District. Case involved study of hazardous substances in wastes generated
         by approximately 500 generators taken to Junker Landfill (Superfund Site).
         Retained by Plaintiffs.




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42 42    Cause No. A99,534; Joann McKnight Lambert v. Melvin B. Etheredge, et al. In the         1/29/97
         70th District Court, Ector County, Texas. Case involved study of subsurface
         moisture condition and moisture migration through house slab. Retained by
         Plaintiff, Lambert.
41 41    Case No.: 2:92-CV-111; Commercial Union Insurance Co., et. al., v. Cannelton             9/5/96
         Industries, Inc., In the United States District Court for the Western District of
         Michigan. Case involved claim against insurance company for environmental
         remediation cost recovery associated with chromium contamination of St. Marys
         River due to a fire at an old tannery plant. Retained by Defendant.
40 40    Civil Action No. BC015575; Atlantic Richfield Company and ARCO Chemical                 4/9/96 -
         Company v. Aetna Casualty and Surety Company of America, et. al.; Superior              4/10/96
         Court of the State of California for the County of Los Angeles. Case involved
         disputed claims for insurance coverage of environmental contamination at old
         refinery sites at Sand Springs, Oklahoma, and Prewitt, New Mexico. Retained by
         the Plaintiffs.
39 39    Civil Action No. 92-2-28065-5; Aluminum Company of America and Northwest                 2/5/96
         Alloys, Inc. v. Accident and Casualty Insurance Company, et al. Superior Court of
         the State of Washington, In and For the County of King. Case involved disputed
         claims for insurance coverage of environmental contamination at three aluminum-
         manufacturing facilities across the country, and entailed extensive interpretation of
         historical aerial photographs of the facilities. Retained by the Plaintiffs.
38 38    Civil Action No. 87-4263(JHR); General Electric Company v. Buzby Brothers               11/29/95
         Materials Handling Company, et al. United States District Court for the District of
         New Jersey. Case involved recovery from commercial and municipal transporters
         of wastes of the costs for remediation of groundwater contamination at the site of
         the RCA-Buzby Landfill (Superfund Site) near Voorhees, New Jersey. Retained
         by the Plaintiff.
37 37    Civil Action No. 85-17210-G; David L. Smithson et al., v. Monsanto Company, et.         11/8/95
         al., District Courts, 11th Judicial District, Harris County, Texas; and Civil Action
         No. 93-045095; Thuy Thi Diep, et al., v. Monsanto Company, et al.; District
         Court, 55th Judicial District, Harris County, Texas. These consolidated cases
         involved the Brio Superfund Site and exposure of adjacent residents to hazardous
         chemicals in an old waste disposal site through air, soil, groundwater, surface
         water and drinking water pathways. Retained by Plaintiffs.
36 36    Case No. 94-C-1025; City and County of Denver et al., v. Alumet et al. United           8/17/95
         States District Court for the District of Colorado. Case involving the Lowry
         Landfill Superfund site in Denver, Colorado, and the apportionment of
         remediation costs due to contamination from co-disposal of municipal and
         industrial wastes. Retained by the Defendants.




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35 35    Cause No. 15,527; Gary David Harding et al., v. Browning-Ferris Industries, Inc.,       6/22/95
         et. al., District Court, 229th Judicial District, Duval County, Texas. Case involving
         personal injury and property damage from industrial waste migration from a
         landfill. Retained by the Plaintiffs.
34 34    Case No. 93-03674-CA; In Re: Hipps Road Litigation. Circuit Court of the Fourth         5/26/95
         Judicial Circuit In and For Duval County, Florida. Suit regarding contamination of
         drinking water wells from hazardous waste leaking from a landfill. Retained by the
         Plaintiffs.
33 33    Cause No. 94-1499-A; Ardith Cavallo, et al., v. Star Enterprise, et al. United           5/5/95
         States District Court for the Eastern District of Virginia; Alexandria Division.
         Retained by the Defendant.
32 32    Case No. CJ-92-3515-62; N.C. Corff Partnership, Ltd., et al., v. Oxy USA, Inc.          4/26/95
         Oklahoma County District Court. Retained by the Defendant.
31 31    Civil Action No. 93-CV-0090-B; KN Energy, Inc. et al., v. Sinclair Oil                  4/19/95
         Corporation, d/b/a/ Little America Refining Co. United States District Court,
         District of Wyoming. Retained by the Plaintiff.
30 30    Cause No. CV-90-75-BU-PGH; Atlantic Richfield Co. v. Torger L. Oaas et. al.,             11/7/94
         United States District Court for the District of Montana, Butte Division. Retained      11/11/94
         by the Plaintiff.
29 29    Cause No. 92-032723; Clear Creek Independent School District v. Farm & Home             10/5/94
         Savings Association, et. al., District Court 11th Judicial District, Harris County,
         Texas. Retained by the Plaintiffs.
28 28    Cause No. CW 93-39-BU-PGH; Montana Resources, Inc. and Dennis R.                         9/9/94
         Washington v. Atlantic Richfield Company. United States District Court for the
         District of Montana, Butte Division. Retained by the Defendants.
27 27    Cause No. 31,692-S; Frank J. Kramr, Individually and as Parents and next friends         9/7/94
         of Sarah Kramr, a minor, v. Eastern Pipeline Company. District Court 329th
         Judicial District, Wharton County, Texas. Retained by the Plaintiffs.
26 26    Cause No. 85-17210-G; Gary L. Abel, et al., and David L. & Angell R. Smithson v.        5/18/94
         Monsanto, et al. District Court 151st Judicial District, Harris County. Suit
         concerning the Brio Superfund site. Retained by the Plaintiffs.
25 25    Case No. 92-CI-15104; Lionel Laguna and wife, Celia Laguna v. Exxon                     12/10/93
         Corporation United States of America. District Court, 57th Judicial District, Bexar
         County, Texas. Retained by the Defendant.
24 24    Civil Action No. SA-92-CA-0616; Jesse Sherrod, et al., v. U.S.A. Western District        4/9/93
         Court of Texas, San Antonio Division. Suit regarding the alleged leakage of
         chlorinated solvents from an air force base to surrounding areas. Retained by the
         Plaintiffs.




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23 23    Case No. 390-37213-SAF-11 and Case No. 390-37214-SAF-11, jointly                         6/24/92
         administered Chapter 11; In re: National Gypsum Company v. Aancor Holdings,            5/18–20/92
         Inc. Retained by the U.S.                                                              4/26–27/92
22 22    Cause No. 85-17210-F; Andrea Acosta, et al., v. Farm & Home Savings                     5/13/92
         Association. District Court of Harris County, Texas. Suit concerning Brio
         (Houston, Texas) Superfund site. Retained by the Plaintiffs.
21 21    Civil Action No. CIV-91-655-W; Larry and Judy Bentley v. Koch Gathering                 2/21/92
         Systems, Inc. Suit concerning the remediation of an oil spill. Retained by Koch.        1/16/92
20 20    Cause No. 90C0468; Billy White, et. al., v. BP Chemicals, Inc. et. al., District         1/7/92
         Court of Brazoria County, Texas.
19 19    File No. 3-90-312; Kenneth M. Anderson as Personal Representative of the Estate         7/16/91
         of Fred W. Hedberg v. City of Minnetonka et al. United States District Court for
         the District of Minnesota, Third Division. Retained by the Plaintiff.
18 18    Consolidated Civil Action No. 83-C–2379; United States of America v. Shell Oil         4/22–23/91
         Company, consolidated with Civil Action No. 89–C–1646, United States of
         America v. State of Colorado. U.S. District Court for the State of Colorado.
         Retained by the U.S.A.
17 17    Case No. 485,475; Billy Fred Platt and Paula Kay Callahan v. Bio-Gro Systems,           3/28/91
         Inc. and the City of Austin. 353rd District Court, Travis County, Texas.
         Contamination to soil resulting from sewage sludge application. Retained by Mr.
         Platt.
16 16    Cause No. C88-0190-B consolidated with C89-0153-B; Sinclair Oil Corporation             4/27/90
         v. James S. Scherer, et al., and United States of America v. Sinclair Oil
         Corporation. United States District Court for the District of Wyoming. Suit
         concerning alleged contamination from refinery operations. Retained by the
         United States.
15 15    Case No. 63,993; Lawrence and Verna Postier v. Laidlaw Waste Systems, Inc., et.          1/9/90
         al., 240th Judicial District Court for Fort Bend County, Texas. Personal injury as a    12/21/89
         result of methane gas migration from a landfill. Retained by the Plaintiff.
14 14    Cause No. 1-88-0141-W; Watts and wife v. Koch Gathering Systems, Inc. United            8/23/89
         States District Court, North Texas Division, Abilene. Suit concerning land
         damages resulting from an oil spill. Retained by Koch.
13 13    The United States of America, the State of New York, and UDC-Love Canal, Inc.,         3/20–21/89
         v. Occidental Chemical Corp., Occidental Chemical Holding Corp., Occidental
         Petroleum Investment Co., Occidental Petroleum Corp., City of Niagara Falls,
         Niagara County Health Department, and the Board of Education of the City of
         Niagara Falls, Love Canal Landfill. United States District Court for the Western
         District of New York. Deposition on the mobility of organic pollutants through
         clay. Retained by the Plaintiff.



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12 12    Case No. 85-17210-C; James L. Slaughter, et al., v. Farm and Home Savings, et.          1/13/89
         al., and Case No. 86-48352; Mike Fenimore, et al., v. Farm and Home Savings.           11/11/88
         151st Judicial District Court of Harris County, Texas. Damages and clean-up of
         Brio (Houston, Texas) Superfund site. Retained by the Plaintiffs.
11 11    Case No. CIV-86-1401-P; The United States of America v. Royal N. Hardage, et           6/13/88
         al., Advance Chemical Company, et al., v. ABCO, et al. United States District          12/2/88
         Court for the Western District of Oklahoma. Enforcement of ROD concerning
         remediation of hazardous waste site. Retained by the Plaintiff.
10 10    Case No. H-86-2629; United States of America v. International Shoe Company.             3/5/88
         RCRA compliance for solvent waste surface impoundment. Retained by the
         U.S.A.
   9     Joseph Edward Powell, et al., v. Pulte, et. al., District Court of Harris County,      11/11/88
         Texas. Vol. 1 No. 84-75865.

   8     Case No. M-85-191-CA; Sammy C. McElroy and wife, Kathleen Ann McElroy v.                9/5/86
         Getty Oil Company and Texaco, Inc. United States District Court for the Eastern        11/7/86
         District of Texas, Marshall Division; and Case No. CA-93-54; Sammy C. McElroy
         and wife, Kathleen Ann McElroy v. Halliburton Company. District Court In and
         For Panola County, Texas. Fish kill resulting from acid drainages from dried pond
         bottom mud. Retained by the Defendant.
77 7     Case No. 84-1112-A; Gary L. Overstreet and Glenda Ann Overstreet v. Texas Oil           5/2/86
         and Gas Corporation and Delhi Gas Pipeline Corporation. 14th Judicial District
         Court of Dallas County, Texas. Suit concerning alleged sulfur contamination of
         soil, forage, and its potential impact on the productivity of dairy cattle. Retained
         by the Defendant.
   6     Case No. 86-6-8186; Mobil Producing Texas and New Mexico v. Burr Stafford, et          3/11/86
         al. 24th Judicial District Court In and For Jackson County, Texas. Testimony on
         the damages to soil and crops caused by oil production activities. Retained by the
         Plaintiff.
   5     Case No. 83-CV-1116; Clifford and Sandra Schiesl, et al., and Orrin Hagen v.           10/17/86
         Uniroyal, Inc., and Waste Management of Wisconsin, Inc. v. City of Stoughton, et
         al., v. Richard H. Sundby, et al. Circuit Court for the State of Wisconsin, Dane
         County. Contribution of municipal waste constituents to ground water
         contamination of the Hagen Landfill (Superfund Site) in Dane County, Wisconsin.
         Retained by Uniroyal.
75 4     Bagwell Greenhouse v. Ball Seed Company. Suit over loss of crops due to
         contaminated plant growth mixture. Retained by the Defendant.
74 3     French v. Voluntary Purchasing Groups, Inc. Suit over the loss of cattle and the
         contamination of pasture land with arsenic. Retained by the Defendant.
73 2     Rader and Carpenter v. Texas-New Mexico Pipeline Company. Damage to soil,              3/11/88
         trees, and pasture due to oil spill down creek channel. Retained by the Defendant.

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72 1    Stronglite Products Company v. Frit Industries. Suit over the sale of products that
        contaminated plant growth mixture. Retained by the Plaintiff.




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25
         REGULATORY HEARING TESTIMONY

26 26    Testimony at a hearing of the South Carolina Department of Health and                   3/93 2/93
         Environmental Protection regarding the GSX landfill. Retained by the Opposition.
25 25    In the matter of the application of the North Texas Municipal Water District to          2/15/93
         Amend Solid Waste Permit No. 568A
24 24    Testimony at a hearing on a proposed permit amendment regarding the City of              1/27/93
         McKinney (TX) Landfill. Retained by the Opposition.
23 23    Testimony at hearings of the Public Utility Commission of Texas regarding the           6/1/92 5/92
         Lon C. Hill-Coleto Creek 345 kv Transmission Line. Retained by the Applicant.              1990
22 22    Testimony at a hearing to review an amendment to expand the City of Waco (TX)            1/23/91
         Landfill. Retained by the Opposition.
21 21    Testimony at hearing regarding the siting of the Cherokee County Landfill (TX)          9/21–22/88
         near an aquifer recharge area. Retained by the Opposition.
20 20    Testimony at permit hearing regarding the Green Valley Environmental                       9/88
         Corporation Landfill in Greenup County, Kentucky, regarding suitable siting
         criteria for a landfill. Retained by opposing parties Clarence Clay, Janet Brown, et.
         al.
19 19    Application of Metropolitan Waste Systems for a Landfill.                                7/27/88

18 18    Application of Laidlaw Waste Systems, Inc. before the Regional Pollution Control         6/17/87
         Facility Siting Committee of the McHenry County Board.
17 17    Testimony at a hearing of the Wayne County Board of Commissioners (IL) on               7/15–18/86
         operation and maintenance of landfills and associated problems that can impact
         the environment.
15 16    Testimony at a hearing to review a Browning-Ferris Industries municipal landfill         11/9/83
         (TX) permit application. Retained by the Tri-County Civic Association.
14 15    Testimony at an administrative hearing in Illinois on the criteria to be used to ban     11/1/83
         organic chemicals from landfills.
13 14    Testimony at hearings held by the Texas Railroad Commission regarding the                  1980
         Texas Municipal Power Agency. Retained by TMPA.
12 13    Testimony at a permit hearing regarding a proposed Chemical Waste Management               1978
         landfill in Lake Charles, Louisiana.
15 12    Testimony at a hearing to review a Browning-Ferris Industries municipal landfill         11/9/83
         (TX) permit application. Retained by the Tri-County Civic Association.
11 11    Testimony at EPA hearing on Chemical Waste Management Part B application for11
         hazardous waste site at Elmiel, Alabama. Comments on permit deficiencies.
         Retained by the Opposition.


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10 10    Testimony at an administrative hearing on the location of a Florida landfill in deep10
         sandy soils. Retained by Citizens for a Clean Environment.
   9     Testimony at a hearing on the State of Florida’s alternative landfill liner designs. 9
         Retained by MFM Environmental.
   8     Testimony at a hearing of the Jefferson County Board of Commissioners (IL) on 8
         the siting of a proposed landfill. Retained by the Opposition.
   7     Testimony at a hearing of the Iniquois County Board of Commissioners (IL) on 7
         the siting of a proposed municipal waste in water table. Retained by the
         Opposition.
   6     Testimony at a permit hearing on the land treatment of industrial wastes at the     6
         Exxon Chemical-Rollins Environmental facility in Baton Rouge, Louisiana.
         Retained by Exxon and Rollins.
   5     Testimony on pond design and assessment of offsite environmental risks at the       5
         USPCI facility in Oklahoma. Retained by USPCI.
   4     Testimony at a hearing of the Texas Railroad Commission regarding revocation of4
         a permit for drilling mud disposal operations which had overflowed onto adjacent
         soil. Retained by the Opposition.
   3     Testimony at a hearing of the Texas Water Commission regarding the land             3
         treatment of industrial wastes by Conservation Services, Inc. Retained by the
         Applicant.
   2     Testimony at a hearing of the Texas Water Commission concerning the Liberty 2
         Waste Disposal Company landfill to be located near Anahuac, Texas. Retained by
         the Opposition.
   1     Testimony at a hearing of the Texas Water Commission regarding a zero discharge   1
         permit for the irrigation disposal of treated sewage effluent. Retained by Upland
         Industries.




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25
          LEGISLATIVE HEARING TESTIMONY

     6    Testimony at a hearing of the Texas House of Representatives, Environmental        4/87
          Affairs Committee in April 1987, on the need for legislation to set up a waste
          management plan for the state.
     5    Testimony at a hearing of the Texas Governor’s Taskforce on Oil Spills in          2/85
          February 1985, on the fate of oil spill debris, and disposal technology options.
     4    Testimony at a hearing of the Texas Governor’s Taskforce on Hazardous Waste in     11/84
          November 1984, on the effectiveness of landfills for disposal technology.
     3    Testimony at a hearing of the Texas Governor’s Taskforce on Hazardous Waste in     6/84
          June 1984, on the impact of organic chemicals on the permeability of soils.
     2    Testimony at a hearing of the U.S. House of Representatives, Science and           11/82
          Technology Committee in November 1982, on the adequacy of EPA’s liquid
          management system to protect groundwater at hazardous waste landfills.
     1    Testimony at a hearing of the Texas House of Representatives, Environmental        4/82
          Affairs Committee in April 1982, on the impact of organic chemicals on the
          permeability of clay liners.




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25
            EXPERT WITNESS REPORTS/AFFIDAVITS

 100        Case No. 1:09-CV-0228, DNH-DRH, consolidated with Case No. 1:11-CV-006;                 2/14/14
            Village of Stillwater, et al., Plaintiffs, v. General Electric Co., Defendants in the
            United States District Court, Northern District of New York. Case involved
            contamination of the Hudson River with polychlorinated biphenyls. Rebuttal
            Report. Retained by the Plaintiffs.
     99     Case No. 1:09-CV-0228, DNH-DRH, consolidated with Case No. 1:11-CV-006;                 9/20/13
            Village of Stillwater, et al., Plaintiffs, v. General Electric Co., Defendants in the
            United States District Court, Northern District of New York. Case involved
            contamination of the Hudson River with polychlorinated biphenyls. Expert
            Report. Retained by the Plaintiffs.
     98     Cause No. 3:08-CV-00229; Natural Resource Defense Council, et al., Plaintiffs, v.       8/6/10
            County of Dickson, Tennessee, et al., Defendants in the United States District
            Court for the Middle District of Tennessee. Case involved the contamination of
            groundwater by contaminants disposed of in the Dickson County Landfill. Expert
            Report. Retained by the Plaintiffs.
     97     Cause No. 08-CV-0161; Mary Ellen Hall, et al., Plaintiffs, v. Radiator Specialty        11/6/09
            Co., et al., Defendants in the District Court of Galveston County, Texas, 212th
            Judicial District. Case involved the exposure to benzene from historical emissions
            from the Union Carbide Chemical Co. facility in Texas City, Texas. Expert
            Report. Retained by the Plaintiffs.
     96     Cause No. E-178,440; Darla J. Lemaire, et al., Plaintiffs, v. Berryman Products,        7/24/09
            et al., Defendants in the District Court of Jefferson County, Texas, 172nd Judicial
            District. Case involved the exposure to benzene from on-going emissions from the
            Huntsman Petrochemical facility in Port Neches, Texas. Expert Report. Retained
            by the Plaintiffs.
     95     Civil Action No. 04-C-465; Virdie Allen, et al., Plaintiffs, v. Monsanto Company,       8/19/08
            et al., Defendants in the Circuit Court of Putnam County, West Virginia. Case
            involved the contamination of communities with dioxins from the emissions from
            the former Monsanto facility in Nitro, West Virginia. Affidavit. Retained by the
            Plaintiffs.
     94     Docket No. L-13345-91; Pennsauken Solid Waste Management Authority, et al.,             7/18/08
            Plaintiff, v. New Jersey Department of Environmental Protection, et al.,
            Defendants in the Superior Court of New Jersey, Camden County: Law Division.
            Case involved disposal of hazardous substances in the commercial and industrial
            wastes at the Pennsauken Landfill in Camden County, New Jersey and the
            contamination of groundwater as a result of these disposal practices. Expert
            Report. Retained by Third-Party Defendant Cooper Industries, Inc.




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93     Cause No. GN-04-001028; Sotero Carrillo, Jose Carmen Carrillo, Miguel Cruz,             3/26/08
       and Greg Fuller and A&B Construction, Inc., Plaintiffs, v. Reichold, Inc.,
       Defendents, Zurich American Insurance Co., Intervenor. In the District Court of
       Travis County, Texas 98th Judicial District. Affidavit. Retained by the Plaintiffs.
92     Case No. 05-21207 Chapter 11 (Jointly Administered); In re: ASARCO LLC, et al.,          2/4/08
       in the United States Bankruptcy Court for the Southern District of Texas, Corpus
       Christi Division. Case involved an evaluation of the Tar Creek Superfund site and
       the subsequent assessment and evaluation of lead contamination and lead transport
       pathways in the communities of Picher and Cardin, Oklahoma, including the
       impacts of lead exposure to the children within these communities. Expert
       Rebuttal Report. Retained by the Plaintiffs.
91     Case No. 05-21207 Chapter 11 (Jointly Administered); In re: ASARCO LLC, et al.,         11/15/07
       in the United States Bankruptcy Court for the Southern District of Texas, Corpus
       Christi Division. Case involved an evaluation of the Tar Creek Superfund site and
       the subsequent assessment and evaluation of lead contamination and lead transport
       pathways in the communities of Picher and Cardin, Oklahoma, including the
       impacts of lead exposure to the children within these communities. Expert Report.
       Retained by the Plaintiffs.
90     Case No. 03-CV-498-CVE-PJC; Jimmy Dale Palmer, et al., Plaintiffs, v. Asarco            6/15/07
       Incorporated, et al., Defendants in the United States District Court for the
       Northern District of Oklahoma. Case involved an evaluation of the Tar Creek
       Superfund site and the subsequent assessment and evaluation of lead
       contamination and lead transport pathways in the communities of Picher and
       Cardin, Oklahoma, including the impacts of lead exposure to the children within
       these communities. Affidavit. Retained by the Plaintiffs.
89     File No. 62-C7-05-012469; State of Minnesota, Plaintiff, v. Evanston Insurance           6/8/07
       Co., et al., Defendants in the District Court of Minnesota, Second Judicial District.
       Case involved the disposal of hazardous substances with industrial waste at the
       WDE Landfill and the contamination of groundwater as a result of these disposal
       practices. Retained by the Plaintiff.
88     Case No. 03-CV-498-CVE-PJC; Jimmy Dale Palmer, et al., Plaintiffs, v. Asarco             6/4/07
       Incorporated, et al., Defendants in the United States District Court for the
       Northern District of Oklahoma. Case involved an evaluation of the Tar Creek
       Superfund site and the subsequent assessment and evaluation of lead
       contamination and lead transport pathways in the communities of Picher and
       Cardin, Oklahoma, including the impacts of lead exposure to the children within
       these communities. Affidavit. Retained by the Plaintiffs.
87     Case no. 04-C-296-2; Lenora Perrine, et al., Plaintiffs vs. E.I .DuPont de Nemours       4/2/07
       and Company, et al., Defendants, in the Circuit Court of Harrison County, West
       Virginia. This case involved the contamination of homes and properties with metal
       dust from the former Meadowbrook Smelter in Spelter, West Virginia. Retained
       by the Plaintiffs.


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86     Civil Action No. 02-CV-3830; Agere Systems, Inc., et al., Plaintiffs, vs. Advanced       9/28/06
       Environmental Technology Corporation, et al., Defendant, in the United States
       District Court for the Eastern District of Pennsylvania. This case involved the
       alleged disposal of hazardous wastes at the Boarhead Farms Superfund Site in
       Bucks County, Pennsylvania. Retained by Handy & Harman Tube Co., Defendant.
85     Cause No. GN-04-001028; Sotero Carrillo, Jose Carmen Carrillo, Miguel Cruz,              8/29/06
       and Greg Fuller and A&B Construction, Inc., Plaintiffs, v. Reichold, Inc.,
       Defendents, Zurich American Insurance Co., Intervenor. In the District Court of
       Travis County, Texas 98th Judicial District. Retained by the Plaintiffs.
84     Court File No. 94-CQ-57578-CM; Ontario Superior Court of Justice between:                 5/1/06
       Frank Augustine, et al., Plaintiffs, and INCO Limited, Defendant. This case
       involved claims of contamination and economic loss as a result of emissions from
       the former nickel smelter in Port Colborne, Ontario. Expert Report. Retained by
       the Defendant.
83     Case No. 3:98-CV-3601; Cargill, Inc., et al., Plaintiffs, v. ABCO Construction,           3/1/06
       Inc., et al., Defendant ,in the United States District Court for the Southern District
       of Ohio, Western Division. This case involved claims of the disposal of hazardous
       substances in the former Valleycrest Landfill and the subsequent contamination of
       the Great Miami Aquifer. Expert Report. Retained by the Plaintiffs.
82     Case no. 04-C-296-2; Lenora Perrine, et al., Plaintiffs vs. E.I. DuPont de Nemours       2/28/06
       and Company, et al., Defendants, in the Circuit Court of Harrison County, West
       Virginia. This case involved claims of contamination of homes and properties with
       metal dust from the former Meadowbrook Smelter in Spelter, West Virginia.
       Rebuttal Report. Retained by the Plaintiffs.
81     Court File No. 94-CQ-57578-CM; Ontario Superior Court of Justice between:                2/16/06
       Frank Augustine, et al., Plaintiffs, and INCO Limited, Defendant. This case
       involved claims of contamination and economic loss as a result of emissions from
       the former nickel smelter in Port Colborne, Ontario. Expert Report. Retained by
       the Defendant.
80     Case no. 04-C-296-2; Lenora Perrine, et al., Plaintiffs vs. E.I. DuPont de Nemours       11/11/05
       and Company, et al., Defendants, in the Circuit Court of Harrison County, West
       Virginia. This case involved claims of contamination of homes and properties with
       metal dust from the former Meadowbrook Smelter in Spelter, West Virginia.
       Expert Report. Retained by the Plaintiffs.
79     Civil No. 95-2907 (DMC); Interfaith Community Organization, et al., Plaintiffs           10/05/05
       vs. Honeywell International Inc., et al., Defendants in the United States Court of
       Appeals for the Third Circuit. This case involved claims against the defendants
       concerning disposal of chromium waste at the Roosevelt Drive-In Site in Jersey
       City, New Jersey. Declaration. Retained by Honeywell, Defendant.




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78     Cause No. L-02-0087-CV-A; Betty Waldean Woelfel, et al., Plaintiffs, vs.                   8/8/05
       Intercontinental Energy Corporation d/b/a IEC Corp. of Texas and Westinghouse
       Electric Company, L.L.C., Defendants in the District Court of Live Oak County,
       Texas, 36th Judicial District. Case involved the remediation and release of land
       associated with the Lamprecht and Zamzow ISL Uranium mine sites.
       Supplemental Affidavit. Retained by Defendant Viacom.
77     Cause No. L-02-0087-CV-A; Betty Waldean Woelfel, et al., Plaintiffs, vs.                   7/29/05
       Intercontinental Energy Corporation d/b/a IEC Corp. of Texas and Westinghouse
       Electric Company, L.L.C., Defendants in the District Court of Live Oak County,
       Texas, 36th Judicial District. Case involved the remediation and release of land
       associated with the Lamprecht and Zamzow ISL Uranium mine sites. Affidavit.
       Retained by Defendant Viacom.
76     Cause No. 02-4162 JPG; Chevron Environmental Management Company,                           7/19/05
       Chevron Environmental Services Company, and Texaco Inc., Plaintiffs, v. Indian
       Refining I Limited Partnership (f/k/a Indian Refining Limited Partnership), et al,
       Defendants in the United States District Court for the Southern District of Illinois.
       Case involved remediation and allocation of costs for the former Indian refinery in
       Lawrenceville, IL. Affidavit. Retained by the Plaintiff
75     Case No. 03-CV-327 (H) M; Betty Jean Cole, et al., Plaintiffs, v. Asarco                   5/27/05
       Incorporated, et al., Defendants in the United States District Court for the
       Northern District of Oklahoma. Case involved an evaluation of the Tar Creek
       Superfund site and the subsequent assessment and evaluation of lead
       contamination and lead transport pathways in the communities of Picher and
       Cardin, Oklahoma, including the impacts of lead exposure to the children within
       these communities. Affidavit. Retained by the Plaintiffs.
74     Civil Action No. 95-CV-6400L, Seneca Meadows, Plaintiff vs. ECI Liquidating, et            5/10/05
       al., Defendants in the United States District Court, Western District of New York.
       This case involved claims against defendants concerning the disposal of hazardous
       substances in the Tantalo Landfill, Seneca Falls, New York. Retained by the
       Plaintiff.
73     Cause No. 02-4162 JPG; Chevron Environmental Management Company, Chevron                   5/2/05
       Environmental Services Company, and Texaco Inc., Plaintiffs, v. Indian Refining I
       Limited Partnership (f/k/a Indian Refining Limited Partnership), et al, Defendants
       in the United States District Court for the Southern District of Illinois. Case involved
       remediation and allocation of costs for the former Indian refinery in Lawrenceville,
       IL. Retained by the Plaintiff
72     File No. C7-0310992; State of Minnesota, Plaintiff, v. American Hardware Mutual            4/11/05
       Insurance Company, Defendants in the District Court of Minnesota, Tenth Judicial
       District. Case involved the disposal of hazardous substances with industrial waste
       at Oak Grove and East Bethel Landfills and the contamination of groundwater as a
       result of these disposal practices. Retained by the Plaintiff.



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71     Cause No. C200300273 Judy Miller, Stan Miller, Deanna Aureli, Brent Aureli,            11/22/04
       and Nicholas Aureli v Blue Haven Pool, Defendant in the Texas Judicial Court of
       Johnson County. Case involved claims against the defendant regarding the
       installation of a swimming pool, and a broken septic sewer line. Retained by the
       Defendant.
70     Case No. 03-CV-327 (H) M; Betty Jean Cole, et al., Plaintiffs, v. Asarco               10/28/04
       Incorporated, et al., Defendants in the United States District Court for the
       Northern District of Oklahoma. Case involved an evaluation of the Tar Creek
       Superfund site and the subsequent assessment and evaluation of lead
       contamination and lead transport pathways in the communities of Picher and
       Cardin, Oklahoma, including the impacts of lead exposure to the children within
       these communities. Expert Rebuttal Report. Retained by the Plaintiffs.
69     Nos. 03-2760, 03-3037 & 03-3585; Interfaith Community Organization, et al.,            6/25/04
       Plaintiffs vs. Honeywell International Inc., et al., Defendants in the United States
       Court of Appeals for the Third Circuit. This case involved claims against the
       defendants concerning disposal of chromium waste at the Roosevelt Drive-In Site
       in Jersey City, New Jersey. Affidavit. Retained by W.R. Grace & Co., W.R. Grace
       Ltd. and ECARG, Inc., Defendants.
68     Civil Action No. 01:01-CV-890; Lyondell Chemical Company, et al., Plaintiffs v.        5/14/04
       Albemarle Corporation, et al., Defendants in the United States District Court for
       the Eastern District Of Texas Beaumont Division. This case involved the disposal
       of waste containing hazardous substances and groundwater contamination at the
       Turtle Bayou Superfund in Liberty County, Texas. Supplemental Report. Retained
       by ExxonMobil, Defendant.
67     Case No. 94 CV 012385; Employers Insurance of Wausau, A Mutual Company,                 5/3/04
       Plaintiffs, v. Newell Co., Defendants in the State of Wisconsin Circuit Court for
       Milwaukee County. Case involved characterization of waste streams and the
       hazardous constituent content of waste streams produced by the Newell Co.
       subsidiaries, as well as the disposal of hazardous constituents into municipal
       landfills by the Newell Co. subsidiaries. Expert Report. Retained by the
       Defendants.
66     Cause No. 03-001121-CV; Joseph Paul Horlen, et al., Plaintiffs, v. Robert S.           4/29/04
       Smith and Robo Investments, Inc., Defendants in the District Court of Brazos
       County, Texas, 361st Judicial District. Case involved the subsurface loss of water
       from a man-made lake within a residential subdivision and the subsequent
       undercutting of riverbank along the Brazos River. Affidavit. Retained by the
       Plaintiffs.




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65     Case No. 03-CV-327 (H) M; Betty Jean Cole, et al., Plaintiffs, v. Asarco              4/12/04
       Incorporated, et al., Defendants in the United States District Court for the
       Northern District of Oklahoma. Case involved an evaluation of the Tar Creek
       Superfund site and the subsequent assessment and evaluation of lead
       contamination and lead transport pathways in the communities of Picher and
       Cardin, Oklahoma, including the impacts of lead exposure to the children within
       these communities. Expert Report. Retained by the Plaintiffs.
64     Cause No. 03-001121-CV; Joseph Paul Horlen, et al., Plaintiffs, v. Robert S.           3/5/04
       Smith and Robo Investments, Inc., Defendants in the District Court of Brazos
       County, Texas, 361st Judicial District. Case involved the subsurface loss of water
       from a man-made lake within a residential subdivision and the subsequent
       undercutting of riverbank along the Brazos River. Expert Opinion. Retained by the
       Plaintiffs.
63     Docket No. CWA-06-2003-4805; BP Pipelines (North America) Inc., Respondent,            2/6/04
       v. United States Environmental Protection Agency Region 6. Case involved the
       subsurface release of crude oil from a pipeline at a site near Mertzon, Texas.
       Declaration. Retained by the Respondent.
62     Civil Action No. 95-2097; Interfaith Community Organization, et al., vs.               1/9/04
       Honeywell International Inc., et al., in the United States District Court for the
       District of New Jersey. This case involved claims against the defendants
       concerning disposal of chromium waste at the Roosevelt Drive-In Site in Jersey
       City, New Jersey. Affidavit. Retained by W.R. Grace & Co., W.R. Grace Ltd. and
       ECARG, Inc., Defendants.
61     Civil Action No. 01:01-CV-890; Lyondell Chemical Company, et al., Plaintiffs v.       12/19/03
       Albemarle Corporation, et al., Defendants in the United States District Court for
       the Eastern District Of Texas Beaumont Division. This case involved the disposal
       of waste containing hazardous substances and groundwater contamination at the
       Turtle Bayou Superfund in Liberty County, Texas. Expert Witness Report.
       Retained by ExxonMobil, Defendant.
60     File No. CT 02-016741; State of Minnesota, by its Attorney General, Mike Hatch,       12/19/03
       Plaintiff, v. American Hardware Mutual Insurance Company, et al., Defendants in
       the District Court of Minnesota, Fourth Judicial District. Case involved the breach
       of the asphalt seal in the Hazardous Waste Disposal Pit at the Waste Disposal
       Engineering Landfill in Anoka County contributed to the groundwater
       contamination in the vicinity of the site. Affidavit. Retained by the Plaintiff.
59     Civil Action No. 95-2097; Interfaith Community Organization, et al., vs.              12/3/03
       Honeywell International Inc., et al., in the United States District Court for the
       District of New Jersey. This case involved claims against the defendants
       concerning disposal of chromium waste at the Roosevelt Drive-In Site in Jersey
       City, New Jersey. Affidavit. Retained by W.R. Grace & Co., W.R. Grace Ltd. and
       ECARG, Inc., Defendants.



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58     Docket No. CWA-06-2003-4805; BP Pipelines (North America) Inc., Respondent,            11/21/03
       v. United States Environmental Protection Agency Region 6. Case involved the
       subsurface release of crude oil from a pipeline at a site near Mertzon, Texas.
       Expert Witness Report. Retained by the Respondent.
57     Civil Action No. 95-2097; Interfaith Community Organization, et al., Plaintiffs vs.    11/13/03
       Honeywell International Inc., et al., Defendants in the United States District Court
       for the District of New Jersey. This case involved claims against the defendants
       concerning disposal of chromium waste at the Roosevelt Drive-In Site in Jersey
       City, New Jersey. Declaration. Retained by W.R. Grace & Co., W.R. Grace Ltd.
       and ECARG, Inc., Defendants.
56     Civil Action No. 95-CV-6400L; Seneca Meadows, Inc., et al., Plaintiffs, v. ECI         10/17/03
       Liquidating, Inc., et al., Defendants in The United States District Court Western
       District Of New York. Case involved the disposal of industrial and domestic waste
       at the Tantalo Landfill in Seneca County. Expert Witness Report. Retained by the
       Plaintiff.
55     Civil Action No. 98-CV-0838S (F); W.R. Grace & Co.-Conn., Plaintiff, V. Zotos          9/29/03
       International, Inc., Defendant in the United States District Court Western District
       Of New York. Case involved the disposal of cosmetic waste at the Brewer Road
       Landfill in Waterloo County, and the contamination of groundwater as a result of
       these disposal practices. Declaration. Retained by the Plaintiff.
54     Court File No. MC00-001819; State of Minnesota, by its Attorney General, Mike           2/5/03
       Hatch, Plaintiff, v. Employers Insurance of Wausau, A Mutual Company, et al.,
       Defendants in the District Court of Minnesota, Fourth Judicial District. Case
       involved the disposal of hazardous substances with industrial waste at the Oak
       Grove Landfill and East Bethel Landfill in Anoka County, and the contamination
       of groundwater as a result of these disposal practices. Affidavit. Retained by the
       Plaintiff.
53     Case No. 00-01917 MRP (MANx); Shell Chemical Co., et al., Plaintiffs, vs. The          1/13/03
       County of Los Angeles, et al., Defendants in the United States District Court for
       the Central District of California; Case No. 00-1938 MRP (MANx); Phillips
       Petroleum Co., et al., Plaintiffs, vs. The County of Los Angeles, et al., Defendants
       in the United States District Court for the Central District of California; and Case
       No. 00-6420 MRP (MANx); Atlantic Richfield Co., et al., Plaintiffs, vs. BKK
       Corporation, et al., Defendants in the United States District Court for the Central
       District of California. These combined cases involved hazardous substances
       associated with municipal solid waste being deposited at Cal Compact Landfill.
       Expert Witness Report. Retained by the Plaintiffs.
52     Cause No. 98-56362; Browning-Ferris Industries, Inc., et al., Plaintiffs, v. Certain   1/03/03
       Underwriters at Lloyd’s London, et al., Defendants in the 80th Judicial District,
       District Court of Harris County, Texas. This case involved the disposal of waste
       containing hazardous substances and groundwater contamination at the Renner
       Landfill in Beaumont, Texas. Expert Witness Report. Retained by the Defendants.


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51     Case No. 80-1589; United States of America, Plaintiff, vs. City of Philadelphia,        8/23/02
       Plaintiff-Intervenor, vs. Union Corporation Metal Bank of America, et al.,
       Defendants, vs. Consolidated Edison Company of New York, et al., Third Party
       Defendants in the United States District Court for the Eastern District of
       Pennsylvania. This case involved claims against the defendants concerning the
       release of PCBs from the Metal Bank/Cottman Avenue Site to the Delaware River.
       Rebuttal Report. Retained by the Defendants.
50     Civil Action No. 98-CV-0696A (F); Booth Oil Site Administrative Group,                  5/02/02
       Plaintiffs, vs. Safety-Kleen Corp., et al., Defendants, in the United States District
       Court for the Western District of New York. This case involved claims against the
       defendants concerning the release of contaminants during used oil-recycling
       operations at the Booth Oil facility in North Tonawanda, New York. Affidavit.
       Retained by the Plaintiffs.
49     Case No. 80-1589; United States of America, Plaintiff, vs. City of Philadelphia,        8/23/01
       Plaintiff-Intervenor, vs. Union Corporation Metal Bank of America, et al.,
       Defendants, vs. Consolidated Edison Company of New York, et al., Third Party
       Defendants in the United States District Court for the Eastern District of
       Pennsylvania. This case involved claims against the defendants concerning the
       release of PCBs from the Metal Bank/Cottman Avenue Site to the Delaware River.
       Expert Witness Report. Retained by the Defendants.
48     Civil Action No. 1999-48287; Tim Dyring et al., Plaintiffs, v. Rohm & Haas              5/31/01
       Texas, Inc., et al., Defendants in the 125th District Court of Texas. This case
       involved claims against the defendants concerning the release of hazardous
       substances to the groundwater from waste materials disposed at the Charley Burch
       Site in South Montgomery County, Texas. Expert Witness Report. Retained by the
       Plaintiffs.
47     Civil Action No. 95-2097; Interfaith Community Organization, et al., vs.                3/27/01
       Honeywell International Inc., et al., in the United States District Court for the
       District of New Jersey. This case involved claims against the defendants
       concerning disposal of chromium waste at the Roosevelt Drive-In Site in Jersey
       City, New Jersey. Expert Witness Report. Retained by W.R. Grace & Co., W.R.
       Grace Ltd. and ECARG, Inc., Defendants.
46     Civil Action No. G-96-493; Janie Rivas, et al., vs. Monsanto Company, et al., in        3/2/01
       the United States District Court for the Southern District of Texas Galveston
       Division. This case involves modeling of emissions and air dispersion of
       hazardous substances emanating from petrochemical wastes processed and
       disposed of at the Brio/Dixie Oil Processors Superfund Sites in Houston, Texas
       and related exposures to children in adjacent neighborhoods. Expert Witness
       Report. Retained by the Plaintiffs.




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45     Civil Action No. 5:97 CV00894; United States of America vs. Chrysler                    2/28/01
       Corporation, et al., in the United States District Court for the Northern District Of
       Ohio. This case involved claims against the defendants concerning disposal of
       hazardous substances in the Krejci Dump Site. Expert Witness Report. Retained by
       Minnesota Mining & Manufacturing Co., Defendant.
44     Civil Action No. H-98-0408 United States of America, et al vs. Atlantic Richfield       2/15/01
       Company, et al vs. Ashland, Inc., et al., in the United States District Court
       Southern District of Texas Houston Division. This case involved claims against
       defendants concerning waste disposal at Sikes Pit. Expert Witness Report.
       Retained by ExxonMobil, Defendant.
43     Case No. 98-CV0726 Connie Lolley Klostermann, et al vs. Ultramar Diamond                5/19/00
       Shamrock Corporation, et al., in the 212th Judicial District Court, Galveston
       County, Texas. This case involved a lawsuit by the landowner concerning property
       damage resulting from leaking storage tank contamination. Retained by Diamond
       Shamrock, Defendant.
42     Case No. 97-6222 MRP (MANx) Commercial Realty Projects, Inc., and L.A.                  5/8/00
       Metromall LLC, vs. Atlantic Richfield Company, et al., in the United States
       District Court in for the Central District of California. This case involved
       hazardous substances associated with municipal solid waste being deposited at Cal
       Compact Landfill. Retained by the Defendants.
41     Civil Action No. 95-CV-6400L, Seneca Meadows vs. ECI Liquidating, et al. This           4/18/00
       case involved claims against defendants concerning the disposal of hazardous
       substances in the Tantalo Landfill, Seneca Falls, New York. Retained by the
       Plaintiff.
40     Case No. 92-034865; James E. Barnet, Sr., et al., vs. Monsanto Company, et al. In       4/7/00
       the District Court of Harris County, Texas, 80th District Court. This case involved
       former workers’ claims concerning exposure to hazardous chemicals. Retained by
       the Plaintiffs.
39     Case No. 97-6222 MRP (MANx) Commercial Realty Projects, Inc., and L.A.                  2/25/00
       Metromall LLC, vs. Atlantic Richfield Company, et al., in the United States
       District Court in for the Central District of California. This case involved
       hazardous substances associated with municipal solid waste being deposited at Cal
       Compact Landfill. Retained by the Defendant.
38     Civil Action No. 89-4340(JBS); The United States v. Helen Kramer; United States          6/99
       District Court District of New Jersey. This case involved claims against a
       defendant concerning the disposal of hazardous substances in the Kramer Landfill
       (Superfund Site). Retained by the Plaintiffs.




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37     Civil Action No. G-96-494; Thu Van Le, et al., v. Monsanto Co., et al.; Defendant.       2/5/99
       In the United States District Court for the Southern District of Texas Galveston
       Division. This case involved modeling of emissions and air dispersion of
       hazardous substances emanating from petrochemical wastes processed and
       disposed of at the Brio/Dixie Oil Processors Superfund Sites in Houston, Texas
       and related exposures to children in adjacent neighborhoods. Retained by the
       Plaintiffs
36     Civil Action No. G-96-493; Janie Rivas, et al., vs. Monsanto Company, et al.;            2/5/99
       Defendant. In the United States District Court for the Southern district of Texas
       Galveston Division. This case involved modeling of emissions and air dispersion
       of hazardous substances emanating from petrochemical wastes processed and
       disposed of at the Brio/Dixie Oil Processors Superfund Sites in Houston, Texas
       and related exposures to children in adjacent neighborhoods. Retained by the
       Plaintiffs.
35     Civil Action No. 95-2215; Becton Dickinson Puerto Rico, Inc., et al., vs.                1/19/99
       Cheeseborough Pond’s Manufacturing Company, et al.; United States District                3/3/97
       Court for the District of Puerto Rico. This case involved claims against the            11/14/96
       defendant concerning the disposal of hazardous substances in the Juncos Landfill
       (Superfund Site). Retained by the Plaintiffs.
34     Case No. 95C-1065; Lemberger Sites Remediation Group, Plaintiff, v. A.M.                11/12/98
       Richter & Sons Co., et al., and White Consolidated Industries, Inc., Defendants; In
       the United States District Court Eastern District of Wisconsin. This case involved
       hazardous constituents in waste going to Lemberger Landfill (Superfund Site).
       Retained by the Plaintiff.
33     Case No. 98-459-A, Lewie Byers, vs. Texaco Exploration and Production Inc. and          4/30/99
       Texaco, Inc.; In the District Court of Smith County, Texas 7th Judicial District.       2/29/99
       This case involves claims of contamination due to releases of crude oil and fluids      1/29/99
       from oil field production activities. Retained by the Defendant.
32     Case No. 96-72483; Minnesota Mining and Manufacturing (3M) Company,                     6/31/98
       Plaintiff v. Howard W. Stein, Jr., Stein Enterprises, Inc. (f/k/a Stein’s Flower Shop   6/15/98
       and Green Houses, Inc.), the Dow Chemical Company, and General Motors
       Corporation, Defendants. In the United States District Court for the District of
       Michigan, Southern Division. Case involved evaluation of waste disposed at the
       Michigan Avenue Dumpsite by General Motors Corporation and Dow Chemical
       Company. Retained by the Plaintiff, 3M.
31     Case 75524; Clarice Friloux, et al., Plaintiffs, vs. Campbell Wells Corporation, et.     5/4/98
       al., Defendants. In the 17th Judicial District Court, Parish of Lafourche, Louisiana.
       Case involved claims of offsite air migration of hazardous substances purportedly
       associated with a non-hazardous oilfield waste disposal facility. Retained by the
       Defendants.




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30     Court File No. 3-95-933. Onan Corporation, Plaintiff and the State of Minnesota,      6/18/97
       and by its Attorney General, Hubert H. Humphrey, III, and by It Pollution Control
       Agency, Intervenors, v. Continental Insurance Company, Defendant. In the United
       States District Court, District of Minnesota. Case involved time of Leachate travel
       through two Landfills in Minnesota, Oak Grove Landfill and WDE Landfill, and
       the impact of the Leachate on the groundwater. For the Intervenors.
29     Civil Action No. 95-514875-CE; Grand Trunk Western Railroad, Incorporated             5/22/97
       and Star Oil Company, Inc., Plaintiffs vs. Union Oil Company of California,            6/2/97
       Wynkoop Oil Company, Clement Wynkoop, Secory Oil Company and Lewis
       Secory, Defendants and Union Oil Company and Clement Wynkoop, Counter-
       Plaintiffs/Cross-Plaintiffs vs. Secory Oil Company and Lewis Secory. Case
       involved modeling of the transport and fate of hydrocarbon fuels, which leaked
       from storage, tanks at a terminal and allegedly migrated onto adjoining properties
       of plaintiffs. Retained by the Defendants.
28     Civil Action No. 96-C-00489-5; Junker Landfill Trust, Plaintiff vs. United Waste      2/20/97
       Systems, Inc. et al., Defendants, and Junker Recycling, Inc., et. al., Defendants
       and Third Party Plaintiffs, vs. Garry Thompson, et al., Third Party Defendants;
       and Civil Action No. 96-C-00489-5, Landfill Remediation Trust, Plaintiff vs.
       Garry Thompson, et al., Defendants. In the United States District Court for the
       Western District of Wisconsin. Case involved contamination of groundwater,
       surface water, soil gas, and soil at the Junker Landfill (Superfund Site) and the
       relationship of that contamination to the wastes from over 450 generators.
       Retained by Plaintiffs.
27     Case No. 61180; Kenneth and Helen Songer, Plaintiffs vs. Billy and Mary Clement        7/1/97
       d/b/a Cecle Clement & Sons, and Harrison, Walker, Harper, Inc. and Joe Archer,        10/31/97
       d/b/a Archer Excavating. In the District Court of Lamar County, Texas, 6th
       Judicial District. Case involved claims of air contamination (hazardous gases and
       particulates) from trucking and excavating operations. Retained by the
       Defendants.
26     Case No. 93-C-0314; Hunt’s Generator Committee, et al., Plaintiffs v. Allis           4/14/97
       Chalmers Corporation, et al., Defendants. In the United States District Court for
       the Eastern District of Wisconsin. Case involved identification of waste products
       and hazardous substances within those waste products, which were disposed at the
       Hunt’s Disposal Landfill Site near Caledonia, Wisconsin. Retained by Plaintiff
       PRP Group.
25     Civil Action No. 94-1449-A; Ardith Cavallo, Plaintiff vs. Star Enterprise, Texaco      3/6/97
       Refining & Marketing (East), Inc., and Saudi Refining, Inc., Defendants. In the
       United States District Court, District of Eastern, Virginia. Case involved claim of
       property damage from hydrocarbons in the groundwater, which allegedly migrated
       to plaintiff’s property from a fuel terminal in Fairfax, Virginia. Retained by the
       Defendants.



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24     Case No. 93-004644; Mike Adalis, et. al., Plaintiffs, vs. Neighborhood                  12/16/96
       Development Corporation, et. al., Defendants. In the District Court of Harris
       County, Texas, 269th Judicial District. Case involved claims of groundwater and
       related drinking water well contamination attributable to a 50 year old oil well
       blowout. Retained by the defendant Exxon.
23     Case No. 2:92-CV-111; Commercial Union Insurance Co., et al. v. Cannelton                9/5/96
       Industries, Inc., In the United States District Court for the Western District of
       Michigan. Case involved claim against insurance company for environmental
       remediation cost recovery associated with chromium contamination of St. Mary’s
       River due to a fire at an old tannery plant. Retained by Defendant.
22     Case No. 93-C-0324; Hunt’s Generator Committee, et al. v. Allis Chalmers                8/21/96
       Corporation, et al; In the United States District Court, Eastern District of
       Wisconsin. Case involved identification of hazardous constituents in common
       household products found in the municipal solid waste from one city and disposed
       at the Hunt’s Disposal Landfill Superfund Site at Caledonia, Wisconsin. Retained
       by Plaintiff PRP Group.
21     Civil Action No. H-95-776; Rodney and Brenda Kay Beaver A/N/F of Wesley                 5/24/96
       Michael Beaver and Claude Paul Hargraves v. Monsanto Company; In the United
       States District Court for the Southern District of Texas, Houston Division. Cause
       involved short-term exposure of children to toxic contaminants in air, soil, and
       drinking water at athletic facility located adjacent to waste disposal/processing
       sites (Dixie Oil Processors/Brio Superfund Sites). Retained by the Plaintiffs.
20     Civil No. BC015575; Atlantic Richfield Co. and ARCO Chemical Co., v. Aetna              10/17/95
       Casualty and Surety Co. of American. Superior Court of the State of California. A
       Declaration on behalf of ARCO Garber, ARCO Sand Springs, and ARCO Prewitt.
19     Civil Action No. 87-4263(JHR); General Electric Company v. Buzby Brothers               9/28/95
       Materials Handling Company, et al. United States District Court for the District of
       New Jersey. Case involved recovery from commercial and municipal transporters
       of wastes of the costs for remediation of groundwater contamination at the site of
       the RCA-Buzby Landfill (Superfund Site) near Voorhees, New Jersey. Retained
       by the Plaintiff.
18     Case No. 4-93-CV-193; Cooper Industries, Inc., v. Abbott Laboratories, et al., in       8/14/95
       the U. S. District Court for the Western District of Michigan. Case involving
       Sturgis (Michigan) Well Field Superfund Site and the apportionment of
       remediation costs as between plaintiff and 35 defendants for solvent contamination
       of groundwater. Retained by the Plaintiffs.
17     Civil Action No. 94-C-1025; The City and County of Denver, et. al., v. Alumet           5/31/95
       Partnership, et al., and Alumet Partnership, et al., v. City of Aurora. U.S. District
       Court for the District of Colorado. Retained by the Defendants.
16     Civil Action No. 94-1449-A; Ardith Cavallo v. Star Enterprise, Texaco Refining &        4/24/95
       Marketing (East), Inc., and Saudi Refining, Inc. United States District Court,
       District of Eastern Virginia. Expert Witness Report. Retained by the Defendants.

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15     Civil Action No. 93-CV-0080-B; KN Energy, Inc. et al., v. Sinclair Oil                  2/15/95
       Corporation d/b/a Little America Refining Company. United States District Court,
       District of Wyoming. Expert Witness Report. Retained by the Plaintiff.
14     Docket Nos. BUR-L-2533-92/01267-93; Gouryeb v. Woodland Township                        12/1/94
       Planning Board, Superior Court of New Jersey, Law Division/Burlington County.
       Affidavit. Retained by the Plaintiff.
13     Consolidated Civil Actions No. 90-75 BU-PGH; ARCO v. Oaas, et al., and No.              8/15/94
       91-82-BU-PGH, United States v. Montana Pole and Treating Plant, et al. United           9/12/94
       States District Court for the District of Montana, Butte Division. Expert Witness
       Report. Retained by the Defendant/Third Party Plaintiff.
12     Civil Action No. 94-243-A; William H. Ogden and Gay E. Tiffany v. Star                  8/31/94
       Enterprise, et al. United States District Court for the Eastern District of Virginia,
       Alexandria Division. Declaration. Retained by the Defendants.
11     Civil No. 93-186; United States v. Somerset Refinery, Inc. United States District       8/26/94
       Court for the Eastern District of Kentucky. Expert Witness Report. Retained by
       the U.S. Department of Justice.
10     Civil No. 93-381-A; Brian Feikema et al., v. Texaco, Inc., et al. United States         7/14/94
       District Court for the Eastern District of Virginia. Declaration. Retained by the       6/29/94
       Defendants.
9      Docket No. N-93-39-BU-PGH; Montana Resources Inc., et al., v. Atlantic                  6/14/94
       Richfield Co. U.S. District Court for the District of Montana. Retained by the
       Defendant.
8      Case No. 89-135; Citizens Asking For a Safe Environment, Inc., et al., v. South           3/94
       Carolina Department of Health and Environmental Control, et al. In the Matter of
       the RCRA Permit Decision for GSX Services of SC, Inc. Pinewood Facility,
       Sumter County; SC, before the State of South Carolina Board of Health and
       Environmental Control. Retained by the Opposition.
7      File No. 3-90-312; Kenneth M. Anderson as Personal Representative of the Estate         12/18/92
       of Fred W. Hedberg v. City of Minnetonka et al. United States District Court for
       the District of Minnesota, Third Division. Affidavit. Retained by the Plaintiff.
6      Affidavit and rebuttal affidavit regarding the proposed Lon C. Hill-Coleto Creek        10/21/91
       345 kV transmission line. Retained by Central Power & Light.                              8/90
5      File No. 3-90-312; Kenneth M. Anderson as Personal Representative of the Estate         7/16/91
       of Fred W. Hedberg v. City of Minnetonka et al. United States District Court for
       the District of Minnesota, Third Division. Retained by the Plaintiff.
4      Civil Action No. N–87–52 (both cases); The B. F. Goodrich Company, et. al., v.          6/29/90
       Harold Murtha, et al., and Harold Murtha, et al., v. Risdon Corporation. Circuit
       Court for the State of Connecticut. Contribution of municipal waste to
       environmental contamination associated with the Beacon Heights and Laurel Park
       Landfills (Superfund Sites). Retained by the Laurel Park and the Beacon Heights
       Coalitions.
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3     Cause No. C88-0190-B consolidated with C89-0153-B; Sinclair Oil Corporation       4/27/90
      v. James S. Scherer, et al., and United States of America v. Sinclair Oil
      Corporation. United States District Court for the District of Wyoming. Suit
      concerning alleged contamination from refinery operations. Retained by the
      United States.
2     Case No. 80-4-CIV-7; The United States of America v. Waste Industries, Inc., et   9/29/85
      al. United States District Court for the Eastern District of North Carolina,
      Wilmington Division. Affidavit on leaking municipal landfill. Retained by the
      Plaintiff.
1     Affidavit and rebuttal affidavit regarding the proposed expansion of the Azusa
      Landfill (CA). Retained by an amicus curae party.




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     3     Report of “An Investigation and Assessment of the Texaco Sand Flat Unit,” by Dr.      11/13/98
           Kirk W. Brown. Prepared for Wallace, King, Marraro, and Branson, LLC on
           behalf of Texaco Exploration and Production.
     2     Report of “Evidence of Leachate Leaking from Azusa Landfill,” by Dr. Kirk W.
           Brown. Prepared for Geoscience Support Services, Inc. for Metropolitan Water
           District of California.
     1     Cause No. 93-1235; Adams, et al., v. RSR Corporation, et al. 71st Judicial District   12/14/94
           Court; Harrison County, Texas. Retained by the Plaintiffs.




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                                APPENDIX 3
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